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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, et al., and                           )
THE UNITED STATES OF AMERICA,                        )
                                                     )   Civil Action No. 2:12-cv-00859
               PLAINTIFFS                            )   Section I, Division 5
                                                     )   Judge Lance M. Africk
                      v.                             )
                                                     )   Magistrate Judge Michael B. North
MARLIN GUSMAN, Sheriff,                              )
                                                     )
                                                     )
             DEFENDANT.                              )
                                                     )




                      Report No. 12 of the Independent Monitors
                                         July 27, 2020



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                                COMPLIANCE REPORT # 12
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                                Compliance Report #12
                LASHAWN JONES, et al., and the United States of America v.
                               Marlin Gusman, Sheriff

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Compliance Report # 12 - Introduction
        This is Compliance Report #12 submitted by the Independent Monitors providing
assessment of the Orleans Parish Sheriff’s Office’s (OPSO) compliance with the Consent
Judgment of June 6, 2013. Report #12 reflects the status of OPSO’s compliance as of
March 31, 2020. This Report is based on incidents, documents, and compliance-related
activities between July 1, 2019 and March 31, 2020. Originally, the site visit was set for
March 16-19, 2020 but was postponed due to the COVID-19 pandemic. When it became
apparent that an onsite visit posed unreasonable risks, the decision was made to
conduct the visit virtually. The virtual visit was conducted May 18-22, 2020. This report
is also based on the observations and review of OPSO documents by the Monitors during
the virtual site visit.
        Throughout the time the Monitors have been involved in enforcement of the
Consent Judgment, the site visits have played an integral role. During the site visits and
the monthly site visits by the Lead Monitor in between, the Monitors have endeavored to
provide guidance to OPSO as to how to remedy the unsafe and unconstitutional
conditions which existed when we began monitoring in late 2013. The Monitors have

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constantly urged OPSO to put in place the necessary processes and procedures to not
only obtain compliance, but to sustain compliance. Such processes and procedures
would allow OPSO to provide adequate proof of compliance and assess compliance with
the Consent Judgment and its own policies and procedures and address shortcomings
without intervention of the Monitors. Despite encouragement and guidance as to how to
set up the various review functions and an inspection unit that would operate
independently of those whose performance would be assessed; only minimal progress
has been made in this area. Instead, there is often pushback against the Monitors and
claims that the Monitors are “demanding perfection,” “moving the goalpost,” or that the
Consent Judgment only requires them to review data, not to remedy the obvious
deficiencies any meaningful review would reveal. Even more disturbing is that when
individual staff members of OPSO have followed the guidance provided and collected
and analyzed performance data, there has been, at times, a reluctance to address the
deficiencies and, in some instances, animosity shown towards OPSO staff who provided
the information.
        The OPSO’s jail is currently under the leadership of Darnley R. Hodge, Sr., who
was appointed by the Court on January 29, 2018, as the Independent Compliance
Director (ICD) on an interim basis and was appointed to the position permanently on
October 12, 2018. In February 2019, Byron LeCounte joined the OPSO administrative
staff as the Chief of Corrections. Prior to the interim appointment of Director Hodge,
Gary Maynard served as the Independent Compliance Director. Chief LeCounte and
Director Hodge both have substantial knowledge of jail operations.
        In summary, the Monitors find that safety, medical and mental health care, and
environment conditions of inmates held in both the Orleans Justice Center (OJC) and the
Temporary Detention Center (TDC) has made meaningful and noteworthy improvement
since Compliance Report #11 provided to the Court in January 19, 2020. However, there
is still significant work to be done to properly staff the facility, finalize training on
policies, curb violence, reduce the necessity to use force, and improve medical and
mental health care if the positive trend is to continue and be sustained. The specific
initiatives are addressed in this report.

A.     Summary of Compliance
       The requirements of the Consent Judgment represent correctional practice
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recognized as required for the operation of a Constitutional jail system. While there is
some flexibility for how OPSO addresses the mandates, achieving substantial compliance
with the Consent Judgment, Stipulated Agreements, and Stipulated Order, are necessary
to bring OPSO and its correctional facilities into adherence with Constitutional
requirements. The Consent Judgment contains 174 separately rated provisions. While
they are separately rated, they are often intertwined. For example, effective
implementation of a policy requires not only the drafting of a suitable policy, but
appropriate training on the policy and enforcement of the policy. Enforcement of the
policy is contingent on assessing whether the policy is being followed which requires
supervision, analysis of incidents and data, and objective confirmation of compliance. A
meaningful annual review of the adequacy of the policy does not just mean to determine
whether the wording of the policy should be changed, but also includes determining
adherence to the policy and whether the objectives of the policy are being met, which
again requires objective data collection and analysis and development of corrective action
plans.
         Based on the current assessment, OPSO has achieved either substantial or partial
compliance with 100% of the provisions. Substantial compliance has been achieved for
68% of the provisions. Thirty-two percent (32%) of the provisions are in partial
compliance. For the first time, none of 174 provisions remain in non-compliance.
         OPSO has made material progress as indicated by the movement of non-
compliance to partial compliance to substantial compliance. At different times during the
duration of the Consent Judgment, there has been regression in the progress towards
compliance. One of those periods was shortly after OPSO transitioned into the new jail.
Despite repeated warnings from the Monitors that there needed to be a transition plan
which allowed for hiring and extensive training of staff on the direct supervision model
and a phasing in of the movement into the OJC, OPSO chose to move all inmates into the
OJC before the policies, procedures, training, and staffing were sufficiently prepared and
executed. When the move did not go smoothly, instead of acknowledging the problem
created by not having an adequate transition plan, some members of OPSO leadership
attempted to create a false sense of progress by underreporting inmate violence and
unnecessary and/or excessive uses of force. The underreporting was uncovered by the
Monitors and reflected in the ratings in the next Monitors’ report (Compliance Report #5).
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As will be addressed in individual areas, OPSO is at risk of regression from the progress
reflected in Compliance Reports #10 and #11 due to failure to consistently follow and
enforce policies and procedures.
         The Monitors are encouraged that during the virtual site visit, Chief LeCounte
relayed recent efforts to rely on in-depth analyses of data, including grievance data and
use of force data to determine policy adherence and develop action plans to address
shortcomings and make decisions. Once decisions are made, they need to be implemented
and enforced.
         Similarly, the Monitors are pleased to report that OPSO, under the leadership of
Director Hodge and Chief LeCounte, continues to examine its strategies to obtain and
sustain compliance and make the structural and organizational changes necessary to
achieve compliance. For compliance to be obtained and sustained, those strategies need
to be implemented and embraced by the organization as a whole.
                Table 1 – Summary of Compliance – All Compliance Reports1
      Compliance       Substantial  Partial                    Non-         NA/
     Report/Date       Compliance Compliance                Compliance      Other         Total
  #1 – December 2013        0         10                        85           76            171
  #2 – July 2014            2         22                       149            1            174
  #3 – January 2015         2         60                       110            2            174
  #4 – August 2015         12        114                        43            4            173
  #5 – February 2016       10         96                        63            4            173
  #6 – September 2016      20         98                        53            2            173
  #7 – March 2017          17         99                        55            2            173
  #8 – November 2017       23        104                        44            2            173
  #9 – June 2018           26         99                        46            2            173
  #10 – January 2019       65         98                         8            2            173
  #11 – September 2019    103         66                         5            0            174
  #12 – May 2020          118         56                         0            0            174

The status of compliance with the two stipulated agreements (February 11, 2015 and
April 22, 2015) is as follows:




1 See   Appendix A for historical detail of compliance, by paragraph.


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                    Table 2 – Status of Compliance with 2015 Stipulated
                                         Agreements
        Compliance      Substantial       Partial              Non-
                                                                                NA       Total
       Report/Date      Compliance      Compliance          Compliance
     August 2015           21               12                   1               0        34
     February 2016         21               12                   1               1        34
     September 2016        26                7                   1               0        34
     March 2017            28                4                   1               1        34
     November 2017          21              11                   1               1        34
     June 2018             23                8                   2               1        34
     January 2019          28                5                   0               1        34
     September 2019        28                5                   0               1        34
     May 2020              28                5                   0               1        34


B.      Opportunities for Continued Progress
        The Monitors summarize below the areas identified in preparation of this report
regarding OPSO’s current level of compliance with the Consent Judgment.
        1.   Foundational Work - The essential, core work required to achieve compliance
               includes:
               a.   Policies and Procedures – OPSO has completed the essential policies and
                       procedures. The Policy Manager has continued to review policies and
                       perform updates. It was noted during the virtual site visit that some
                       of the policies do not match current practice. One in particular is the
                       Use of Force Reporting policy. OPSO advised that it was scheduled for
                       review and would be updated. Essential is the continued
                       development, approval, and implementation of lessons plans that
                       correspond with each of the policies. OPSO’s policy governing its
                       written directive system has significantly improved the policy/
                       procedure process. This process allows for organizational
                       components to develop specific operational practices for review by
                       OPSO administration. Adherence to the policies, procedures, and
                       training is essential. OPSO has yet to develop a reliable process for
                       objective consistent auditing of adherence.

               b.   Inadequate staffing – OPSO has continued to hire staff but has not been

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                able to gain ground on vacancies due to the number of terminations
                and resignations. Inadequate staff in the facilities (OJC and TDC) and
                support functions (transportation, program supervision, courthouse
                security, use of force investigations) continues to hamper OPSO’s ability to
                consistently comply with the Consent Judgment. OPSO continues to use
                employee overtime to address the staff shortages. Even with substantial
                overtime, frequently, there are housing units and control rooms with no
                assigned staffing, Further, almost daily, assigned staff leave housing units
                and control pods unattended for meal breaks and other duties. Recent
                promotions have helped to address the staffing deficiencies at the
                supervisory level. While a pay scale which provides for improvement in
                compensation with the goal of increased retention of staff and assistance in
                the recruitment efforts has been developed, a plan to secure the necessary
                funding and implement the pay scale has not been advanced.
        c.    Training – Employee training, both pre-service and in-service, has
                become more in line with OPSO policies and procedures. Foundational
                work, such as preparation of lesson plans to provide for a consistent
                instruction content, instruction by qualified individuals, and
                demonstration and documentation of students’ knowledge gained,
                needs to continue. Providing a policy without training is not effective
                implementation. Once effective training has been provided, auditing
                of staff adherence to policies is essential. When non-adherence to
                policy is discovered on a consistent basis, training should be reviewed
                to determine whether revised and improved training would be
                beneficial.

         d.   Supervision – Safe operation of OPSO’s facilities requires an adequate
                 number of sufficiently trained first line and mid-management
                 supervisors. Director Hodge implemented the unit management
                 approach and provided training and mentoring for the managers. A
                 promotional process for sergeants and lieutenants was developed
                 and implemented. The unit managers were reclassified as captains
                 instead of lieutenants. This process has resulted in a significant
                 reduction in vacancies at supervisory positions. OPSO is
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               encouraged to finalize its organizational chart. OPSO provided
               training and mentoring for the new supervisors. Lacking is
               evaluation of supervisors on a consistent basis and the provision of
               additional training and other remedial action where appropriate.
   2.    Medical and Mental Health Care – Despite improvement in the areas of
         medical and mental health care, the Medical and Mental Health Monitors
         report challenges remain in the provision of basic case, staffing, and
         recordkeeping, as well as the need for improved collaboration with
         custody/security staffing. Resources from Tulane University continue to be
         particularly helpful in providing mental health care. An important part of
         the long-term solution to the lack of compliance with the Consent
         Judgment in the areas of medical and mental health is the design and
         construction of Phase III, a specialized building which will contain an
         infirmary and housing for inmates with acute mental health issues.
  3.    Inmate Safety and Protection from Harm - Providing a safe and secure jail
        continues to be a challenge.
         a.    Unit Management—The Unit Management approach is being used in
               the supervision of the OPSO housing units. Each floor of the OJC, IPC,
               and TDC have been designated as a “unit”. The purpose of this
               strategy is to enhance accountability for both staff and the inmates
               by allowing the staff to get to know the inmates. While the Unit
               Management approach has shown to be somewhat helpful, there are
               inconsistencies in the adherence to policy among the units. Efforts to
               refine and successfully implement the strategy require additional
               training, mentoring, and accountability.

        b.     Violence – There are still significant incidents of violence occurring
               within the facilities – including inmate on inmate assaults and assaults on
               staff. Disorder and non-compliance to the institutional rules cause staff to
               use force to gain control and compliance. There has been a decrease in
               substance abuse overdoses, but a large amount of prescription medication
               continues to be found during shakedowns. While there was not a death of an
               inmate during this monitoring period, two inmates died while in custody in

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               June 2020.
         c.    Inmate Classification – The inmate classification processes require
               continued attention to ensure housing decisions and placements are
               consistent with OPSO policies and objective classification principles.
               Credible auditing needs to focus on identifying issues and
               correcting placements. Consistent and adequate training was
               identified as an issue in compliance in Compliance Report #11 and a
               plan to address the immediate issue was been agreed upon and
               executed by OPSO and the Monitors. Ongoing competency based
               training is required to ensure the classification specialists perform
               their duties appropriately.
          d.   Inmate grievances – As of Report #11, the ratings of the subdivisions
               in the grievance provision were individually given. The separate
               ratings allowed the areas in which deficiency existed to be
               highlighted. While timeliness and adequacy of responses is still
               subpar, there has been improvement. The trend data from the
               grievance system is now being used to identify problems to be
               addressed.
          e.   Incident Reporting –The accurate timely reporting of incidents has
               been a constant area of concern. There remain serious incidents for
               which no report or no timely report is prepared by OPSO staff,
               including incidents involving the serious injury of inmates. There
               continue to be reports which are incomplete and do not provide the
               necessary information for the reader to determine what occurred
               and why it occurred. It is particularly concerning that incomplete
               and sometime inarticulate reports have been reviewed by and
               approved by a supervisor. During the virtual visit, development of a
               corrective action plan to address was discussed which includes
               training and remedial action including discipline.

         f.    Jail Management System – An integral part of the jail’s operational
               improvement is tied to an effective jail management system. Such capacity
               provides on-demand, routine, and periodic data to inform critical
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                leadership and management decisions. Such an information system has not
                been implemented. After OPSO cancelled the contract with the provider
                who was to supply a new JMS due to the inability to interface with the
                Orleans Parish court system, the City of New Orleans was to purchase a JMS
                which will interface with the Orleans Parish court system and the OPSO
                information systems. Despite passage of significant time, there is no
                definite timeline for that process. In the meantime, OPSO has modified its
                current system to provide more of the required JMS functions.
   4.    Sanitation and Environment Conditions – Challenges remain regarding
         the public health and inmate/staff safety risks. The COVID-19 pandemic has
         presented additional challenges for the extremely dedicated sanitation staff.
         The inability to fill support positions identified in OPSO’s staffing analysis
         negatively impacts the ability of OPSO to sustain compliance with the
         requirements of the Consent Judgment and align with accepted correctional
         practice. Sanitation and cleanliness of the cells and housing areas are not
         solely the responsibility of the sanitation staff. The unit managers and pod
         deputies have the first responsibility for ensuring inmates keep their cells
         and dayroom areas clean and uncluttered.
   5.    Youthful Inmates – The Monitors acknowledge and commend the
         educational program established in OJC. Provision of age appropriate mental
         health services has improved with the addition of the Tulane University
         resources. Due to lack of adequate housing options, a female youthful
         inmate(s) must be housed alone in TDC; often by herself. This creates a
         double quandary; the young woman faces isolation and the OPSO staffing
         challenges are intensified. The design of the Phase III facility must address
         this issue as there are no feasible options within OJC and TDC will cease to
         be occupied once Phase III is opened.

   6.   Inmate Sexual Safety – OPSO underwent its required audit of compliance
        with the Prison Rape Elimination Act of 2003 (PREA) and passed. Continued
        internal collaboration among OPSO security, classification, and the
        medical/mental health provider is needed for the assessments of inmates’
        potential for sexual victimization and aggression. The necessity of separation

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        of inmates testing positive for COVID-19 has resulted in the need for
        additional attention to inmates’ PREA designation.
   7.   Compliance, Quality Reporting, and Quality Improvement – An essential
        element of inmate safety is OPSO’s timely review of all serious incidents as
        well as of non-violent incidents to determine if there are trends and/or
        patterns. This ensures assessment of root causes and then the development,
        implementation, and tracking of action plans to address the issues. This
        activity focuses on resolving problems. OPSO has made efforts to undertake
        this function but would benefit from a more robust effort. Especially
        concerning are systemic issues, which if remain unaddressed, will continue
        to create risks to institutional safety and security. While progress is noted,
        the Monitors encourage OPSO to dedicate more time and knowledgeable
        resources to quality improvement. Impediments include the lack of staff with
        the skills and/or time to devote to the task. Establishment of an
        Inspection/Accreditation Unit is suggested.
   8.    Stipulated Agreements 2015 – OPSO should review its on-going
         compliance with the two Stipulated Agreements from 2015.
   9.    Construction Projects –
         a.    The Docks – Construction of the renovations on the Docks has been
               completed. Due to COVID-19, almost all of the court dockets have
               either been discontinued or are conducted virtually. The Docks have
               not been used yet for court holding. OPSO is encouraged to review its
               operational plans in light of the likely need to separate COVID-19
               positive inmates when court dockets resume. The Monitors continue
               to encourage OPSO to have a robust training plan for the operation of
               the Docks and to not take possession until all systems are in proper
               working order.

         b.    TDC Mental Health – Two TDC housing areas are in the process of
               being renovated as a temporary space to hold acute male inmates in
               light of the pending unavailability of the Hunt unit and to house acute
               female inmates. A good plan had been developed for the training and

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                      staffing of the housing areas but was halted by COVID-19. OPSO is
                      encouraged to fully implement the training plan for the operation of
                      the mental health housing areas before attempting to occupy the
                      units. While TDC is not a suitable solution to meeting the
                      requirements of the Consent Judgment as to medical and mental
                      health services, it is a necessary interim step given the impending
                      unavailability of Hunt and no satisfactory housing for acute inmates
                      in OJC. It is important to note that TDC does nothing to address the
                      lack of an infirmary and medical housing in OJC.

               c.     Phase III – This project has progressed to the phase of drawing
                       construction documents. The Monitors continue to urge the City to
                       seek input on decisions from the various stakeholders and the
                       Monitors. In early June 2020, it came to light that the City of New
                       Orleans unilaterally stopped work on the project. The Monitors and
                       other stakeholders were unaware of the stoppage as the City had not
                       adhered to the agreement for quarterly executive committee
                       meetings with all stakeholders. The construction and occupation of
                       Phase III are critical to the provision of mental and medical health
                       services in accordance with the Consent Judgment.
C.      Review Process of Monitors’ Compliance Report #12
               A draft of this report was provided to OPSO, Counsel for the Plaintiff Class,
        and the Department of Justice (DOJ) on June 15, 2020. Comments were provided
        by OPSO, Counsel for the Plaintiff Class, Wellpath (OPSO’s medical contractor)
        and DOJ on July 1, 2020. The parties exchanged their comments and were
        afforded the opportunity to provide further comment and information to the
        Monitors on July 15, 2020. The Monitors considered the comments of the parties
        in finalizing Report #12.
D.      Communication with Stakeholders
               The Monitors are committed to providing as much information as possible
        regarding the status of OPSO’s efforts to comply with all orders of the Court. The
        www.nolajailmonitors.org website came on-line in September 2014. Joining all
        other reports, the finalized version of Compliance Report #12 will be posted on that
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        site.
E.      Recommendations
                Over the years, the Monitors have provided multiple recommendations to
        OPSO to achieve and maintain compliance with the Consent Judgment. Often these
        recommendations have been met with resistance and OPSO has claimed that the
        Monitors were “moving the goalpost” or “demanding perfection.” The purpose of the
        recommendations continues to be to assist OPSO in achieving and maintaining
        compliance. As much progress has been accomplished, only “new”
        recommendations are included within the body of this report.

F.      Conclusions and Path Forward
                 OPSO has been operating under the provisions of the Consent Judgment since
        June 2013; monitoring began in Fall 2013. During the past two years, under the
        leadership of Director Hodge, significant improvements are acknowledged by the
        Monitors. The hiring of Byron LeCounte as Chief of Corrections in February 2019
        has been beneficial to the vital work which remains to comply with the provisions of
        the Consent Judgment. His additional expertise and experience have allowed
        Director Hodge to focus on the Consent Judgment.
                 Concerning is that the same issues continue to arise and are not being
        thoroughly resolved. Serious incidents and harm to inmates continue to occur. OPSO
        efforts to identify and address sources of contraband have facilitated its ability to
        decrease, although not eliminate, the amount of narcotic contraband smuggled into
        the facility by staff and inmate workers. However, dangerous medication is
        frequently found during cell shakedowns suggesting that the medication
        distribution process is seriously flawed.
                 There has been some improvement in OPSO’s data collection routines which
        should allow for better problem solving with a goal of a sustainable reduction in
        inmate-on-inmate assaults, inmate-on-staff assaults, uses of force, contraband, and
        property damage. However, corrective action plans seldom are developed through
        analysis of the data and root cause reviews. When they are developed, follow
        through on implementation is severely lacking, especially at the Unit Manager level.
                 Medical and mental health care initiatives continue to progress toward the

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     requirements of the Consent Judgment. Wellpath has improved in the development
     and implementation of a clear path forward with measurable benchmarks.
            The Monitors remain committed to the Court and the parties to collaborate
     on solutions that will result in significant improvement towards compliance with
     the provisions of the Consent Judgment and achievement of constitutional
     conditions.

The Monitors again thank and acknowledge the leadership, guidance, and support
      of The Honorable Lance M. Africk and The Honorable Michael B. North.




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II. A. Protection from Harm
Introduction
      This section of the Consent Judgment addresses core correctional functions
including the use of force (policies, training, and reporting), identification of staff involved
in uses of force through an early intervention system, safety and supervision of inmates,
staffing, incidents and referrals, investigations, pre-trial placement of inmates in the
facility, classification, the inmate grievance process, sexual safety of inmates, and inmates’
access to information.
       The Consent Judgment requires that OPSO operate the facility to assure inmates are
“reasonably safe and secure.” Based on objective review of data, the facility has shown
improvement in inmate and staff safety, but significant incidents that result in serious
injury to inmates and staff continue to occur.
       Reaching and sustaining compliance with provisions of the Consent Judgment,
particularly this section, relies on the collection, analysis, and corrective action planning
using accurate and reliable data. The Monitors encourage OPSO to continue efforts to build
its capacity to collect and analyze relevant accurate data, draw supportable conclusions to
inform decisions throughout the organization, develop corrective action plans, implement
corrective action plans, and hold staff accountable for non-adherence to corrective action
plans and policies. As OPSO’s capacity to collect, analyze, plan, and implement is enhanced,
the ability to achieve and maintain compliance will be strengthened.
       The Monitors reported in Compliance Report #9 about OPSO’s efforts to be much
more transparent in the reporting of incidents. A lieutenant assigned to the
administrative section reviews the daily medical logs for inmates taken to the clinic for
treatment subsequent to an altercation or a use of force as well as the transport logs of
inmates routed to the hospital with trauma-related injuries and cross checks them
against reported incidents. The lieutenant also compares the Watch Commander’s Log
(which lists significant events and incidents occurring during the shift) and the incident
reports to detect missing reports. Comparison of the medical logs to the incidents calls
into question whether all of the inmates who are being seen by medical are being logged.
Another issue is the lack of reporting of inmates transported to the hospital for medical
emergencies. A continuing issue is the lack of meaningful consequences for supervisors
who fail to comply with the reporting policies resulting in late, incomplete, or missing
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 incident reports.
        The Monitors reviewed all reported incidents for 2019. The following charts
 compare the totals for the calendar years (CY) 2018 and 2019 and January - March 2020.


            Table 3 - All OJC Reported Incidents for CY 2018, CY 2019, and Jan-
                                        March 2020

                               2018-2020 Report Categories Comparison




If the trend continues throughout CY 2020, the number of inmate-staff altercations, use of force and
contraband will exceed both CY 2018 and CY 2019.




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   Table 4 –All OJC Reported Incidents by Type by Month CY 2018, CY 2019, and Jan-
                                     March- 2020

                      2018-2020 Month By Month Comparison




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    Assessment Methodology
    •    Dates of tours:
            o August 19-21, 2019
            o September 15-19, 2019
            o October 14-16, 2019
            o December 9-11, 2019
            o February 17-19, 2020
            o March 2-3, 2020
            o May 18-22, 2020 (virtual)

    •    Materials reviewed:
             o Materials reviewed include the Consent Judgment, OPSO policies and
                  procedures, use of force reports, incident reports, and investigations
                  conducted by Investigative Services Bureau-Internal Affairs Division (ISB-
                  IAD), investigations conducted by ISB-Criminal Division (ISB-Criminal),
                  investigations conducted by ISB-Inmate Division, training materials,
                  shakedown logs, and post logs.
    •    Interviews:
             o Interviews included command staff, jail supervisors, commander of ISB,
                  commander of IAD-Administrative, chief of investigations, director of
                  training, and various supervisors of units within ISB. Given the
                  limitations of the virtual tour, inmates were not able to be interviewed.
IV. A. 1. Use of Force Policies and Procedures

A. 1.a. OPSO shall develop, implement, and maintain comprehensive policies and procedures (in accordance
with generally accepted correctional standards) relating to the use of force with particular emphasis
regarding permissible and impermissible uses of force.
A. 1.b. OPSO shall develop and implement a single, uniform reporting system under a Use of Force Reporting
policy. OPSO reportable force shall be divided into two levels, as further specified in policy: Level 1 uses of
force will include all serious uses of force (i.e., the use of force leads to injuries that are extensive, serious or
visible in nature, including black eyes, lacerations, injuries to the mouth or head, multiple bruises, injuries to
the genitals, etc.), injuries requiring hospitalization, staff misconduct, and occasions when use of force reports
are inconsistent, conflicting, or otherwise suspicious. Level 2 uses of force will include all escort or control
holds used to overcome resistance that are not covered by the definition of Level 1 uses of force.
A. 1.c. OPSO shall assess, annually, all data collected regarding uses of force and make any necessary changes
to use of force policies or procedures to ensure that unnecessary or excessive use of force is not used in OPP.
The review and recommendations will be documented and provided to the Monitor, DOJ, and SPLC.

         Findings:
         A. 1. a. Substantial Compliance
         A. 1. b. Substantial Compliance
         A. 1. c. Partial Compliance


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Observations:
        The current OPSO use of force policy was effective as of May 2016. OPSO has conducted
the 2019 annual review of use of force data and the policy. OPSO analysis of the data has
improved, but it is concerning that the same issues such as poorly written reports, backlog in
the number of use of force incidents to be reviewed, high level of use of force on specialty pods
(particularly the discipline pod and the mental health pod), and the failure to faithfully report
uses of force continue, but no recommendations were documented and provided to the
Monitors and DOJ and counsel for the Plaintiffs. Identifying the problem is just the first step in
addressing the reoccurring issues. Examination of the use of force reports by the Monitors
revealed that often the use of force is precipitated by a failure to follow policy such as not
restraining the inmate prior to movement or allowing an inmate out of his/her cell with another
inmate(s) from whom he/she is to be kept separate. In order to warrant a rating of substantial
compliance OPSO needed to address the issues; not just identify them. Therefore, the
compliance rating has been lowered to Partial Compliance. Concerns regarding timeliness of
submission of use of force report and reviews are addressed in those sections.


IV. A. 2.        Use of Force Training

A. 2. a. OPSO shall ensure that all correctional officers are knowledgeable of and have the knowledge, skills,
and abilities to comply with use of force policies and procedures. At a minimum, OPSO shall provide
correctional officers with pre-service and annual in-service training in use of force, defensive tactics, and use
of force policies and procedures. The training will include the following:
(1) instruction on what constitutes excessive force;
(2) de-escalation tactics; and
(3) management of prisoners with mental illness to limit the need for using force.
A. 2. b. OPSO shall ensure that officers are aware of any change to policies and practices throughout their
employment with OPP. At a minimum, OPSO shall provide pre-service and annual in-service use of force
training that prohibits:
(1) use of force as a response to verbal insults or prisoner threats where there is no immediate
threat to the safety or security of the institution, prisoners, staff, or visitors;
(2) use of force as a response to prisoners’ failure to follow instructions where there is no immediate threat
to the safety or security of the institution, prisoners, staff, or visitors;
(3) use of force against a prisoner after the prisoner has ceased to offer resistance and is under
control;
(4) use of force as punishment or retaliation; and
(5) use of force involving kicking, striking, hitting, or punching a non-combative prisoner.
A. 2. c. OPSO shall randomly test five percent of the correctional officer staff on an annual basis to determine
their knowledge of the use of force policies and procedures. The testing instrument and policies shall be
approved by the Monitor. The results of these assessments shall be evaluated to determine the need for
changes in training practices. The review and conclusions will be documented and provided to the Monitor.

        Findings:
        A. 2. a. Substantial Compliance
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       A. 2. b. Substantial Compliance
       A. 2. c. Substantial Compliance

Observations:
       The Monitor reviewed the training materials and documentation and the
supplemental documentation submitted by training staff for the rating period. As the tour
was conducted virtually, the Monitor was unable to randomly review staff training files
maintained by the training staff. However, interviews were conducted with senior
security staff and Academy leadership. The proof provided by the Academy staff
regarding the annual training on use of force demonstrate that the 8-hour use of force in-
service training class was offered to all staff who come into direct contact with inmates.
Over 98 percent of the required staff received timely annual training. This is a
commendable accomplishment by the Academy staff and is a direct reflection of their
willingness to adjust their schedules to facilitate training and of the leadership of Chief
LeCounte as he has made training a priority.
       The Monitor has, in the past, observed the Academy staff maintained detailed,
comprehensive, and very well-maintained files. In response to our request for
documentation, the Academy staff provided succinct and thorough reports as to who had
and who had not completed the required use of force training.
       The Monitor’s review of the use of force training materials noted that the lesson
plan, PowerPoint presentation, and testing materials substantively cover the requisite
information in A. 2. c. 1-5. The proof of training documentation indicates that the OPSO
staff received the required training on policies and practices by the Academy staff.
However, a thorough review of the CY 2019 use of force reports reveals the need for
additional training which emphasize de-escalation and provide deputies with additional
tools when dealing with inmates with mental health issues and inmates who routinely
exhibited behavioral problems.
       The Monitor reviewed training documentation provided by training staff specific
to the 5 percent annual testing requirement for this section. The testing was conducted
from June 1, 2019 to August 1, 2019. Training staff tested more than the 5 percent
required and reported that 100 percent of the OPSO staff tested passed. It appears that
the Academy staff did not understand that they were required to obtain annual approval
of the testing instrument by the Monitor. The same test was used from the previous year.
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The results were analyzed by the Academy staff and reviewed by command staff. It was
discussed with the Academy staff and OPSO leadership that the recommended changes
appeared to focus on simplifying the test rather than determining if the training required
revision to the test to address any deficiencies in knowledge of policies. The Academy
staff has demonstrated proficiency in analyzing data. When drafting the next annual test,
it is recommended that the Academy staff coordinate with the Force Investigation Team
(FIT) regarding adherence to the use of force policy to include those portions in the test
instrument.

IV. A. 3. Use of Force Reporting

A.3 a. Failure to report a use of force incident by any staff member engaging in the use of force or witnessing
the use of force shall be grounds for discipline, up to and including termination.
A.3 b. OPSO shall ensure that sufficient information is collected on uses of force to assess whether staff
members complied with policy; whether corrective action is necessary including training or discipline; the
effectiveness of training and policies; and whether the conditions in OPP comply with this Agreement. At a
minimum, OPSO will ensure that officers using or observing a Level 1 use of force shall complete a use of
force report that will:
          (1)       include the names of all staff, prisoner(s), or other visual or oral witness(es);
          (2)       contain an accurate and specific account of the events leading to the use of force;
          (3)       describe the level of resistance and the type and level of force used, consistent with OPP use
                    of force policy and procedure, as well as the precise actions taken by OPSO staff in response
                    to the incident;
          (4)       describe the weapon or instrument(s) of restraint, if any, and the manner of such use;
                    be accompanied by a prisoner disciplinary report, if it exists, pertaining to the events or prisoner
                    activity that prompted the use of force incident;
          (5)       describe the nature and extent of injuries sustained by anyone involved in the incident;
          (6)       contain the date and time when medical attention, if any, was requested and actually
                    provided;
          (7)       describe any attempts the staff took to de-escalate prior to the use of force;
          (8)       include an individual written account of the use of force from every staff member who
                    witnessed the use of force;
          (9)       include photographs taken promptly, but no later than two hours after a use of force
                    incident, of all injuries sustained, or as evidence that no injuries were sustained, by prisoners
                    and staff involved in the use of force incident;
          (10)      document whether the use of force was digitally or otherwise recorded. If the use of force is
                    not digitally or otherwise recorded, the reporting officer and/or watch commander will
                    provide an explanation as to why it was not recorded; and
          (11)      include a statement about the incident from the prisoner(s) against whom force was used.
A.3 c. All officers using a Level 2 use of force shall complete a use of force report that will:
          (1)       include the names of staff, prisoner(s), or other visual or oral witness(es);
          (2)       contain an accurate and specific account of the events leading to the use of force;
          (3)       describe the level of resistance and the type and level of force used, consistent with OPP use
                    of force policy and procedure, as well as the precise actions taken by OPSO staff in response
                    to the incident;
          (4)       describe the weapon or instrument(s) of restraint, if any, and the manner of such use;
          (5)       be accompanied by a prisoner disciplinary report, if it exists, pertaining to the events or
                    prisoner activity that prompted the use of force incident;
          (6)       describe the nature and extent of injuries sustained by anyone involved in the incident;

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        (7)       contain the date and time when medical attention, if any, was requested and actually
                  provided; and
          (8)     describe any attempts the staff took to de-escalate prior to the use of force.
A.3 d. OPSO shall require correctional officers to notify the watch commander as soon as practical of any use
of force incident or allegation of use of force. When notified, the watch commander will respond to the scene
of all Level 1 uses of force. When arriving on the scene, the watch commander shall:
          (1)     ensure the safety of everyone involved in or proximate to the incident;
          (2)     determine if any prisoner or correctional officer is injured and ensure that necessary
                  medical care is provided;
          (3)     ensure that personnel and witnesses are identified, separated, and advised that
                  communications with other witnesses or correctional officers regarding the incident are
                  prohibited;
          (4)     ensure that witness and subject statements are taken from both staff and prisoner(s) outside
                  of the presence of other prisoners and staff;
          (5)     ensure that the supervisor’s use of force report is forwarded to IAD for investigation if, upon
                  the supervisor’s review, a violation of law or policy is suspected. The determination of what
                  type of investigation is needed will be based on the degree of the force used consistent with
                  the terms of this Agreement;
          (6)     If the watch commander is not involved in the use of force incident, the watch commander
                  shall review all submitted use of force reports within 36 hours of the end of the incident, and
                  shall specify his findings as to completeness and procedural errors. If the watch commander
                  believes that the use of force may have been unnecessary or excessive, he shall immediately
                  contact IAD for investigation consideration and shall notify the warden or assistant warden;
                  and
          (7)     All Level 1 use of force reports, whether or not the force is believed by any party to be
                  unnecessary or excessive, shall be sent to IAD for review. IAD shall develop and submit to
                  the Monitor within 90 days of the Effective Date clear criteria to identify use of force
                  incidents that warrant a full investigation, including injuries that are extensive or serious,
                  visible in nature (including black eyes, injuries to the mouth, injuries to the genitals, etc.),
                  injuries requiring hospitalization, staff misconduct (including inappropriate relationships




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                  with prisoners), and occasions when use of force reports are inconsistent, conflicting, or
                  otherwise suspicious.
A.3 e. Ensure that a first-line supervisor is present during all pre-planned uses of force, such as cell
extractions.
A.3 f. Within 36 hours, exclusive of weekends and holidays, of receiving the report and review from the shift
commander, in order to determine the appropriateness of the force used and whether policy was followed,
the Warden or Assistant Warden shall review all use of force reports and supervisory reviews including:
         (1)      the incident report associated with the use of force;
         (2)      any medical documentation of injuries and any further medical care;
         (3)      the prisoner disciplinary report associated with the use of force; and
         (4)      the Warden or Assistant Warden shall complete a written report or written statement of
                  specific findings and determinations of the appropriateness of force.
A.3 g. Provide the Monitor a periodic report detailing use of force by staff. These periodic reports shall be
provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include the following information:
         (1)      a brief summary of all uses of force, by type;
         (2)      date that force was used;
         (3)      identity of staff members involved in using force;
         (4)      identity of prisoners against whom force was used;
         (5)      a brief summary of all uses of force resulting in injuries;
         (6)      number of planned and unplanned uses of force;
         (7)      a summary of all in-custody deaths related to use of force, including the identity of the
                  decedent and the circumstances of the death; and
         (8)      a listing of serious injuries requiring hospitalization.
A.3 h. OPSO shall conduct, annually, a review of the use of force reporting system to ensure that it has been
effective in reducing unnecessary or excessive uses of force. OPSO will document its review and conclusions
and provide them to the Monitor, SPLC, and DOJ.

            Findings:
                   A. 3. a.   Partial Compliance
                   A. 3. b.   Partial Compliance
                   A. 3. c.   Partial Compliance
                   A. 3. d.   Partial Compliance
                   A. 3. e.   Substantial Compliance
                   A. 3. f.   Partial Compliance
                   A. 3. g.   Substantial Compliance
                   A. 3. h.   Partial Compliance

Observations:
         As to provision A. 3. a., the use of force policy requires all uses of force to be
reported timely and completely and sets out the potential discipline if the policy is not
followed. Review of documentation revealed that there were thirty-six (36) incidents
between July 1, 2019 and January 30, 2020 where supervisors failed to report force within
a month of the incident and only did so as a result of being instructed to file a report. There
were many other untimely reports, but the period was less than a month. Therefore, the
supervisor is being given the benefit of the doubt that it constituted a situation of
untimeliness as opposed to failure to file. No documentation of discipline was administered

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in any of these cases; not even as much as written reprimand or verbal counseling. It is
important to note that there are supervisors who failed to file report on the use of force on
multiple occasions including two (2) that had four (4) incidents and one (1) that had five
(5) incidents of failing to report a use of force. One of these is the supervisor mentioned in
Compliance Report #11 who failed to report a deputy’s attempt to assault an inmate that
required the deputy had to be restrained to protect the inmate. Having a policy which
states that failure to report a use of force shall be grounds for discipline, but not enforcing
it has resulted in compliance being reduced to Partial Compliance.

       Provisions A. 3. b. and c. remain in partial compliance due to the significant number of
incomplete/inadequate use of force reports. The use of force policy includes the provisions
required by the Consent Judgment, but adherence is inconsistent. The Monitor provided a
checklist of the report requirements to assist supervisors in ensuring reports included all
necessary items. A review of those checklists and accompanying reports indicates that the
required information was frequently missing from the use of force reports such as what led up
to the incident, details of actions taken during the use of force, and conclusion/resolution of the
incident. Seldom do reports include an articulation of any de-escalation tactics, description of
injuries sustained, and when medical attention was provided. As with the failure to timely
report all uses of force, deputies and supervisors are not consistently held accountable for
failure to include required information. In addition, the Louisiana Department of Corrections
often does not comply with the requirements of these provisions when reporting uses of force
involving inmates housed at Hunt.

       The unit managers and watch commanders are not consistently compliant with the
requirements of the Consent Judgment (IV. A. 3. d.) as to their specific duties and the time
requirement for performance of these duties under the policies. The Consent Judgment requires
submission of the packet within 36 hours not three (3) days. Although improvement has been
shown in the first quarter of 2020, there is seldom adherence to the policy timelines and
information is often missing from the original packet which requires it to be sent back to the
supervisors for correction. Improvement has been made in the quality of the packets sent to FIT,
but errors occur every week. Communication between FIT and OJC leadership appears to have
improved and it appears that, as of late, the issues are being addressed.

       The position of Assistant Warden or Warden has been vacant for over a year. Until
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recently, there was not a position of the rank of Major (the normal rank of a Warden or Assistant
Warden) assigned to OJC. Instead, the reviews required under IV. A. 3. f. were conducted by a
sergeant who was later promoted to lieutenant. While the person assigned to these duties is a
very capable individual, the policy requires review by a high-ranking individual, not a person
who was often outranked by the person whose work she was evaluating. FIT issues a quarterly
report which contains all the information required by IV. A. 3. g. Thus, this section is in
substantial compliance. The annual review of use of force incidents as required by IV. A. 3. h.
was provided to the Monitors and all parties. While the review contained a much-improved
analysis and confirmed the issues pointed out above, no recommendations as to remedies were
made and provided. In order to warrant a rating of substantial compliance OPSO needed to
address the issues; not just identify them. Therefore, the compliance rating has been lowered to
Partial Compliance.

IV. A. 4. Early Intervention System (“EIS”)

A.4.a. OPSO shall develop, within 120 days of the Effective Date, a computerized relational database (“EIS”)
that will document and track staff members who are involved in use of force incidents and any complaints
related to the inappropriate or excessive use of force, in order to alert OPSO management to any potential
problematic policies or supervision lapses or need for retraining or discipline. The Chief of Operations
Deputy, supervisors, and investigative staff shall have access to this information and shall review on a regular
basis, but not less than quarterly, system reports to evaluate individual staff, supervisor, and housing area
activity. OPSO will use the EIS as a tool for correcting inappropriate staff behavior before it escalates to more
serious misconduct.
A.4.b. Within 120 days of the Effective Date, OPSO senior management shall use EIS information to improve
quality management practices, identify patterns and trends, and take necessary corrective action both on an
individual and systemic level. IAD will manage and administer EIS systems. The Special Operations Division
(“SOD”) will have access to the EIS. IAD will conduct quarterly audits of the EIS to ensure that analysis and
intervention is taken according to the process described below. Command staff shall review the data
collected by the EIS on at least a quarterly basis to identify potential patterns or trends resulting in harm to
prisoners. The Use of Force Review Board will periodically review information collected regarding uses of
force in order to identify the need for corrective action, including changes to training protocols and policy or
retraining or disciplining individual staff or staff members. Through comparison of the operation of this
system to changes in the conditions in OPP, OPSO will assess whether the mechanism is effective at
addressing the requirements of this Agreement.
A.4.c. OPSO shall provide, within 180 days of the implementation date of its EIS, to SPLC, DOJ, and the
Monitor, a list of all staff members identified through the EIS and corrective action taken.
A.4.d. The EIS protocol shall include the following components: data storage, data retrieval, reporting, data
analysis, pattern identification, supervisory assessment, supervisory intervention, documentation, and audit.
A.4.e. On an annual basis, OPSO shall review the EIS to ensure that it has been effective in identifying concerns
regarding policy, training, or the need for discipline. This assessment will be based in part on the number and
severity of harm and injury identified through data collected pursuant to this Agreement. OPSO will
document its review and conclusions and provide them to the Monitor, who shall forward this document to
DOJ and SPLC.




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               Findings:
                     A. 4. a.    Substantial Compliance
                     A. 4. b.    Substantial Compliance
                     A. 4. c.    Substantial Compliance
                     A. 4. d.    Substantial Compliance
                     A. 4. e.    Substantial Compliance

Observations:
         Since the inception of the Consent Judgment, the electronic EIS has been
unreliable. OPSO abandoned the original system and fashioned an alternative version
within the AS400. A FIT staff member manually monitors the database to alert FIT staff
as to the need to review any uses of force by a staff member.

         OPSO has improved its documentation to the Monitors as to the names of the staff
members who are flagged for uses of force, if a review is conducted, and any retraining
received, if required.
         The Use of Force Review Board met regularly and evaluated the 2019 data as
required for substantial compliance with IV. A .4. e. The inadequacies of the review are
addressed in other sections.
         While the EIS would ideally be part of the jail management system, as one does
not yet exist, the efforts made by OPSO to craft an alternative EIS warrant a rating of
substantial compliance on all provisions.


IV. A. 5. Safety and Supervision

A.5.a. Maintain security policies, procedures, and practices to provide a reasonably safe and secure
environment for prisoners and staff in accordance with this Agreement.
A.5.b. Maintain policies, procedures, and practices to ensure the adequate supervision of prisoner work areas
and trustees.
A.5.c. Maintain policies and procedures regarding care for and housing of protective custody prisoners and
prisoners requesting protection from harm.
A.5.d. Continue to ensure that correctional officers conduct appropriate rounds at least once during every 30-
minute period, at irregular times, inside each general population housing unit and at least once during every
15-minute period of special management prisoners, or more often if necessary. All security rounds shall be
documented on forms or logs that do not contain pre-printed rounding times. In the alternative, OPSO may
provide direct supervision of prisoners by posting a correctional officer inside the day room area of a housing
unit to conduct surveillance.
A.5.e. Staff shall provide direct supervision in housing units that are designed for this type of supervision.
Video surveillance may be used to supplement, but must not be used to replace, rounds by correctional
officers.
A.5.f. Increase the use of overhead video surveillance and recording cameras to provide adequate coverage
throughout the common areas of the Jail, including the Intake Processing Center, all divisions’ intake areas,
mental health units, special management units, prisoner housing units, and in the divisions’ common areas.
A.5.g. Continue to ensure that correctional officers, who are transferred from one division to another, are
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required to attend training on division-specific post orders before working on the unit.
A.5.h. Continue to ensure that correctional officers assigned to special management units, which include
youth tiers, mental health tiers, disciplinary segregation, and protective custody, receive eight hours of
specialized training regarding such units on prisoner safety and security on at least an annual basis.
A.5.i. Continue to ensure that supervisors conduct daily rounds on each shift in the prisoner housing units and
document the results of their rounds.
A.5.j. Continue to ensure that staff conduct daily inspections of cells and common areas of the housing units to
protect prisoners from unreasonable harm or unreasonable risk of harm.
A.5.k. Continue to ensure that staff conduct random monthly shakedowns of cells and common areas so that
prisoners do not possess or have access to dangerous contraband.
A.5.l. Provide the Monitor a periodic report of safety and supervision at the Facility. These periodic reports
shall be provided to the monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. Each report will provide the following information:
          (1)     a listing of special management prisoners, their housing assignments, the basis for them
                  being placed in the specialized housing unit, and the date placed in the unit; and
          (2)     a listing of all contraband, including weapons seized, the type of contraband, date of seizure,
                  location, and shift of seizure.
        Findings:
        A. 5. a. Partial Compliance
        A. 5. b. Substantial Compliance
        A. 5. c. Substantial Compliance
        A. 5. d. Partial Compliance
        A. 5. e. Partial Compliance
        A. 5. f. Substantial Compliance
        A. 5. g. Substantial Compliance
        A. 5. h. Substantial Compliance
        A. 5. i. Partial Compliance
        A. 5. j. Partial Compliance
        A. 5. k. Substantial Compliance
        A. 5. l. Substantial Compliance

Observations:
         OPSO has worked hard to finalize policies, procedures, and post orders. The
implementation of those policies, procedures, and practices and the adequate supervision
of inmate working areas results in substantial compliance as to A. 5. b. and c. The level of
violence, an average of 35 inmate on inmate assaults/altercations per month and almost
10 assaults on staff per month, are indicative that OPSO has not substantially complied
with the requirement that the facility be reasonably safe for staff and inmates. The
challenges of developing credible training lesson plans, recruiting staff, training staff,
remediating staff who do not have the required level of proficiency, and supervising
employees to hold them accountable for not following policy remains.
         OPSO has made significant progress under the leadership of the Independent
Compliance Director and his initiation of unit management to assist in the daily
supervision of housing units and increase accountability. However, review of the CY 2019
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significant incidents indicates that the failure of staff to follow policy consistently is a
serious impediment to effective supervision of the inmates. There are inmates who
repeatedly do not follow the rules of OJC including assaulting other inmates, assaulting
staff, destroying property, and/or threatening self-harm. While not expressly required by
the Consent Judgment, Director Hodge had indicated he instructed the Unit Managers to
develop individual inmate management plans as the same inmates are involved in violence
and uses of force. If done routinely and consistently followed by all staff, it would likely
reduce the level of violence in the facility.

                    Table 5 CY 2018-CY 2020 OJC Reported Incidents




       OPSO still does not conduct and document security rounds (30 minutes or 15 minutes
depending on the unit) nor perform direct supervision surveillance consistent with the
requirements of the Consent Judgment or OPSO policy.
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       Direct supervision requires surveillance of all of the inmates and cannot be
properly performed by sitting behind a desk or in the control module. It requires
walking around the unit, looking into the individual cells, and actively engaging with
the inmates. Use of designated mandatory assignments has improved the consistency
of staffing within those units, but for other units staffing was routinely inadequate or
inconsistent throughout the shift. Review of incident reports revealed that units were
often unstaffed, including mandatory posts. If staff are not present, it impossible to
make the required rounds. The improvement has resulted in OPSO being found in
partial compliance with IV. A. 5. d.
       Due to unreliability of the TourWatch system, OPSO reverted to paper logs. While the
current OPSO policy requires supervisors, up to the level of Watch Commander, to review the
paper logs to ensure rounds are being conducted, OPSO has not audited compliance with this
policy. Even a cursory review of the paper logs reveals that timely rounds were not performed.
OPSO should consider a reliable system that would allow for rounds, by both deputies and
supervisors, to be recorded electronically. Not only would it allow for supervisors to quickly
determine whether rounds were being conducted timely, it would allow for OPSO to prove
compliance and address non-adherence.
       All twenty-four (24) of the housing units are designed for direct supervision.
The Consent Judgment requires that staff shall provide direct supervision in housing units
that are designed for this type of supervision. Instead, OPSO’s Compliance Matrix
identified twelve (12) mandatory posts. Six of these mandatory posts are the control pods
and six are housing units. Thus, only 25% of the housing units are staffed for direct
supervision despite all of them being designed for direct supervision. In addition, at times
the deputies were not even in those housing units designated by OPSO as mandatory.
Thus, IV. A. 5. e. remains in partial compliance.
     Regarding overhead video surveillance and recording cameras for OJC (A.5.f.), there
were on-going issues where the majority of the 900 cameras were not recording.
Frequently, a nonfunctional camera was discovered only when a supervisor or an
investigator tried to retrieve the videos. OPSO now audits the system by having a
supervisor test the various cameras on a monthly basis and preparing a report for the
Chief of Security. The system was repaired during the compliance period and has been
demonstrated to be functioning on a consistent and regular basis; IV. A. 5. f. is now in
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substantial compliance.
         Documentation was provided that staff transferred from other divisions to work
in the OJC received the required training; thus, IV. A. 5. g. is in substantial compliance.
Proof of training for the specialized units was provided; IV. A. 5. h. is now in substantial
compliance. Given the high level of incidents in the specialized units, it is recommended
that the training be reviewed and deficiencies addressed.
         Documentation is lacking that supervisors consistently conduct daily rounds during
this compliance period; thus, IV. A. 5. i. continues to be in partial compliance. The daily
inspections of housing units as required by VI. A. 5. j. has improved but are still only in
partial compliance. With the introduction of unit management, unit managers and
deputies were required to conduct daily inspections. However, by OPSO’s own admission,
the inspections are only performed weekly. The daily inspection required by the Consent
Judgment is not the same as the observations made on rounds. Further, corrective actions
to address the inspection findings are essential.
         Monthly shakedowns are conducted in substantial compliance with VI. A. 5.
k. However, no reports were provided for the first quarter of 2020, and the raw data
provided indicates that no shakedowns were conducted during March 2020. The number
of contraband reports increased significantly in 2019. It is unclear whether this is a result
of more contraband in the facility or if it is a result of more frequent and effective
contraband shakedowns. The review of contraband reports clearly indicates reoccurring
issues. For example, there continues to be a serious issue with the presence of medication
contraband. This indicates the need to analyze the data and develop a corrective action
plan to reduce, if not stop, the hoarding of medication and the flow of contraband into the
facility.
         OPSO continues to review the monthly shakedown reports as to the locations of the
contraband, linkages to previous shakedowns, specific items found, and the inmates
involved. OPSO provided a list of special management units in compliance with the
provision. Thus, IV A. 5. l. is now in substantial compliance.


IV. A. 6. Security Staffing

A.6.a. OPSO shall ensure that correctional staffing and supervision is sufficient to adequately supervise
prisoners, fulfill the terms of this Agreement, and allow for the safe operation of the Facility, consistent with
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constitutional standards.
        (1)       OPSO shall achieve adequate correctional officer staffing in the following manner:
                  Within 90 days of the Effective Date, develop a staffing plan that will identify all posts and
                  positions, the adequate number and qualification of staff to cover each post and position,
                  adequate shift relief, and coverage for vacations. The staffing plan will ensure that there is
                  adequate coverage inside each housing and specialized housing areas and to accompany
                  prisoners for court, visits and legal visits, and other operations of OPP and to comply with all
                  provisions of this Agreement. OPSO will provide its plan to the Monitor, SPLC, and DOJ for
                  approval. The Monitor, SPLC, or DOJ will have 60 days to raise any objections and
                  recommend revisions to the staffing plan.
        (2)       Within 120 days before the opening of any new facility, submit a staffing plan consistent
                  with subsection (1) above.
        (3)       Within 90 days after completion of the staffing study, OPSO shall recruit and hire a full-time
                  professional corrections administrator to analyze and review OPP operations. The
                  professional corrections administrator shall report directly to the Sheriff and shall have
                  responsibilities to be determined by the Sheriff. The professional corrections administrator
                  shall have at least the following qualifications: (a) a bachelor’s degree in criminal justice or
                  other closely related field; (b) five years of experience in supervising a large correctional
                  facility; and (c) knowledge of and experience in applying modern correctional standards,
                  maintained through regular participation in corrections-related conferences or other
                  continuing education.
        (4)       Provide the Monitor a periodic report on staffing levels at the Facility. These periodic
                  reports shall be provided to the Monitor within four months of the Effective Date; and every
                  six months thereafter until termination of this Agreement. Each report will include the
                  following information:
                      i.     a listing of each post and position needed;
                     ii.     the number of hours needed for each post and position;
                             a listing of staff hired and positions filled;
                    iv .     a listing of staff working overtime and the amount of overtime worked by each
                             staff member;
                     v.      a listing of supervisors working overtime; and
                    vi.      a listing of and types of critical incidents reported.
A.6.b. Review the periodic report to determine whether staffing is adequate to meet the requirements of
this Agreement. OPSO shall make recommendations regarding staffing based on this review. The review
and recommendations will be documented and provided to the Monitor


         Findings:
         A. 6. a. Substantial Compliance
         A. 6. b. Substantial Compliance

        An overall rating of A. 6. was provided in the previous reports. This was inconsistent
with the other introductory paragraphs and has now been discontinued.

Observations:

        Insufficient staffing of posts in OJC continues. This is evidenced by the extensive use of
overtime, numerous incident reports, and investigations that reveal posts were not constantly
staffed. While provision IV. A. 6. a. (2) continues to be in substantial compliance due to the
submission of the staffing plan, failure to consistently adhere to the staff plan results in IV. A. 6.
a. (1) being in partial compliance. The Monitors look forward to reviewing the staffing plan for
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 the occupation of TDC and Phase III.

        Provision IV. 6. a. (3) is in substantial compliance with the hiring of Byron LeCounte as
 the Chief of Corrections as of February 19, 2019.

        Paragraph IV. 6. a. (4) is in substantial compliance, as monthly reports are produced to
 document hiring and termination of employees. The Stipulated Agreement also provides for bi-
 monthly reports regarding hiring. Paragraph 7.a. of the Stipulated Agreement of February 11,
 2015 requires monthly reporting. Overall, A. 6. a. is in substantial compliance.

       OPSO is in substantial compliance with A. 6. b. as OPSO periodically reviews the
staffing plan and has designated which posts are mandatory. The problem is that staff have
not been hired/retained to consistently fill those mandatory posts.




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IV. A. 7. Incidents and Referrals

A.7.a. OPSO shall develop and implement policies that ensure that Facility watch commanders have
knowledge of reportable incidents in OPP to take action in a timely manner to prevent harm to prisoners or
take other corrective action. At a minimum, OPSO shall do the following:
A.7.b. Continue to ensure that Facility watch commanders document all reportable incidents by the end of
their shift, but no later than 24 hours after the incident, including prisoner fights, rule violations, prisoner
injuries, suicide attempts, cell extractions, medical emergencies, found contraband, vandalism, escapes and
escape attempts, and fires.
A.7.c. Continue to ensure that Facility watch commanders report all suicides and deaths no later than one
hour after the incident, to a supervisor, IAD, the Special Operations Division, and medical and mental health
staff.
A.7.d. Provide formal pre-service and annual in-service training on proper incident reporting policies and
procedures.
A.7.e. Implement a policy providing that it is a disciplinary infraction for staff to fail to report any reportable
incident that occurred on his or her shift. Failure to formally report any observed prisoner injury may result
in staff discipline, up to and including termination.
A.7.f. Maintain a system to track all reportable incidents that, at a minimum, includes the following
information:
          (1)      tracking number;
          (2)      the prisoner(s) name;
          (3)      housing classification and location;
          (4)      date and time;
          (5)      type of incident;
          (6)      injuries to staff or prisoner;
          (7)      medical care;
          (8)      primary and secondary staff involved;
          (9)      reviewing supervisor;
          (10)     external reviews and results;
          (11)     corrective action taken; and
          (12)     administrative sign-off.
A.7.g. Ensure that incident reports and prisoner grievances are screened for allegations of staff misconduct,
and, if the incident or allegation meets established criteria in accordance with this Agreement, it is referred
for investigation.
A.7.h. Provide the Monitor a periodic data report of incidents at the Facility. These periodic reports shall be
provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement.
A.7.i. The report will include the following information:
          (1)      a brief summary of all reportable incidents, by type and date;
          (2)      a description of all suicides and in-custody deaths, including the date, name of prisoner, and
                   housing unit;
          (3)      number of prisoner grievances screened for allegations of misconduct; and
          (4)      number of grievances referred to IAD or SOD for investigation.
A.7.j. Conduct internal reviews of the periodic reports to determine whether the incident reporting system is
ensuring that the constitutional rights of prisoners are respected. Review the quarterly report to determine
whether the incident reporting system is meeting the requirements of this Agreement. OPSO shall make
recommendations regarding the reporting system or other necessary changes in policy or staffing based on
this review. The review and recommendations will be documented and provided to the Monitor.

        Findings:
        A. 7. a. Substantial Compliance
        A. 7. b. Substantial Compliance
        A. 7. c. Substantial Compliance


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       A. 7. d.   Substantial Compliance
       A. 7. e.   Substantial Compliance
       A. 7. f.   Substantial Compliance
       A. 7. g.   Substantial Compliance
       A. 7. h.   Substantial Compliance
       A. 7. i.   Substantial Compliance
       A. 7. j.   Substantial Compliance

Observations:
       OPSO has long had a policy on incidents and referrals that sets out the process for
documenting and referring incidents. What has been lacking is a sufficient process to ensure all
reportable incidents are being documented and that all incident reports are complete, prompt,
and accurate. OPSO has improved in its reporting of incidents as well as its timeliness of the
reporting of incidents. A failure to continue improvement in the timely reporting of incident
may result in a finding of partial compliance, but, as of now, A. 7. b. remains in substantial
compliance.
       One of the methods for determining whether incidents are reported is to review “routes”
of inmates with serious medical or trauma injuries to the hospital emergency and the OPSO
clinic walk-in logs. This function used to be performed by the Monitors. OPSO has implemented
a process where a lieutenant performs this function and follow up on missing reports. This is an
example of OPSO incorporating processes which allow OPSO to audit its compliance. What
continues to be lacking is holding the supervisors accountable for the late reports. No
documentation was provided of accountability in the form of counseling or discipline was
presented.

       During this reporting period, there were no deaths, the serious attempts at suicide were
reported within an hour to the proper persons; thus IV. A. 7. c. is in substantial compliance. As
noted earlier, two in custody deaths occurred in June 2020 and were timely reported. Annual
training was provided on incident reporting, and documentation indicates that staff were
required to attend; IV. A. 7. d. is in substantial compliance. OPSO has transitioned to the AS 400
system to track the information required in IV. A. 7. f. and is now in substantial compliance.
While OPSO makes little use of the information, that failure is reflected elsewhere. In substantial
compliance with A. 7. g., incidents and grievances are reviewed for misconduct and referred for
investigation where appropriate. The Monitors were provided a semi- annual report of
incidents, that now, with the supplementation by the daily/weekly reports, which contains all of

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the required information and, thus, A. 7. h. and i. are in substantial compliance. OPSO performed
an assessment of whether the reporting system is meeting the requirements of the Consent
Judgment and is given substantial compliance for A. 7. j. as OPSO is now addressing the lack of
timeliness. However, to maintain substantial compliance, future assessments of the reporting
system will need to be more robust and refined.


IV. A. 8. Investigations
A.8.a. Maintain implementation of comprehensive policies, procedures, and practices for the timely and
thorough investigation of alleged staff misconduct, sexual assaults, and physical assaults of prisoners
resulting in serious injury, in accordance with this Agreement. Investigations shall:
         (1)      be conducted by persons who do not have conflicts of interest that bear on the partiality of
                  the investigation;
         (2)      include timely, thorough, and documented interviews of all relevant staff and prisoners who
                  were involved in or who witnessed the incident in question, to the extent practicable; and
         (3)      include all supporting evidence, including logs, witness and participant statements,
                  references to policies and procedures relevant to the incident, physical evidence, and video
                  or audio recordings.
A.8.b. Continue to provide SOD and IAD staff with pre-service and annual in-service training on appropriate
investigation policies and procedures, the investigation tracking process, investigatory interviewing
techniques, and confidentiality requirements.
A.8.c. Ensure that any investigative report indicating possible criminal behavior will be referred to IAD/SOD
and then referred to the Orleans Parish District Attorney’s Office, if appropriate.
A.8.d. Provide the Monitor a periodic report of investigations conducted at the Facility. These periodic
reports shall be provided to the Monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement.
A.8.e. The report will include the following information:
         (1)      a brief summary of all completed investigations, by type and date;
         (2)      a listing of investigations referred for administrative investigation;
         (3)      a listing of all investigations referred to an appropriate law enforcement agency and the
                  name of the agency; and
         (4)      a listing of all staff suspended, terminated, arrested, or reassigned because of misconduct or
                  violations of policy and procedures. This list must also contain the specific misconduct
                  and/or violation.
A.8.f. OPSO shall review the periodic report to determine whether the investigation system is meeting the
requirements of this Agreement and make recommendations regarding the investigation system or other
necessary changes in policy based on this review. The review and recommendations will be documented and
provided to the Monitor.

        Findings:
        A. 8. a. Substantial Compliance
        A. 8. b. Substantial Compliance
        A. 8. c. Substantial Compliance
        A. 8. d. Substantial Compliance
        A. 8. e. Substantial Compliance
        A. 8. f. Substantial Compliance

Observations:
        The Investigative Services Division (ISB) is responsible for: the Criminal Investigation
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Division (investigates possible criminal activity by inmates), Internal Affairs Division-Criminal
(investigates possible criminal activity by staff), the FIT (investigates use of force by staff), the
Internal Affairs Division-Administrative (investigates possible violation of policies by staff), and
the Intelligence Unit (provides information and intelligence regarding activities that have taken
place or may take place in the jail or support activities).

        Significant evidence of substantial compliance was provided for IV. A. 8. a. The Monitor
continues to be concerned about the time investigations are taking, but the length of time for
investigations decreased due to the additional ISB staff and an improvement in the quality of
the reports on which the investigations are based. As the volume of incidents requiring the
attention of ISB decreases, the timeliness of investigations should improve. The quality of the
investigations in the future is of concern due to the resignations of the three most experienced
investigators. Improvements in all other areas from hiring, training, supervision, and adequate
staffing will enhance the safety of staff and inmates and, ultimately, decrease the workload of
ISB.

        The Monitor acknowledges that investigating incidents of inmate on inmate
assaults, sexual assaults, staff on inmate assaults, etc. with a goal of seeking indictments is
appropriate; but the overall goal is to create a safe jail. In a jail setting, investigations play a
critical role in protecting inmates from inappropriate or illegal staff actions, protecting
inmates from each other, and correcting policy, practice, supervision and training.
Continued emphasis is needed on the goal of investigations to prevent future incidents
through analysis of the policy, procedures, training, supervision, and physical plant
contributors to the incident. This function cannot and should not be performed by ISB
alone. This level of assessment requires input from individuals who have a high level of
experience in jail/corrections work. In short, it requires collaboration between ISB and
OJC which continues to be wanting. The OJC staff should take the lead in the root cause
analysis with ISB providing information gathered during the investigation.

        The quality of sexual assault investigations remained improved during the
compliance period. The Lieutenant who was responsible for IAD-Criminal investigations
is no longer employed at OPSO and supervision of sexual assault investigations has been
added to the duties of the FIT supervisor.


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             ISB continues to receive significant additional training. In substantial compliance
    with A. 8. b., ISB contracted with an expert on sexual assault and PREA investigations to
    provide training to guide implementation of the new skills.

             Investigations which reveal potential criminal activity are referred to the Orleans
    Parish District Attorney’s Office in substantial compliance with A. 8. c. ISB provides
    reports in substantial compliance with IV. A. 8. d. and e. ISB reviews the investigation
    system to determine whether the investigation system complies with the requirements of
    the Consent Judgment and forwards any recommendations to the Monitors.


    IV. A. 9.    Pretrial Placement in Alternative Settings

      A.9.a. OPSO shall maintain its role of providing space and security to facilitate interviews conducted
      pursuant to the City’s pretrial release program, which is intended to ensure placement in the least
      restrictive appropriate placement consistent with public safety.
      A.9.b. OPSO shall create a system to ensure that it does not unlawfully confine prisoners whose sole
      detainer is by Immigration and Customs Enforcement (“ICE”), where the detainer has expired.

            Findings:
            A. 9. a. Substantial Compliance
            A. 9. b. Substantial Compliance

    Observations:
             OPSO provided a memorandum noting that the pretrial program is no longer
    managed by VERA, but rather by the Criminal District Court, and that the same space is
    provided. OPSO also provided a memorandum that ICE detainers are only accepted for a
    specified list of offenses. OPSO has not detained any individuals under an ICE detainer
    during 2019 or the first three months of 2020.


    IV. A. 10. Custodial Placement within OPP
    Introduction

            OPSO has designed, validated, and implemented an objective classification system to
    assess and house each OSPO inmate according to his/her risks posed to institutional safety
    and security. The automated classification system was rolled out in the Jail Management
    System (JMS) on January 15, 2015.1 The OPSO staffing plan set the classification unit staff


1   Hardyman, Patricia L. (2015). “Design and Validation of an Objective Classification System for the Orleans Parish
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 FTEs at 18. As of May 20, 2020, the Classification Unit staffing was 15 – 14 civilian
 classification specialists and a classification manager. Thus, it appeared the Classification
 Unit staffing was adequate. During this compliance period, three (3) classification
 specialists joined the Unit; one (1) resigned. In December 2019, the Monitor provided
 training for the entire OPSO classification staff. Training topics included the principles of
 objective classification and instruction on OPSO custody, predation, and vulnerability
 assessments, and the housing assignment process. No in-service training was documented
 for this compliance period, although the classification manager reported some instruction
 on the internal housing audit process.

        An automated housing assignment process (HUAP) identifies housing options for
 inmates according to their custody level, gender, special population status, PREA
 designations, enemies, and associates. The classification specialist selects from the
 potential housing locations to match the inmates by age, crime/criminal history, custody
 level, and PREA designations. Special population tags identify inmates for suicide
 observation versus suicide watch, medical housing/isolation, academic education, or
 special diets. The OJC and TDC dormitory-style units have been cataloged in the
 automated HUAP to enable the classification specialists to assign inmates to specific beds.
 Classification Unit and JMS staff worked together to develop an Inmate Separation
 Instrument (ISI) to maintain out-of-cell separations. Current OPSO operational
 procedures do not require use of the ISI for the general population or special management
 units. However, OPSO reported using the ISI to identify appropriate out-of-cell
 separations within the mixed custody, COVID-19 populations units.
          During July-November 2019, classification specialists and corrections security staff
 conducted some housing audits to verify the inmates were in their assigned cells and beds.
 However, most of the audit sheets were incomplete and inconsistent. It was still unclear if
 the security staff auditors verified the inmates were sleeping in their assigned beds. Thus,
 the integrity of the housing audit process remains questionable.
          OPSO modified its document submittal process to exclude standardized monthly
 classification statistical reports. These reports, however, were provided as



Sheriff’s Office: Final Report.” Hagerstown, MD: Criminal Justice Institute, Inc.

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documentation for the May 2020 virtual tour. The classification specialists complete
most initial and reclassification assessments within 24 hours of intake or status change
for most inmates.
     Assessment Methodology
     The compliance review was limited to a review of the documents provided by OPSO
and a virtual meeting with OPSO staff. Examined throughout the compliance period were
ad hoc reports regarding custody reviews, arrests/releases, housing, and inmate
disciplinary/incidents. For this compliance review, analyzed were the monthly statistical
reports, housing audit data, and monitor logs. Thus, compliance was assessed using
multiple data sources and methods; however, sorely missed were the on-site observations
of the custody assessment, housing, and audit processes as a means of reviewing
compliance. This compliance report focuses primarily on the July 2019 and March 2020
data. For some analyses, considered were the trends over a fifteen-month (15) period to
allow for seasonal variations.
Summary
       In sum, the OPSO is in partial compliance overall with the paragraphs of the Consent
Judgment related to Custodial Placement within OPP (IV. A.10). During these nine months,
the OPSO moved from Partial Compliance to Substantial-Compliance on Sections d.
(Continue to update the classification system to include information on each inmate’s history
at OPSO) and h. (Continue competency-based training and access to all supervisors on the
full capabilities of the OPSO classification and prisoner tracking system). There were no
changes for Sections a., b., c., f., and g. OPSO did not regress on any sections of the Custodial
Placement requirements. Section f. remains the only Custodial Placement paragraph with
which OPSO is not in Substantial Compliance. While the internal audits by the
classification specialists improved somewhat during November and December, OSPO
discontinued the housing audits in December. Further, it appears there is still little review
and follow-up of the audits to ensure that problems detected are addressed. The internal
housing audits by security staff were discontinued in October. Audits by security staff are
not essential to achieve compliance with Section f. of the Consent Judgment. As the
Classification Unit audits are restarted, additional training for the classification staff will be
important to create a credible audit process.
       Findings:
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            A. 10. a.   Substantial Compliance
            A. 10. b.   Substantial Compliance
            A. 10. c.   Substantial Compliance
            A. 10. d.   Substantial Compliance
            A. 10. e.   Partial Compliance
            A. 10. f.   Partial Compliance
            A. 10. g.   Substantial Compliance
            A. 10. h.   Substantial Compliance

    IV.A.10. a. OPP shall implement an objective and validated classification system that assigns prisoners to
                housing units by security levels, among other valid factors, in order to protect prisoners from
                unreasonable risk of harm. The System shall include consideration of a prisoner's security needs,
                the severity of the current charge, types of prior commitments, suicide risk, history of escape
                attempts, history of violence, gang affiliations, and special needs, including mental illness, gender
                identity, age, and education requirements. OPSO shall anticipate periods of unusual intake volume
                and schedule sufficient classification staff to classify prisoners within 24 hours of booking and
                perform prisoner reclassifications, assist eligible DOC prisoners with re-entry assistance (release
                preparation), among other duties related to case management.

            Finding: Substantial Compliance
    Observations:
            As of May 20, 2020, the Classification Unit roster lists 15 individuals -- a
    classification manager and 14 civilian classification specialists. As per the OPSO 2018
    staffing analysis plan, the Classification Unit includes 18 “civilianized” positions.2 The
    Classification Unit Manager reports to the Captain of the Intake Processing Center (IPC).
    An assertive voice for the Classification Unit is vital to ensure its control of all housing
    transfers and assignments and participation in OPSO housing-related decisions. For
    October – December, the classification shift supervisors assumed responsibility for
    completing housing audits in addition to their responsibilities for supervising the
    classification specialists, processing housing transfers, and conducting custody re-
    assessments. The classification manager oversees the responses to grievances and
    conducts interviews regarding protective custody and housing re-assignments.

            The classification shift leaders and specialists work overtime to complete the
    initial classification, reclassification, vulnerability assessments, and housing assignments.
    In January – April 2020, the Classification Unit logged 2,538.99 hours of overtime. This
    computes to an average of 634.7 hours per month; the average/month by classification



2Hodge, Darnley (October 1, 2018). “Updated Coverage Plans for the OPSO (Civil Division excluded).” Orleans Parish
Sheriff’s Office, Independent Compliance Director. pp. 12.
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    specialist was 39.7 hours.3 These hours were, at least in part, due to the COVID-19
    pandemic, as the Classification Unit’s workload increased as inmates’ housing
    assignments were modified to maintain appropriate separations. In contrast, during the
    first four months of 2019, the Classification Unit logged 1,758.27 hours of overtime. This
    computes to average of 439.6 hours per month; the average/month by classification
    specialist was 38.97 hours. These numbers raise questions and concerns for staff
    burnout and efficiencies.
             As part of the December 2019 classification training, updated custody and PREA
    handbooks were provided to the classification specialists. During this compliance
    reporting period, the classification manager/team leaders provided ad hoc remedial
    instruction.

    IV.A.10.b. Prohibit classifications based solely on race, color, national origin, or ethnicity

             Finding: Substantial Compliance
             Observations:
             The custody assessments consider objective risk factors validated for the OPSO
    males and female inmates. The inmate's race is not one of the objective risk factors. The
    classification specialists consider the inmate's custody level, vulnerability designation, age,
    and charges when selecting from the beds identified by the JMS.

             To track this element of the Consent Judgment, OPSO created a monthly statistical
    report to track classifications by race and housing location. Analyses of these reports by
    the Monitor suggested that the OJC housing assignments were not by race. The housing
    distribution across the OJC housing units was generally consistent with the overall
    distributions of inmates by race within the OPSO inmate population. However, the
    percentage of white inmates assigned to TDC exceeded their proportions within the total
    inmate population. In July 2019, 87.3 percent of the OPSO inmates were Black; however,
    only 72.1 percent of the inmates housed in TDC were Black. (See Figure 1.) During July
    2019 through April 2020, there was a ~10 percent discrepancy between the percentage of
    Blacks housed in TDC versus the overall OPSO population. Despite the decrease in the

3Overall, for January – April 2020, the average hours of overtime worked per person/month across the “Home
Department” units was 79.88 hours. The Classification Unit overtime rate was 158.7/month; Outside Security staff
provided 317.37 hours, and Transportation logged 217.00 hours/month. “OJC Security Staff Home Department”
provided an average of 64.9 hours per month in 2020.
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proportion of white males within the OPSO population during March and April 2020, the
percentage of OPSO white inmates housed in TDC changed little. During this compliance
period, TDC primarily housed the kitchen/maintenance and off-site workers. These data
raise questions about the worker selection/assignment process. As these disparities have
continued from the previous reporting period, recommended are review of the worker
selection/assignment process and policies to identify inherent bias as a safeguard against
systemic bias.
  100.0%
                                                                                       89.2%                    90.2%       91.3%
            87.3%       88.1%        86.9%       87.6%        88.4%       88.1%                    88.3%
   90.0%
                             77.6%                                78.8%        76.9%                                76.2%        77.4%
   80.0%                                 74.6%        75.4%                                73.9%        75.6%
               72.1%
   70.0%
   60.0%
   50.0%
   40.0%
   30.0%            26.2%                    23.8%       24.6%                                 24.6%                    23.8%
                                21.1%                                 21.2%       21.5%                    23.2%                    22.6%
   20.0%                                12.1%
             11.5%          10.9%                    11.1%       10.5%        11.0%       10.1%        10.6%       8.8%         7.8%
   10.0%
    0.0%
               Jul           Aug         Sep          Oct         Nov          Dec          Jan         Feb         Mar          Apr
                            OJC&TDC Black- M           OJC&TDC White-M            TDC-Black-M          TDC-White-M
Figure 1: Distribution of Inmates by Race by OPSO Facilities – July 2019 – April 2020

IV.A.10.c Ensure that the classification staff has sufficient access to current information regarding cell
availability in each division.

           Finding: Substantial Compliance
           Observations:
           OPSO automated housing assignment process (HUAP) considers the inmate's
custody level, gender, special population status, PREA designations, enemies, and
associates as well as bed availability to recommend an appropriate bed for the inmate. For
example, housing tags, identify inmates on suicide observation versus suicide watch,
alcohol/drug detoxification protocol, gang affiliation, school participation, and special diets.
The HUAP provides the classification specialists a list of potential beds for each inmate.
           The JMS daily population report lists the units, cells, and beds offline for maintenance
or staffing, as recorded in the AS400. The virtual tour protocol precluded a full review of the
veracity of the closed-cell counts within the data population reports. It is assumed that the

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classification specialists continue to manually compare the posted lists of cells/beds offline
with the bed assignments generated by the HUAP. As previously lamented, this manual
process creates inefficiencies among the automated HUAP, housing assignment/transfer,
and the facility maintenance processes. The classification unit manager has the option to
update the status of beds within the JMS and to input requests within the facility
maintenance log.
       Classification specialists have maintained a list of daily bed assignments to avoid
duplications due to delays between the housing assignments and physical transfer of the
inmate to the designated housing unit. Thus, as required by the Consent Judgment, the
classification specialists appear to have access to current information regarding bed
availability throughout the OJC. However, the process, unless changed during the last six
months, entails maintaining multiple manual lists creating the risk of housing errors and
backlogs for moving inmates from the booking area to the appropriate housing pod. The
manual lists and notes are inefficient and impede the housing assignment process.
Progressing from the current manual process to an automated process within the JMS
would enhance the reliability, accuracy, and efficiency of the housing assignment process.

IV. A. 10. d. Continue to update the classification system to include information on each
    prisoner’s history at OPSO.

       Finding: Substantial Compliance
Observations:
       As shown in Figure 2, the monthly custodial reports provided by OPSO indicated a
significant decrease in the lag-time between booking and the initial classification. Further,
the percentage of inmates for whom initial custody and housing assessments were
completed increased by nearly eight percent (7.5%). In particular:

       o Percent Initial Custody Assessments: During this compliance period, initial
           custody assessments were completed for 85.0 percent of the inmates booked
           into OJC. Between July 2019 and March 2020, the rate increased from 78.5 to
           85.0 percent.

       o Percent Within 8 Hours: As of March 2020, initial custody assessments were
          completed within the first eight hours of booking for 73.5 percent of the OPSO
          inmates. Between July 2019 and March 2020, the percentage of initial
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          classifications completed within the first eight hours of booking fluctuated
          between 45.6 and 88.5 percent; the average rate across the nine months was
          68.6 percent. Likewise, the percentage of cases completed between 8.01 and
          24 hours vacillated between 10.9 and 48.4 percent; the average was 29.0
          percent. Thus, almost three in ten inmates remained in the booking area for
          more than eight hours before assigned to a bed.
      o Percent Greater Than 24 Hours: As of July 2019, the time between booking and
          the initial custody assessment was more than 24 hours for only 1.3 percent of
          the inmates. By March of 2020, this rate had dropped to 1.0 percent. Hopefully,
          this trend will continue to decline over the next six months.


       100.0%
        90.0%
                                                                                           85.0%
        80.0%                                      78.5%
        70.0%                                                                              73.5%
                                                   70.0%
        60.0%
        50.0%
        40.0%
        30.0%                                      28.8%
                                                                                           25.4%
        20.0%
        10.0%
         0.0%                                      1.3%                                    1.0%




                       % Initial Classifications    % - 8 hrs   % - 24 hrs   % - 24+ hrs

      Figure 2: Rates and Completion Time of Initial Custody Assessments

       These data suggested that the percentage of inmates for whom an initial classification
was completed has remained stable. Yet, the lag time between booking and classification/
housing has fluctuated. As the System adjusts to the COVID-19 pandemic pressures, the lag time
between booking and housing will probably continue to vacillate.

       With the onset of the COVID-19 pandemic, the OPSO Housing Matrix was adjusted
on multiple occasions to ensure appropriate separations for observation, quarantine, and
the like. These special pods create concerns about the additional risks from the
assignment of Low, Medium, and High custody inmates with different PREA designations
to the same housing unit. Within these units, OPSO’s protocol was to provide separate out-

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of-cell time as per the automated ISI (Inmate Separation Instrument) or individual out-of-
cell times/inmate. Unfortunately, the limitations of the remote tour precluded systematic
verification of out-of-call separations. Regardless, the sub-standard practice of mixed
custody/vulnerability housing units prompted by the pandemic should be reviewed and
discontinued as soon as possible. In the interim, refresher ISI training for seasoned staff as
well as introductory training for new line staff is critical.
         During the previous compliance period, noted were the dangers of overriding the
inmate custody levels for housing purposes. As shown in Figure 3, during this compliance
period – July 2019 – March 2020, about a third (34.2%) of the custody overrides were for
housing purposes. This is undoubtedly an improvement over the rate of 84.9% observed
for January 2019, but the practice continues. The monthly classification reports indicated
that the initial classification discretionary override rate for the men peaked in January
2019 at 19.2 percent. As of March 2020, the initial discretionary override rate was 3.5
percent. The classification specialists were careful to “match” inmates by age, current
offense, and final custody level for the housing assignments, particularly for the “low”
custody inmates.
 90.0%
          84.9%
 80.0%
                  73.5%
 70.0%
 60.0%                            62.2%
                          56.9%
 50.0%                                    49.1%                          48.3%
 40.0%
                                                          34.2% 35.5%                               36.5% 35.2%           35.8%
 30.0%                                                                           31.9%                            29.7%
 20.0%                                            19.9%                                   20.7%

 10.0%
  0.0%
         Jan-19 Feb-19 Mar-19 Apr-19 May-19 Jun-19 Jul-19 Aug-19 Sep-19 Oct-19 Nov-19 Dec-19 Jan-20 Feb-20 Mar-20
                                          Housing Overides              Linear (Housing Overides)
Figure 3: Percent Housing Overrides for Housing Purposes – January 2019 - March 2020

         The Classification Monitor List (List) is an ad hoc report that identifies inmates for
whom a custody review is due. Custody re-assessment reasons include a regular 60/90-
day re-assessment or because of some change or event within their jail records, i.e., change
in their charge(s), bail amount, disciplinary history, detainer lodged/lifted, or sentence.
The number of inmates on the list fluctuates as inmates return from court, move through
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the booking process, and the like. At least one classification specialist per shift is tasked
with completing the custody reviews. For the Classification Monitor lists available for this
compliance period, the average number of pending custody assessments was 18.4. The
cases were evenly split between those awaiting an initial classification (9.89) versus those
awaiting a custody re-assessment (8.67). The average number of pending custody
assessments during the previous compliance period was 29.4. It appears that the wait-
times for initial and reclassification processes decreased during this compliance period.
       Following Compliance Report #8, OSPO took steps to work with Wellpath to rebuild
the linkages between the medical/mental health records and JMS. These data are essential
for scoring seven of the PREA victimization and predation risk factors. Also, medical and
mental health information is critical for the inmates' housing assignments. The linkage
between the electronic medical records (ERMA) and the JMS for the intake data is complete.
Still, the programming to update the records throughout the inmate's incarceration was not
finished.
      Observation of the custody assessment process for the previous compliance report
suggested that the classification specialists were not inputting prior criminal history data into
the JMS for inmates with non-Orleans Parish felony convictions. This prompted concern as to
whether staff routinely used the attachment option within the JMS to input non-Orleans Parish
convictions and warrants. Generated were JMS data to track the use of the attachment option by
date, reason, and staff identification. As shown in Figure 4, the number of attachments input by
the classification staff had dwindled to four (4) in July 2019. However, in October 2019, the
process restarted; for October 2019 – March 2020, the classification staff input on average 318.5
attachments/month. Further, as shown in Figure 5, on average, 97 percent of the attachments
updated the inmate’s criminal history.




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   1200
                               1117
                                           1061        1048
   1000                                                            985
                    946

    800                                                                        787                     803
                                                                                           723
                                                                                                                   672
    600

    400                                                           370
                                                      318                     295         304         306          318
    200
                                          69
       0            4          7
               Jul-19     Aug-19      Sep-19      Oct-19      Nov-19     Dec-19      Jan-20      Feb-20      Mar-20

                                                              Attach #         Init Cls
 Figure 4 Number of Attachments Input by Classification Staff -- July 2019 - March 2020




  Figure 5 Attachment Reason by Month – July 2019 – March 2020
IV.A.10.e. Continue competency-based training and access to all supervisors on the full capabilities of the OPSO
classification and prisoner tracking system.


           Finding: Substantial Compliance

 Observations:
       During this compliance period, four classification specialists joined the Unit. Staff
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reported training on the custody and PREA assessment instruments and the OPSO housing
matrix. In October, following a review of the classification training process, distributed
were updated classification handbooks. Training was provided to the entire OPSO
classification staff in mid-December 2019. The training topics included the principles of
objective classification and instruction on OPSO custody, predation, and vulnerability
assessments, and the housing assignment process.

          No OPSO in-service training was documented for this compliance period, although
the classification manager reported some instruction on the internal housing audit process.
Quality consistent in-service, as well as introductory training for new staff members, must
be maintained to ensure reliable and accurate custody assessments, housing assignments,
and audits. While the System is highly automated within the JMS, the automation should
not replace the staff's understanding of the objective classification principles and the
scoring rules for the risk factors, custody levels, or housing standards.

IV.A.10.f. Conduct internal and external review and validation of the classification and prisoner tracking
system on at least an annual basis.

          Finding: Partial Compliance
Observations:
          OPSO population reports as to the number of inmates by location were received
daily by the Monitor. Custodial statistical reports for July 2019 through March 2020 as to
the number of custody assessments by type, gender, and population were also available.
These reports track the timeliness of the initial custodial assessments; the custody
distributions; the cases due for a custody assessment; the prevalence of special
populations; as well as the rates and types of disciplinary infractions. OPSO has both
housing and internal audit protocols; both processes were reviewed for this compliance
report.

          Housing Audits – Checking the Veracity of the Inmate Housing Assignments
          A total of 74 housing audit score sheets were generated for July through November
2019. Each audit sheet (and roster, when provided) was reviewed. The audit sheets
raised several concerns. Despite standards set by the OPSO’s housing audit protocol, not
all pods were audited monthly, and pods with cell or pod separation errors were not re-
audited. Most of the audit sheets were incomplete; missing were vital information as to
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the integrity of the cell and bed assignments, pod level separations, and auditor. For most
of the audits, recorded were the pod, date, and start time. The security staff audits did not
document that each inmate was in his/her assigned bunk. A second red flag was the time
staff spent auditing the respective pods. The start times for many of the audits were 5 to
10 minutes apart. Thus, the auditor identified each inmate’s assigned location, checked the
security and operational items, and walked to the next OJC pod within 5 to 10 minutes?
The concerns are with the audit process's integrity, not the process developed by OPSO.

        A positive observation was the "Housing Audit Corrective Action" created to
summarize the auditor's inspections. While these summaries are certainly a step forward,
simple changes such as adding a date and documenting the "corrective" actions to be
addressed would be useful. It is important to emphasize that housing audits are a means
of ensuring the classification system's integrity. Merely filling out a custody assessment
form and assigning an inmate to bed does not fulfill the requirement of a validated
classification system. OPSO must be sure that all inmates are in the assigned cells and
beds according to their risks and needs. Otherwise, classification becomes just another
form.

        The “virtual” tour process precluded observation of the housing audits. Further,
OPSO submitted a memorandum indicating the intention to revamp the housing audit
process by the security staff and the suspension of the housing audits by the classification
unit as of January 2020. The intent was to restart audits in March; however, the COVID-
19 pandemic precluded their moving forward on this initiative. The last set of inspections
completed by two of the classification shift supervisors highlight the importance of
restarting audits:
                 Pod   Date          Comments
                 3A     11/17/19     1 on the floor, 1 wrong bunk
                 3B     11/17/19     All inmates in beds and cells assigned
                 3C     11/17/19     1 on the floor
                 3D     11/18/19     All inmates in beds and cells assigned
                 3E     11/18/19     1 inmate on the floor
                 4A     11/8/19      12 inmates in wrong beds
                 4B     11/8/19      1 on floor
                 4C     11/9/19      4 wrong cell, 1 on floor, & 6 in wrong beds
                 4D     11/11/19     10 wrong beds

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                     Pod     Date            Comments
                     4E       11/10/19       15 wrong beds
                     4F       11/10/19       6 wrong beds
                     4A       12/7/19        19 wrong beds


    Although many of the “audits” reported no errors, the number of housing errors observed
    across multiple pods within these two-weeks suggests a pattern. Further, the data raise
    questions for the integrity of the housing assignments generated by the classification unit.

           Internal Audits – Checking the Accuracy of the Custody and PREA Assessments
           As part of the ongoing classification and housing processes, the classification shift
    supervisor reviews the JMS reports to identify placement errors and ISI separation
    conflicts. Supervisors/team leaders indicated that errors were corrected immediately.
    Thus, the housing separation errors detected by the JMS were resolved quickly. Total
    reliance on automated housing violation reports to detect housing and custody
    assessment errors is insufficient to ensure institutional safety and security.

           Reviewed were the July 2019 – March 2020 internal audit logs. Audited were 72
    custody assessments; this represented about .4 percent of the 20,529 custody assessments
    completed during this nine-month period. This low rate of audits is troubling. Errors were
    “discovered” for 19 of the custody assessments audited. The most common mistake was
    the absence of attachment(s) for prior/out-of-parish convictions. This problem appeared
    to have been addressed for the January – March audits.
           Revalidation of the Classification System – Assessing the Validity of the System
           OPSO contracted with Dr. Edward Latessa and Dr. Brian Lovins (University of
    Cincinnati) for revalidation of the classification system as required by the Consent
    Judgment. Lovins and Latessa submitted their final report to the OPSO on April 30, 2018.4
    This validation study serves as documentation of compliance with the Consent Judgment
    requirement for “external review and validation of the classification and prisoner tracking
    system on at least an annual basis.” Although statistical validation of an objective
    classification system is generally recommended every three to five years,5 continuous


4 Lovins, Brian K. and Edward Latessa (April 30, 2018). “Revalidation of the Orleans Parish Classification System.”
Cincinnati, Ohio: University of Cincinnati Corrections Institute.
5 Austin, James and Hardyman, Patricia L. (2004) “Objective Prison Classification: A Guide for Correctional Agencies.”

Washington, D.C.: National Institute of Corrections. pp. iv.
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monitoring and process evaluation are essential for ensuring the system’s integrity for the
OPSO current inmate population. OPSO should review and address Lovins and Latessa’s
recommendations and plan to revalidate the System by 2021 as recommended.

IV.A.10.g. Provide the Monitor a periodic report on classification at the Facility. These periodic reports shall
be provided to the Monitor within four months of the Effective Date and every six months, thereafter, until
termination of this Agreement. Each report will include the following information:
         (1)     number of prisoner-on-prisoner assaults;
         (2)     number of assaults against prisoners with mental illness;
         (3)     number of prisoners who report having gang affiliations;
         (4)     most serious offense leading to incarceration;
         (5)     number of prisoners classified in each security level;
         (6)     number of prisoners placed in protective custody; and
         (7)     number of misconduct complaints.

        Finding: Substantial compliance
Observations:
         Reviewed were the monthly custodial, discipline, and inmate statistical reports for
July 2019 – March 2020. OPSO has developed reports to track the statistics as required
under section IV.A.10.g. The only exception is the rates of victimization of inmates on the
mental health caseload. As noted earlier, these data are dependent upon timely caseload
information from the mental health provider. As noted in previous reports, OPSO and
Wellpath worked together to align the JMS and electronic medical data to generate timely
and accurate counts of victimization. These efforts appear to have stalled. As the Consent
Judgment specifically requires victimization rates for inmates on the mental health
caseload, OPSO and Wellpath must complete this process to maintain substantial
compliance with this item.
        Updated data as to the inmates with gang affiliations were inputted to the JMS
throughout the compliance period. OPSO, New Orleans Police Department, and the Orleans
District Attorney have created an ongoing process for notifying the OPSO of offenders
identified as members of a “gang.” Thus, these data are available to track the prevalence of
inmates per “gang” among OPSO populations as well as by their location (i.e., tier, side, and
bed).

        Figures 6 and 7 provide the OPSO monthly disciplinary data as recorded in the JMS.
The number of disciplinary reports has fluctuated over the last 16 months – January 2019
– April 2020. These fluctuations appear to mirror the changes in the OPSO average daily
population (ADP). (Sixteen (16) months of disciplinary data are provided to account for

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 short-term variations, seasonal trends, the new incident reporting module within JMS,
 and the population shifts due to the pandemic.) Overall, the trendline for the number of
 formal disciplinary reports written per month indicates an increase in the number of
 disciplinary reports between January 2019 – April 2020. As of January 2019, the rate of
 disciplinary reports for the OPSO detainees was 25.7 percent, i.e., 1 in 4 inmates received
 a disciplinary report. The rate jumped to 50.4 percent for January 2020 but dropped to
 only 23.3 percent in February. By April, the rate stood at 44.0 percent. These
 fluctuations are due at least partially to the OPSO’s moving its incident reporting process
 from Vantos to the JMS as of March 2019. OPSO needs to track the disciplinary trendlines
 with the new incident reporting module as well as those for the population and housing
 shifts due to the pandemic.

         Figure 6 also illustrates the rates of predatory (e.g., assaults or battery) and
aggressive behaviors (e.g., fights or threats) based on the OPSO ADP. These rates were
steady during most of 2019, but in December, the rates began to rise. As of April 2020, the
rate of predatory infractions among OPSO inmates was 8.6 percent – nearly 1 in 10
inmates was involved institutional violence. However, the rate of aggressive violations
(e.g., fights, threats, etc.) increased slightly – January 2019 = 3.2 percent versus April 2020
= 4.3 percent.


 60.0%

 50.0%                                                                          50.4%

 40.0%                                                                                          41.0%
                                             35.2%
                                                                                               38.2%
 30.0%
           25.7%                        32.3%
 20.0%24.0%
                                                                                               8.6%
 10.0%3.6%                               3.0%

  0.0%                                                                                         4.3%
      3.2%



          Rate of DR in OPSO              Rate of Guilty                   Rate of Predatory
          Rate of Aggrn                   Linear (Rate of DR in OPSO )

Figure 6: Rate of Disciplinary Infractions Among OPSO Average Daily Population - 2019 - April 2020



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  600
                                                                    564
  500
                                                                               441
  400                                                                                      391
           339
  300                                                                                      320
           292

  200

  100

    0




                               # FINDING OF GUILTY:     # TOTAL DISPOSITIONS
Figure 7 Numbers of Total and Guilty Disciplinary Infractions: January 2019 – April 2020



        Figure 8 provides a breakdown of the most severe infraction/report of which the
inmate was found guilty between January 2019 and April 2020. During the last six months
of 2019, each of the types of infractions -- predatory (assaults or battery), aggressive
(fights and threats), management problems (e.g., disobey a direct order) increased.
Specifically, the average number of predatory infractions/month for January – June 2019
36.5 versus July – December was 46.7 per month. The average number of aggressive
infractions/month for January – June 2019 35.5 versus July – December was 48.8/month.
The overall number of infractions dropped sharply in February and March 2020 but
appeared to rebound in April.




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 450
 400
 350
 300
 250                                                                                   257    277
                                                  234                          219
 200                                    219                                                                     196
       174                        198                    216   187     177
 150                       203
              135                                                                                         133
                    127                                                                             117
 100                                                                                   45                       36
                                                                       38       56            43
        39    21                        47        66            62
  50                28     29     49                      26                                         38   23
              49                                                       53       58     73     63                72
        44          29     31     26    40        35      38    23                                   21   35
   0




                    # Predatory    # Aggressive         # Management        # Disruptive     # Nuisance

Figure 8 Types of Disciplinary Infractions of which OPSO Inmates were Found Guilty – January 2019 –
April 2020


IV.A.10.h. OPSO shall review the periodic data report and make recommendations regarding proper
placement consistent with this Agreement or other necessary changes in policy based on this review. The
review and recommendations will be documented and provided to the Monitor.

        Finding: Substantial Compliance

Observations:
        The Monitor receives the daily "Active Inmates by Location" report. During this
compliance period, there was little dialogue between the Monitor and the Classification
Unit. The Monitor no longer receives the monthly statistical reports, and as previously
indicated, this creates challenges for monitoring the System. These reports were, however,
provided for the virtual tour. There appeared to be little independent analyses of the data
as the memos submitted along with the compliance documents were cursory and absent of
any strategies for addressing trends. However, Chief LeCounte has re-opened
communications and information sharing.




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IV. A. 11.       Prisoner Grievance Process

A. 11.a. OPSO shall ensure that prisoners have a mechanism to express their grievances, resolve disputes, and
ensure that concerns regarding their constitutional rights are addressed. OPSO shall, at a minimum, do the
following:
          (1)    Continue to maintain policies and procedures to ensure that prisoners have access to an
                 adequate grievance process and to ensure that grievances may be reported and filed
                 confidentially, without requiring the intervention of a correctional officer. The policies and
                 procedures should be applicable and standardized across all the Facility divisions.
          (2)    Ensure that each grievance receives appropriate follow-up, including providing a timely
                 written response and tracking implementation of resolutions.
          (3)    Ensure that grievance forms are available on all units and are available in Spanish and
                 Vietnamese and that there is adequate opportunity for illiterate prisoners and prisoners who
                 have physical or cognitive disabilities or language barriers to access the grievance system.
          (4)    Separate the process of “requests to staff” from the grievance process and prioritize
                 grievances that raise issues regarding prisoner safety or health.
          (5)    Ensure that prisoner grievances are screened for allegations of staff misconduct and, if an
                 incident or allegation warrants per this Agreement, that it is referred for investigation.
          (6)    A member of the management staff shall review the grievance tracking system quarterly to
                 identify areas of concerns. These reviews and any recommendations will be documented
                 and provided to the Monitor.

        Findings:
        A. 11. a. (1)   Substantial Compliance
        A. 11. a. (2)   Partial Compliance
        A. 11. a. (3)   Substantial Compliance
        A. 11. a. (4)   Substantial Compliance
        A. 11. a. (5)   Substantial Compliance
        A. 11. a. (6)   Partial Compliance

        Until the September 2019 report, one rating was given for the entire section for
the Prisoner Grievance Process. In order to highlight which provisions are in
substantial compliance versus those which fall short, the decision was made to rate
each provision separately.
        This review covers July 2019 through March 2020. While there were some issues
with the Weekly and Monthly Grievance Reports for July and August making some of the
data unavailable for the inclusion in the analysis (the July/August data was combined for
the Overdue Reports), the Monitor was able to analyze the available data from September
forward to assess the timeliness of staff responses.
        As reported by the OPSO Grievance staff, for the last six months of the rating period,
a total of 1,648 grievances were received; the average was 275 forms per month. This
represents a 29% increase in the monthly average over the previous reporting period. A
review of the individual categories did not point to any particular cause for the jump.
There was a rise in grievances across almost every category from August through
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November 2019. December through March 2020 began showing a general decline, despite
the restrictions on inmate activities due to COVID-19.
       Inmates have access to the grievance process via electronic kiosks located in the
housing units throughout OJC and TDC. In the seven units in which the kiosks are
inoperable, and beyond repair, staff are required to visit the units twice daily to
retrieve written grievance forms. The facility continues to use a locked and labeled
“grievance box” next to the medical form boxes in the housing units with inoperable
kiosks. As noted previously, this manual work-around has the potential to compromise
the confidentiality of the process (as opposed to the electronic process). However, it
has been the Monitor’s experience and observations in other facilities that such a
manual system meets the letter of the Consent Judgment requirement for this
paragraph. OPSO continues to negotiate a new contract to upgrade the kiosks in all
housing units. As the use of paper grievances and medical request is far less efficient
than the electronic system and poses issues related to confidentiality, OPSO is
encouraged to complete the negotiations and have the new kiosks installed and
operational as soon as possible.
       For this compliance review, the Monitor reviewed weekly and monthly audit
documentation (statistics and actual grievance documentation) compiled by the Grievance
staff. The Monitor was unable to interview inmates. The Monitor participated in a video
conference with the OPSO Grievance Lieutenant.
       For this rating period, the Monitor specifically reviewed the trend reports provided
by the Grievance staff for July 2019 through March 2020. The Grievance Weekly Response
Audit reports continue to reflect a diligent effort by Grievance staff to review and notify
responsible staff when responses are insufficient or incomplete. Timely response
continues to be an issue as indicated by the chart below.




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                   Overdue Grievances by Percentage of the Total
        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%
                   Oct          Nov       Dec           Jan    Feb              Mar

                         red (=>10 dys)    yellow (5-9 dys)   green (2-4 dys)


       Of concern to the Monitor is the substantial rise in grievances awaiting a response
beyond 10 days (red trend line) beginning in December 2019 and continuing through
February 2020. Grievance staff has recently implemented weekly over monthly updates of
this information with the expectation that the timeliness of grievance responses will
improve. The Grievance Lieutenant stated that early indications are positive. This will be
reviewed again in detail during the next site visit. Grievance staff maintain a by-name
listing of staff responding to grievances as well as the timeliness of their responses. Given
that a substantial number of grievances involve medical issues, it may be informative for
OPSO Grievance staff to group these respondents (and the timeliness of responses)
separately for analysis purposes.
       It should be noted that, given the overall volume of grievances and requests
received, the Grievance staff continues to do an excellent job tracking grievances and
requests and reporting as to the timeliness and quality of the responses to address the
inmates’ issues.

       The Monitor reviewed documentation that supports previous observations
regarding the use and tracking of paper Grievance forms made available to all units with
non-functioning kiosks. Unlike the previous site visits, the Monitor could not confirm the
manual process through interviews with inmates. Documentation reflected that Grievance
staff continue to maintain a by-name/housing listing of all OPSO inmates identified as
needing Grievance staff assistance to access the grievance system due to either a language
barrier or illiteracy. The Monitor reviewed the third and fourth quarter CY 2019 reports
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and noted up-to-date housing changes for disadvantaged inmates; thus, the list continues
to appear to be actively managed.
       Grievance staff provided detailed documentation as to their separate handling of
the July 2019 through March 2020 inmate requests, grievances, and complaints related to
inmate safety or health.
       Review of the documentation demonstrated that all inmate submissions are
reviewed by Grievance staff, categorized into requests and grievances, and forwarded to
the appropriate staff for response. Both requests and grievances are further sorted by type.
Specific grievances related to inmate safety, medical issues, PREA, etc., are documented to
reflect the date received, inmate information, type of grievance, time of notification made
to the appropriate staff member, and the staff member making the notification.
       The Monitor reviewed detailed documentation provided by Grievance staff for the
rating period regarding the screening of grievances for staff misconduct. The
documentation demonstrated that all inmate submissions are reviewed by Grievance staff
and those regarding staff misconduct are separately documented for appropriate referral
to the administrative level for follow-up. Grievance staff processed a total of 147 such
staff misconduct related grievances during the latter half of 2019 versus 134 grievances
for the first half of 2019.
       Grievance staff also separately document grievances that require specific referral
to IAD, ISB, PREA, or FIT staff for review and investigation. Detailed information along
with the date assigned and disposition is maintained as well as email transmission
receipts. Grievance staff referred a total of 145 grievances for investigation during the
latter half of 2019 versus 110 grievances for the first half of 2019.

       The Monitor reviewed the CY 2019 third and fourth quarterly executive analysis of
the grievance reports. Specific discussion by executive staff regarding the grievance
documentation and reports was noted. However, there were no specific changes to the
grievance process recommended. The review of the CY 2020 first quarterly executive
analysis of the grievance reports included a recommendation that the Grievance
Lieutenant provide weekly reports.
      With regard to the Monitor’s recommendations on the previous inspection report, the
Monitor would like to note that OPSO has increased the frequency of reporting of delinquent

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 grievance responses from monthly to weekly to enhance accountability and response times and
 installed a general notice of the grievance appeal process on the inmate kiosks.
IV. A. 12. Sexual Abuse

 A.12. OPSO will develop and implement policies, protocols, trainings, and audits, consistent with the
 requirements of the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its implementation of
 regulations, including but not limited to, preventing, detecting, reporting, investigating, and collecting sexual
 abuse data, including prisoner-on-prisoner and staff-on-prisoner sexual abuse, sexual harassment, and sexual
 touching.

         Finding:
 A. 12. Substantial Compliance
 Observations:
          OPSO successfully completed its PREA audit. Continuing to implement the
 requirements of PREA will be necessary to maintain substantial compliance.
 Supervision of the investigation of PREA complaints has been added to the duties of
 the FIT supervisor due to the departure of the lieutenant who previously oversaw
 them.
 IV. A. 13.       Access to Information

 A.13. OPSO will ensure that all newly admitted prisoners receive information, through an inmate handbook
 and, at the discretion of the Jail, an orientation video, regarding the following topics: understanding Facility
 disciplinary process and rules and regulations; reporting misconduct; reporting sexual abuse or assault;
 accessing medical and mental health care; emergency procedures; and sending and receiving mail;
 understanding the visitation process; and accessing the grievance process.

         Finding:
 A. 13. Substantial Compliance
 Observations:
        Materials were provided indicating the requirements of this paragraph have been
met.
IV. B. Mental Health Care and C. Medical Care

 Introduction

         As with past reports, the Monitors rate the compliance levels based on the
 documents requested and reviewed, observations, discussions during visits, (including
 this recent virtual visit) review of medical records, and any additional information
 provided by the parties.

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          The Monitors observed very little improvement in performance in many areas of
the Consent Judgment since Compliance Tour #11. The addition of the Tulane Department
of Psychiatry staff and leadership remains an invaluable asset in providing required and
consistent psychiatric services for prisoners at OJC. There is positive progress with
Tulane’s interface with Wellpath.
          Wellpath continues to have difficulty with counting, for example, calculating the
mental health caseload, counting the number of patients with acute and chronic disease
who receive counseling, and tracking discharge medications. Practitioner productivity
remains an issue. Visit refusal rates are high for unidentified or poorly identified reasons.
          Several paragraphs remain where necessary improvements are required by the
Consent Judgment to provide the full range and quality of medical care and mental
health/counseling services for inmates incarcerated in OJC and Hunt. These concerns are

deeply impacted by the lack of progress in developing the required services and programs
recommended in 2014, including permanent acute care and step-down programing and
services for mental health and acute medical services. There is still no acute care mental
health services for women, except via emergency transfer to hospital emergency
departments, and limited health stepdown and outpatient programmatic activities.
          General recommendations are to: continue leadership initiatives and direction by
OPSO and Wellpath; increase correctional security staffing to consistently provide
adequate and ongoing dedicated support for mental health and medical services; continue
to develop full services and continuity of services for both male and female prisoners
including all levels of care, staffing and space; and continue to evaluate and pursue full
services for mentally ill prisoners, including medication management, and acute,
residential, and outpatient care.
          The monitors are very concerned with the proposal to cut health care staff by 20%,
particularly when it has been so difficult to provide timely services with current staffing
levels.
          The monitors are also concerned about the inability of patients on 2A and 3C to
receive the full range of timely and appropriate mental health care.
          Recommendations regarding containment and mitigation of COVID-19:
          •   Enforce masking and social distancing throughout the facility.
          •   Provide and enforce masking for all inmates.
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        •    Assure the use of proper masks, e.g., N95 (NIOSH/FDA approved, not Chinese
             KN95) for all health care staff and custody staff working with test-positive and
             suspect cases; surgical masks for all others, where available (cloth masks where
             not available).
        •    Test staff on housing units when positive cases are detected, e.g., 2F.
        •    Ensure intake sequestration and all cohorting is static, i.e., reset the 14-day clock
             on intake unit when new persons are introduced into the unit.
        Specific findings and recommendations regarding medical and mental health
services are provided below. For those paragraphs that have previously demonstrated
Substantial Compliance the monitors recommend, encourage, and support the diligent
and consistent efforts by OPSO and the medical and mental health providers to continue
to demonstrate Substantial Compliance.
B. Mental Health Care

B. OPSO shall ensure constitutionally adequate intake, assessment, treatment, and monitoring of
prisoners’ mental health needs, including but not limited to, protecting the safety of and giving priority
access to prisoners at risk for self-injurious behavior or suicide. OPSO shall assess, on an annual or
more frequent basis, whether the mental health services at OPP comply with the Constitution. In order
to provide mental health services to prisoners, OPSO, at a minimum, shall:

        Findings:
        A. 1. a. Substantial Compliance
        B. 1. b. Substantial Compliance
        B. 1. c. Substantial Compliance
        B. 1. d. Substantial Compliance
        B. 1. e. Substantial Compliance
        B. 1. f. Partial Compliance
        B. 1. g. Partial Compliance
        B. 1. h. Substantial Compliance
        B. 1. i. Partial Compliance
        B. 1. j. Partial Compliance
        B. 1. k. Partial Compliance
        B. 1. l. Substantial Compliance

B.1.a. Develop and maintain comprehensive policies and procedures for appropriate screening and
assessment of prisoners with mental illness. These policies should include definitions of emergent,
urgent, and routine mental health needs, as well as timeframes for the provision of services for each
category of mental health needs.




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        Finding: Substantial Compliance

        Recommendation: Wellpath has different timeframes for timeliness of responses;
        suggest review and revise for consistency.
B.1.b. Develop and implement an appropriate screening instrument that identifies mental health needs, and
ensures timely access to a mental health professional when presenting symptoms require such care. The
screening instrument should include the factors described in Appendix B. The screening instrument will be
validated by a qualified professional approved by the Monitor within 180 days of the Effective Date and every
12 months thereafter, if necessary.

        Finding: Substantial Compliance

B.1.c. Ensure that all prisoners are screened by Qualified Medical Staff upon arrival to OPP, but no later than
within eight hours, to identify a prisoner’s risk for suicide or self-injurious behavior. No prisoner shall be
held in isolation prior to an evaluation by medical staff.

        Finding: Substantial Compliance

B.1.d. Implement a triage policy that utilizes the screening and assessment procedures to ensure that
prisoners with emergent and urgent mental health needs are prioritized for services.

        Finding: Substantial Compliance

B.1.e. Develop and implement protocols, commensurate with the level of risk of suicide or self-harm, to
ensure that prisoners are protected from identified risks for suicide or self-injurious behavior. The protocols
shall also require that a Qualified Mental Health Professional perform a mental health assessment, based on
the prisoner’s risk.

        Finding: Substantial Compliance

        Recommendation: Continue to provide documentation and analysis of completion
        and consistent use of the Columbia Suicide Risk Assessment.
B.1.f. For prisoners with emergent or urgent mental health needs, search the prisoner and monitor with
constant supervision until the prisoner is transferred to a Qualified Mental Health Professional for
assessment.

        Finding: Partial Compliance

        Recommendation: Provide documentation of searches and constant supervision by
        security until mental health staff arrives and conducts assessment for all emergent
        and urgent referrals.
B.1.g. Ensure that a Qualified Mental Health Professional conducts appropriate mental health assessments
within the following periods from the initial screen or other identification of need:
         (1)     14 days, or sooner, if medically necessary, for prisoners with routine mental health needs;




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        (2)      48 hours, or sooner, if medically necessary, for prisoners with urgent mental health needs;
                 and
        (3)      immediately, but no later than two hours, for prisoners with emergent mental health needs.

        Finding: Partial Compliance

        Recommendation: Provide documentation that inmates in population (after IPC)
        consistently receive appropriate and complete assessments within the required
        timeframes. Completion of referrals is determined from the time of submission
        to time of completion by the appropriate mental health professional and
        provider.
B.1.h. Ensure that a Qualified Mental Health Professional performs a mental health assessment no later than
the next working day following any adverse triggering event (i.e., any suicide attempt, any suicide ideation, or
any aggression to self, resulting in serious injury).

        Finding: Substantial Compliance

B.1.i. Ensure that a Qualified Mental Health Professional, as part of the prisoner’s interdisciplinary treatment
team, maintains a risk profile for each prisoner on the mental health case load based on the Assessment
Factors identified in Appendix B, and develops and implements a treatment plan to minimize the risk of harm
to each of these prisoners.

        Finding: Partial Compliance

        Recommendation: Provide documentation of timeliness of treatment plans for all
        inmates on the mental health caseload at all levels of care including risk profiles.
        Include focus on inmates in stepdown and outpatient programs.
B.1.j. Ensure adequate and timely treatment for prisoners, whose assessments reveal mental illness and/or
suicidal ideation, including timely and appropriate referrals for specialty care and visits with Qualified Mental
Health Professionals, as clinically appropriate.

        Finding: Partial Compliance

        Recommendation: Provide documentation of scheduled and completed adequate
        and timely treatment for all caseload inmates including individual and group
        treatments, and referrals for specialty services for male and female inmates. This
        should include prisoners at Hunt, extended suicide watches at OJC when beds are
        available at Hunt, acute care services for female inmates, step down units, and
        outpatients in population. The need for the full range of mental health services
        for women remains. The future utilization of TDC and Phase III were unclear at
        the time of this review and report.


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B.1.k. Ensure crisis services are available to manage psychiatric emergencies. Such services include licensed
in-patient psychiatric care, when clinically appropriate.

        Finding: Partial Compliance
        Recommendation: OPSO does not have access to any licensed inpatient services for
        female inmates; access to non-licensed acute care services for male inmates are
        only available at Hunt. Provide documentation that all psychiatric emergencies are
        sent to an emergency department and any crisis is adequately resolved. Provide
        documentation that all inmates have access to licensed inpatient psychiatric care,
        when clinically appropriate.
B.1.l. On an annual basis, assess the process for screening prisoners for mental health needs to determine
whether prisoners are being appropriately identified for care. Based on this assessment, OPSO shall
recommend changes to the screening system. The assessment and recommendations will be documented and
provided to the Monitor.

        Finding: Substantial Compliance

        Recommendation: The report of annual assessment and recommendations of the
        process for screening prisoners for mental health needs to determine whether
        prisoners are being appropriately identified for care has been provided.
        Findings:
        B. 2. a. Partial Compliance
        B. 2. b. Partial Compliance
        B. 2. c. Partial Compliance
        B. 2. d. Partial Compliance
        B. 2. e. Substantial Compliance
        B. 2. f. Partial Compliance
        B. 2. g. Substantial Compliance
        B. 2. h. Substantial Compliance

B.2.a. Review, revise, and supplement its existing policies in order to implement a policy for the delivery of
mental health services that includes a continuum of services, provides for necessary and appropriate mental
health staff, includes a treatment plan for prisoners with serious mental illness, and collects data and contains
mechanisms sufficient to measure whether care is being provided in a manner consistent with the
Constitution.

        Finding: Partial Compliance

        Recommendation: Wellpath and OPSO have completed the majority of necessary
        policies including the use of restraints policies. Suggested are the revision and
        completion of incomplete policies/procedures regarding continuum of services for
        female prisoners and counseling services for specific groups identified in this

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        Consent Judgment. Protocols needed for confidential individual and group
        therapies for inmates on segregation units.
        B.2.b. Ensure that treatment plans adequately address prisoners’ serious mental health needs and that the
        treatment plans contain interventions specifically tailored to the prisoner’s diagnoses and problems.


        Finding: Partial Compliance

        Recommendation: Continue the very good progress on documentation in treatment
        plans at OJC. Provide documentation of individualized treatment plans for women
        at all levels of care, including acute care.
B.2.c. Provide group or individual therapy services by an appropriately licensed provider where necessary for
prisoners with mental health needs.

        Finding: Partial Compliance

        Recommendation: Provide documentation of data and analysis of numbers and
        percentages of inmates at all levels of care in need of individual and/or group
        therapies and counseling as well as the numbers and percentages of individual and
        group services offered and received/completed for inmates in need. Progress has
        been made in identification of inmates who have been victims of sexual assault as
        ranging between 12 to 15 percent of Special Needs per month. Provide analysis of
        numbers of inmates who received counseling for sexual abuse and for those inmates
        who received counseling for alcohol and drug abuse. Continue and expand
        impressive data on Disruption of Services forms and provide analysis of that data
        and corrective action plans, including staffing and space needs as necessary.
B.2.d. Ensure that mental health evaluations that are done as part of the disciplinary process include
recommendations based on the prisoner's mental health status.

        Finding: Partial Compliance

        Recommendation: This process has begun during the last three months of the
        monitoring period. Data provided indicates that four of the 332 mental health
        evaluations resulted in placement on mental health unit. The data needs analysis to
        assess impact of mental health evaluation on disciplinary sanctions. Wellpath
        needs to provide policy approved by OPSO regarding mental health participation in
        the disciplinary process, as well as necessary training for OPSO and Wellpath staff.
B.2.e. Ensure that prisoners receive psychotropic medications in a timely manner and that prisoners have
proper diagnoses and/or indications for each psychotropic medication they receive.

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        Finding: Substantial Compliance

        Recommendation: Continue very good improvement demonstrated with the
        addition of Tulane psychiatric providers. Continue to provide documentation and
        analysis of data that inmates receive psychotropic medications in a timely manner
        and that inmates have proper diagnosis and/or indications for each psychotropic
        medication they receive, including particular emphasis on juveniles.
B.2.f. Ensure that psychotropic medications are administered in a clinically appropriate manner as to prevent
misuse, overdose, theft, or violence related to the medication.

        Finding: Partial Compliance
        Recommendation: The compliance rating has been lowered to partial compliance due to
        the large number of psychotropic medications found in shakedowns. OPSO and Wellpath
        need to develop and execute a corrective action plan to address the inadequacies in the
        medication distribution.

B.2.g. Ensure that prescriptions for psychotropic medications are reviewed by a Qualified Mental Health
Professional on a regular, timely basis and prisoners are properly monitored.

        Finding: Substantial Compliance

        Recommendation: Continue to provide documentation of data collection and
        analysis of psychotropic medication prescriptions.

B.2.h. Ensure that standards are established for the frequency of review and associated charting of
psychotropic medication monitoring, including monitoring for metabolic effects of second generation
psychotropic medications.

        Finding: Substantial Compliance

        Recommendation: Continue to provide documentation of data collection and
        analysis of psychotropic medication monitoring for metabolic effects of second-
        generation psychotropic medications. Timeliness of laboratory services and
        associated inmate refusals have improved.
        B. 3. Findings:
        B. 3. a. Partial Compliance
        B. 3. b. Partial Compliance

B.3.a. OPSO shall develop and implement policies and procedures for prisoner counseling in the areas of
general mental health/therapy, sexual-abuse counseling, and alcohol and drug counseling. This should, at a
minimum, include some provision for individual services.
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        Finding: Partial Compliance

        Recommendation: Provide documentation of implementation of policies and
        procedures specifically for inmate counseling in the areas of general mental
        health/therapy, sexual abuse counseling, and alcohol and drug counseling,
        including some provisions for individual services. Continue to track disruptions of
        services and percentages of inmates identified as in need compared to those who
        receive services.

B.3.b. Within 180 days of the Effective Date, and quarterly thereafter, report all prisoner counseling services
to the Monitor, which should include:
         (1) the number of prisoners who report having participated in general mental health/therapy
             counseling at OPP;
         (2) the number of prisoners who report having participated in alcohol and drug counseling services
             at OPP;
        (3) the number of prisoners who report having participated in sexual-abuse counseling at OPP; and
         (4) the number of cases with an appropriately licensed practitioner and related one-to-one
             counseling at OPP.

        Finding: Partial Compliance

        Recommendation: Provide data and analysis for the numbers and percentages for
        inmates with needs for these specific services and numbers and percentages of
        inmates who receive these services. Compliance has been compromised by staffing
        deficiencies and lack of adequate space.

        B. 4. Findings:
        B. 4. a. Partial Compliance
        B. 4. b. Substantial Compliance
        B. 4. c. Substantial Compliance
        B. 4. d. Partial Compliance
        B. 4. e. Substantial Compliance
        B. 4. f. Substantial Compliance
        B. 4. g. Partial Compliance




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B.4.a. OPSO shall ensure that all staff who supervise prisoners have the adequate knowledge, skill, and ability
to address the needs of prisoners at risk for suicide. Within 180 days of the Effective Date, OPSO shall review
and revise its current suicide prevention training curriculum to include the following topics:
             suicide prevention policies and procedures (as revised consistent with this Agreement);
             analysis of facility environments and why they may contribute to suicidal behavior;
             potential predisposing factors to suicide;
             high-risk suicide periods;
             warning signs and symptoms of suicidal behavior;
             case studies of recent suicides and serious suicide attempts;
             mock demonstrations regarding the proper response to a suicide attempt;
             differentiating suicidal and self-injurious behavior; and
             the proper use of emergency equipment.

        Finding: Partial Compliance

        Recommendation: Provide documentation that all staff who supervise inmates have
        the adequate knowledge, skill, and ability to address the needs of inmates at risk for
        suicide. Improvement is noted, however inmates on suicide precautions or watch
        continue to obtain contraband that can be used to harm themselves. During the
        virtual site visit, an inmate housed on the mental health unit was observed making
        a rope out of a blanket while four inmates were on suicide watch in nearby cells
        being what supposed to be conducted by a CNA. The CNA was observed to be at the
        desk of the deputy talking to the deputy instead of being located adjacent to the
        cells she was supposed to be observing. Documentation provided the suicide
        prevention training curriculum which includes all of the elements listed above.

B.4.b. Ensure that all correctional, medical, and mental health staff are trained on the suicide screening
instrument and the medical intake tool.

        Finding: Substantial Compliance

        Recommendation: Continue to provide documentation that multi-disciplinary in-
        service training has been completed annually for all current correctional, medical,
        and mental health staff to include training on updated policies, procedures, and
        techniques.

B.4.c. Ensure that multi-disciplinary in-service training is completed annually by all correctional, medical, and
mental health staff, to include training on updated policies, procedures, and techniques. The training will be
reviewed and approved by the Monitor.

        Finding: Substantial Compliance


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        Recommendation: Continue to provide documentation that multidisciplinary in-
        service training has been completed annually for all current correctional, medical,
        and mental health staff, to include training on updated policies, procedures, and
        techniques. OPSO/Wellpath need to provide documentation regarding training for
        staff on the use of therapeutic restraints.

B.4.d. Ensure that staff are trained in observing prisoners on suicide watch and step-down unit status.

        Finding: Partial Compliance

        Recommendation: Continue to provide documentation that current staff are trained,
        specifically, in observing prisoners on suicide watch and step-down status. Inmates
        on suicide watch continue to obtain contraband that can be used to harm
        themselves.
B.4.e. Ensure that all staff that have contact with prisoners are certified in cardiopulmonary resuscitation
(“CPR”).

        Finding: Substantial Compliance


        Recommendation: Continue to provide documentation that all current staff,
        (including OPSO and Wellpath) are certified in CPR.

B.4.f. Ensure that an emergency response bag, which includes a first aid kit and emergency rescue tool, is in
close proximity to all housing units. All staff that has contact with prisoners shall know the location of this
emergency response bag and be trained to use its contents.

        Finding: Substantial Compliance

B.4.g. Randomly test five percent of relevant staff on an annual basis to determine their knowledge of suicide
prevention policies. The testing instrument and policies shall be approved by the Monitor. The results of
these assessments shall be evaluated to determine the need for changes in training practices. The review and
conclusions will be documented and provided to the Monitor.

         Finding: Partial Compliance

        Recommendation: Documentation of testing of 5% of current relevant staff to
        determine their knowledge of suicide prevention policies was provided. Provide
        the evaluation of the results, review, and conclusions of the assessments to
        determine the need for changes in training practices.
        Findings:
        B. 5. a. Partial Compliance
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        B. 5. b.   Partial Compliance
        B. 5. c.   Partial Compliance
        B. 5. d.   Substantial Compliance
        B. 5. e.   Partial Compliance
        B. 5. f.   Partial Compliance
        B. 5. g.   Partial Compliance
        B. 5. h.   Substantial Compliance
        B. 5. i.   Substantial Compliance
        B. 5. j.   Substantial Compliance
        B. 5. k.   Partial Compliance

B.5.a. OPSO shall implement a policy to ensure that prisoners at risk of self-harm are identified, protected,
and treated in a manner consistent with the Constitution.

        Finding: Partial Compliance

        Recommendation: Provide documentation of implementation of policy for
        utilization of suicide resistant cells and nonresistant cells (with direct observation),
        and treatment services provided to inmates at risk for self-harm. Inmates on suicide
        watch continue to be placed in non-suicide resistant cells without direct
        observation, even when beds are available at Hunt. Contraband and misuse of
        supplies (blankets, cleaning supplies, and medications) have been obtained by
        inmates while on suicide watch unit or detox protocols. Treatment services are very
        limited and inadequate for inmates on suicide watch because of staffing and space
        needs.
B.5.b. Ensure that suicide prevention procedures include provisions for constant direct supervision of current
suicidal prisoners and close supervision of special needs prisoners with lower levels of risk (at a minimum,
15 minute checks). Correctional officers shall document their checks in a format that does not have pre-
printed times.

        Finding: Partial Compliance

        Recommendation: Provide constant direct supervision for any prisoner placed in a
        non-resistant cell on suicide watch, and documentation. See B.5.a.

B.5.c. Ensure that prisoners on suicide watch are immediately searched and monitored with constant direct
supervision until a Qualified Mental Health Professional conducts a suicide risk assessment, determines the
degree of risk, and specifies the appropriate degree of supervision.

        Finding: Partial Compliance

        Recommendation: Provide documentation that demonstrates that inmates are
        immediately searched and monitored with constant direct supervision until a QMHP
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         conducts a suicide risk assessment, determines the degree of risk, and specifies the
         appropriate degree of supervision. This paragraph requires collaboration and
         documentation by OPSO deputies and Wellpath QMHP’s.

 B.5.d. Ensure that all prisoners discharged from suicide precautions receive a follow-up assessment within
 three to eight working days after discharge, as clinically appropriate, in accordance with a treatment plan
 developed by a Qualified Mental Health Care Professional. Upon discharge, the Qualified Mental Health Care
 Professional shall conduct a documented in-person assessment regarding the clinically appropriate follow-up
 intervals.

         Finding: Substantial Compliance

         Recommendation: Wellpath staff report denial of access to inmates for follow-up
         during lockdowns. This should not occur; immediate corrective action is
         recommended. Provide documentation of follow-up appointments as required by
         policy.


B.5.e. Implement a step-down program providing clinically appropriate transition for prisoners discharged
from suicide precautions.

          Finding: Partial Compliance

         Recommendation: The placements for male inmates in a true step-down/residential
         unit and program have continued, with the necessary exclusivity of an identified
         mentally ill population. Although improved, the programming is not yet sufficient, ,
         because of inadequate staffing and space. Similar services and housing do not
         currently exist for female inmates. Recommend continued vigilance in developing
         these programs.

 B.5.f. Develop and implement policies and procedures for suicide precautions that set forth the conditions of
 the watch, incorporating a requirement of an individualized clinical determination of allowable clothing,
 property, and utensils. These conditions shall be altered only on the written instruction of a Qualified Mental
 Health Professional, except under emergency circumstances or when security considerations require.

         Finding: Partial Compliance

         Recommendation: Policy is in place. Provide documentation of implementation of
         policy regarding individualized determinations of the conditions of watch for
         male and female inmates at OJC (especially for suicide watches/direct
         observation in non-resistant cells), and at Hunt.

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B.5.g. Ensure that cells designated by OPSO for housing suicidal prisoners are retrofitted to render them
suicide-resistant (e.g., eliminating bed frames/holes, sprinkler heads, water faucet lips, and unshielded
lighting or electrical sockets).

        Finding: Partial Compliance

        Recommendation: OPSO reports 13 suicide resistant cells for OJC and 3 suicide
        resistant cells at Hunt. Facility staff utilize non-suicide resistant cells at both
        facilities for overflow. When overflow cells are utilized, it is strongly recommended
        the inmates in those cells be placed on direct constant observation to best provide
        for their safety.

B.5.h. Ensure that every suicide or serious suicide attempt is investigated by appropriate mental health and
correctional staff, and that the results of the investigation are provided to the Sheriff and the Monitor.

        Finding: Substantial Compliance

         Recommendation: Continue to expand Morbidity and Mortality reviews, these
         reviews should be structured to conduct clinical investigation, including
         aggregation of data, self-critical analysis and corrective action plans regarding
         individual inmate deaths or intended death but also systemic concerns. The addition
         of the CQI Workgroup is helpful and should focus more on systems issues and self-
         critical analysis.

B.5.i. Direct observation orders for inmates placed on suicide watch shall be individualized by the ordering
clinician based upon the clinical needs of each inmate, and shall not be more restrictive than is deemed
necessary by the ordering clinician to ensure the safety and well being of the inmate.

        Finding: Substantial Compliance

B.5.j. Provide the Monitor a periodic report on suicide and self-harm at the Facility. These periodic reports
shall be provided to the monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. The report will include the following:
          (1) all suicides;
          (2) all serious suicide or self-harm attempts; and
          (3) all uses of restraints to respond to or prevent a suicide attempt.

        Finding: Substantial Compliance

        Recommendation: OPSO and Wellpath provide periodic reports on suicides, suicide
        attempts and self-harm. Wellpath has indicated their intent to clarify and determine
        status of attempts as serious or not. There have been no reported completed

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        suicides for 2019 and 2020 to date. There have been no reported use of restraints
        for this monitoring period.

B.5.k. Assess the periodic report to determine whether prisoners are being appropriately identified for risk of
self-harm, protected, and treated. Based on this assessment, OPSO shall document recommended changes to
policies and procedures and provide these to the Monitor.

        Finding: Partial Compliance

         Recommendation: Provide an assessment of the periodic reports required in B.5.j., above,
         particularly with regard to adequacy of treatment for inmates with multiple suicide or
         self-harm attempts.

        Findings:
        B. 6. a. Partial Compliance
        B. 6. b. Substantial Compliance
        B. 6. c. Substantial Compliance
        B. 6. d. Substantial Compliance
        B. 6. e. Substantial Compliance
        B. 6. f. Substantial Compliance
        B. 6. g. Substantial Compliance


B.6.a. OPSO shall prevent the unnecessary or excessive use of physical or chemical restraints on prisoners
with mental illness.

        Finding: Partial Compliance

        Recommendation: Wellpath has begun to provide documentation/information
        regarding use of de-escalation techniques at OJC and Hunt. OPSO and Hunt need to
        report all uses of physical and chemical restraint. Discussion onsite and during
        conference calls indicated significant problems with de-escalation practices at Hunt
        including unavailability of mental health staff at night, and deviations from policy.

B.6.b. Maintain comprehensive policies and procedures for the use of restraints for prisoners with mental
illness consistent with the Constitution.

        Finding: Substantial Compliance

B.6.c. Ensure that approval by a Qualified Medical or Mental Health Professional is received and documented
prior to the use of restraints on prisoners living with mental illness or requiring suicide precautions.
        Finding: Substantial Compliance


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B.6.d. Ensure that restrained prisoners with mental illnesses are monitored at least every 15 minutes by
Custody Staff to assess their physical condition.

        Finding: Substantial Compliance

B.6.e. Ensure that Qualified Medical or Mental Health Staff document the use of restraints, including the basis
for and duration of the use of restraints and the performance and results of welfare checks on restrained
prisoners.

        Finding: Substantial Compliance

B.6.f. Provide the Monitor a periodic report of restraint use at the Facility. These periodic reports shall be
provided to the monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report shall include:
          (1) A list of prisoners whom were restrained;
          (2) A list of any self-injurious behavior observed or discovered while restrained; and
          (3) A list of any prisoners whom were placed in restraints on three or more occasions in a thirty (30)
              day period or whom were kept in restraints for a period exceeding twenty-four (24) hours.

        Finding: Substantial Compliance
B.6.g. Assess the periodic report to determine whether restraints are being used appropriately on prisoners
with mental illness. Based on this assessment, OPSO shall document recommended changes to policies and
procedures and provide these to the Monitor.

        Finding: Substantial Compliance

        B. 7. a.   Substantial Compliance
        B. 7. b.   Substantial Compliance
        B. 7. c.   Partial Compliance
        B. 7. d.   Partial Compliance

7.a. OPSO shall ensure that all staff who supervise prisoners have the knowledge, skills, and abilities to
identify and respond to detoxifying prisoners. Within 180 days of the Effective Date, OPSO shall institute an
annual in-service detoxification training program for Qualified Medical and Mental Health Staff and for
correctional staff. The detoxification training program shall include:
         (1)      annual staff training on alcohol and drug abuse withdrawal;
         (2)      training of Qualified Medical and Mental Health Staff on treatment of alcohol and drug abuse
                  conducted by the Chief Medical Officer or his or her delegate;
         (3)      oversight of the training of correctional staff, including booking and housing unit officers, on
                  the policies and procedures of the detoxification unit, by the Chief Medical Officer or his or
                  her delegate;
         (4)      training on drug and alcohol withdrawal by Qualified Medical and Mental Health Staff;
         (5)      training of Qualified Medical and Mental Health Staff in providing prisoners with timely
                  access to a Qualified Mental Health Professional, including psychiatrists, as clinically
                  appropriate; and
         (6)      training of Qualified Medical and Mental Health Staff on the use and treatment of
                  withdrawals, where medically appropriate.

        Finding: Substantial compliance
                   Qualified Medical and Mental Health Staff are trained regarding care for
        patients who have orders for monitoring and treatment of withdrawal. Some of

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        custody staff are trained. Custody staff were trained in early 2019 and WellPath
        reports that new custody hires are trained during orientation.

7.b. Provide medical screenings to determine the degree of risk for potentially life-threatening withdrawal
from alcohol, benzodiazepines, and other substances, in accordance with Appendix B.

        Finding: Substantial Compliance

                 Incoming inmates are screened for withdrawal, in accordance with Appendix
        B. Wellpath quarterly performance measurement demonstrates sustained
        compliance. Monitors find Wellpath measurement reliable.


7.c. Ensure that the nursing staff complete assessments of prisoners in detoxification on an individualized
schedule, ordered by a Qualified Medical or Mental Health Professional, as clinically appropriate, to include
observations and vital signs, including blood pressure.

        Finding: Partial Compliance
                 Wellpath quarterly performance measurement and Monitor’s reliability
        audits demonstrate that nursing care for patients on the detox protocol has
        improved, however, there are lags to first dose of vital medication and missed
        assessments.
        Recommendation: Enforce timely assessments and medication for patients who are
        on the detox protocol.

7.d. Annually, conduct a review of whether the detoxification training program has been effective in
identifying concerns regarding policy, training, or the proper identification of and response to detoxifying
prisoners. OPSO will document this review and provide its conclusions to the Monitor.

        Finding: Partial Compliance

                 An annual review was conducted, but the review lacks any evaluation
        or discussion of the effectiveness of training (increase in post-test scores,
        number needing training, etc.).
        Recommendation: Report on the program effectiveness to the Monitors.



        Findings:
        B. 8. a. Partial Compliance
        B. 8. b. Substantial Compliance


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8.a. OPSO shall ensure that medical and mental health staffing is sufficient to provide adequate care for
prisoners’ serious medical and mental health needs, fulfill constitutional mandates and the terms of this
Agreement, and allow for the adequate operation of the Facility, consistent with constitutional standards.


        Finding: Partial Compliance
                 Medical and mental health staffing is sufficient for most care functions at
        the current time. However, there is insufficient funding and MH staffing for groups
        and special programs. To the extent that the proposed staffing cut is implemented,
        and access to care is negatively affected, this element of the agreement is at risk
        being reduced to non-compliance.

        Recommendation: Fund and authorize MH staff for special programs, as per
        Wellpath’s earlier proposal. OPSO to ensure sufficient custody staffing for efficient
        and timely health care operations.


8.b. Within 90 days of the Effective Date, OPSO shall conduct a comprehensive staffing plan and/or analysis to
determine the medical and mental health staffing levels necessary to provide adequate care for prisoners’
mental health needs and to carry out the requirements of this Agreement. Upon completion of the staffing
plan and/or analysis, OPSO shall provide its findings to the Monitor, SPLC, and DOJ for review. The Monitor,
SPLC, and DOJ will have 60 days to raise any objections and recommend revisions to the staffing plan.

        Finding: Substantial Compliance
        Findings:
        B. 9. a. Partial Compliance
        B. 9. b. Partial Compliance
        B. 9. c. Partial Compliance
        B. 9. d. Partial Compliance
        B. 9. e. Partial Compliance
        B. 9. f. Partial Compliance

B.9.a. OPSO shall develop, implement, and maintain a system to ensure that trends and incidents involving
avoidable suicides and self-injurious behavior are identified and corrected in a timely manner. Within 90
days of the Effective Date, OPSO shall develop and implement a risk management system that identifies levels
of risk for suicide and self-injurious behavior and requires intervention at the individual and system levels to
prevent or minimize harm to prisoners, based on the triggers and thresholds set forth in Appendix B.

        Finding: Partial Compliance

        Recommendation: Data collection has improved; analysis of trends and incidents
        involving avoidable suicides and self-injurious behaviors to determine required
        interventions at the individual and system levels to prevent or minimize harm to
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        inmates requires further development, particularly with regard to inmates who
        have repeated suicidal or self-harming behaviors and need for revisions in their
        treatment plans and treatment activities. The addition of the QI (Quality
        Insurance) Work Group since December 2019 should be helpful to addressing
        trends and systems analysis.

B.9.b. The risk management system shall include the following processes to supplement the mental health
screening and assessment processes: incident reporting, data collection, and data aggregation to capture
sufficient information to formulate a reliable risk assessment at the individual and system levels;
identification of at-risk prisoners in need of clinical treatment or assessment by the Interdisciplinary Team or
the Mental Health Committee; and development and implementation of interventions that minimize and
prevent harm in response to identified patterns and trends.

        Finding: Partial Compliance

        Recommendation: Provide documentation of analysis of risk management system
        processes including the listed criteria, with more attention to data aggregation and
        analysis, and development and implementation of interventions that minimize and
        prevent harm in response to identified patterns and trends. The risk assessments at
        the individual-level by the Interdisciplinary Treatment Team and at the system-
        level by the Mental Health Committee and QI Work Group should include analysis
        of current practices such as the need for out-of-cell treatment services for inmates
        on the mental health caseload in segregated housing, and mental health staff
        participation the disciplinary process.

B.9.c. OPSO shall develop and implement an Interdisciplinary Team, which utilizes intake screening, health
assessment, and triggering event information for formulating treatment plans. The Interdisciplinary Team
shall:
             include the Medical and Nursing directors, one or more members of the psychiatry staff,
             counseling staff, social services staff, and security staff, and other members as clinical
             circumstances dictate;
             conduct interdisciplinary treatment rounds, on a weekly basis, during which targeted patients
             are reviewed based upon screening and assessment factors, as well as triggering events; and
             provide individualized treatment plans based, in part, on screening and assessment factors, to all
             mental health patients seen by various providers.

        Finding: Partial Compliance

        Recommendation: Provide documentation of completion of mental health
        Interdisciplinary Treatment Team meetings and rounds, and provision of adequate
        and timely individualized treatment plans to all mental health patients seen by
        various providers at OJC and Hunt.
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B.9.d. OPSO shall develop and implement a Mental Health Review Committee that will, on a monthly basis,
review mental health statistics including, but not limited to, risk management triggers and trends at both the
individual and system levels. The Mental Health Review Committee shall:
             include the Medical and Nursing Director, one or more members of the psychiatry staff and social
             services staff, the Health Services Administrator, the Warden of the facility housing the Acute
             Psychiatric Unit, and the Risk Manager.
             identify at-risk patients in need of mental health case management who may require
             intervention from and referral to the Interdisciplinary Team, the OPSO administration, or other
             providers.
             conduct department-wide analyses and validation of both the mental health and self-harm
             screening and assessment processes and tools, review the quality of screenings and assessments
             and the timeliness and appropriateness of care provided, and make recommendations on
             changes and corrective actions;
             analyze individual and aggregate mental health data and identify trends and triggers that
             indicate risk of harm;
             review data on mental health appointments, including the number of appointments and wait
             times before care is received; and
             review policies, training, and staffing and recommend changes, supplemental training, or
             corrective actions.

        Finding: Partial Compliance
        Recommendation: Provide documentation of Mental Health Review Committee
        meetings addressing all of the listed elements, including analysis of the data
        collected. The addition of the QI Work Group should assist in compliance with
        these provisions. See IV. B. 9. a. and b.

B.9.e. OPSO shall develop and implement a Quality Improvement and Morbidity and Mortality Review
Committee that will review, on at least a quarterly basis, risk management triggers and trends and quality
improvement reports in order to improve care on a Jail-wide basis.
        (1)        The Quality Improvement Committee shall include the Medical Director, the Director of
                   Psychiatry, the Chief Deputy, the Risk Manager, and the Director of Training. The Quality
                   Improvement Committee shall review and analyze activities and conclusions of the Mental
                   Health Review Committee and pursue Jail-wide corrective actions.
        (2)        The Quality Improvement Committee shall:
              i.   monitor all risk management activities of the facilities through the review of risk data,
                   identification of individual and systemic trends, and recommendation and monitored
                   implementation of investigation or corrective action; and
           ii.     generate reports of risk data analyzed and corrective actions taken.

        Finding: Partial Compliance
                   The medical and psychiatric staff report a large number of obstacles to access
        patients due to a lack of custody staff. WellPath reported data that about one-third
        of intended clinical encounters do not occur because security staff is not available.
        Outside appointment attendance is only 42%, yet there is no cogent plan to improve
        this performance. This is one of the most serious problems with timely access to
        care, yet it is not discussed at the MAC or Quality Management meetings. Likewise,
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      the ongoing issue of contraband medication found during shakedowns is not
      discussed at these meetings. Qualitative analysis of data yielded from clinical
      performance measurement is shallow. This leads to shallow corrective action plans
      that lack accountability and timelines. For the most part, answers to medical and
      mental health grievances are unresponsive. Reliability of clinical performance
      measurement is good. However, the management team does not appear to fully
      utilize data that derives from clinical performance measurement.
      Recommendations: Incorporate performance data, analysis, and trending into QI
      Committee minutes. Improve analysis and corrective action plans generally, with
      specificity for root cause analysis, process design, and effective improvement
      strategies. Continue to improve reliability of clinical performance measurement.
      Ensure that the Chief Deputy (or equivalent) and Director of Training participate in
      meetings, with documentation. Continue to collect and report reliable data on visit
      disruptions due to the unavailability of custody staff for escort and/or
      transportation. In collaboration with custody staff, develop interventions, with
      accountabilities and timelines for addressing disruptions in services. Improve
      responsiveness of answers to grievances. Utilize clinical performance data for
      management purposes. Continue to improve reliability of clinical performance
      monitoring. Secure corporate assistance with evaluation methodology.

B.9.f. OPSO shall review mortality and morbidity reports quarterly to determine whether the risk
management system is ensuring compliance with the terms of this Agreement. OPSO shall make
recommendations regarding the risk management system or other necessary changes in policy based on this
review. The review and recommendations will be documented and provided to the Monitor.


      Finding: Partial compliance
              The mortality and morbidity reviews remain perfunctory and they lack self-
      critical analysis. Clinical analyses are incomplete. Psychiatrists are remarkably
      uninvolved in morbidity reviews for patients with suicide attempts. Corrective
      action plans are not well-documented and there is no annual review of findings.

      Recommendation: Enhance analysis and problem identification in morbidity and
      mortality reviews. Improve corrective action plans generally, with specificity for
      root cause analysis, process design, and effective improvement strategies. Include
      psychiatric physicians in all mortality and morbidity reviews. Evaluate and report
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            on the effectiveness of the mortality and morbidity review process. Secure
            corporate assistance on evaluation methodology.

    C.     Medical Care

    OPSO shall ensure constitutionally adequate treatment of prisoners’ medical needs. OPSO shall prevent
    unnecessary risks to prisoners and ensure proper medication administration practices. OPSO shall assess on
    an annual or more frequent basis whether the medical services at OPP comply with the Constitution. At a
    minimum, OPSO shall:

             y Managing of Medication Administration:
    1. Quality
                    Within 120 days of the Effective Date, ensure that medical and mental health staff are
                    trained on proper medication administration practices, including appropriately labeling
                    containers and contemporaneously recording medication administration;
                    Ensure that physicians provide a systematic review of the use of medication to ensure that
                    each prisoner’s prescribed regimen continues to be appropriate and effective for his or her
                    condition;
                    Maintain medication administration protocols that provide adequate direction on how to
                    take medications, describe the names of the medications, how frequently to take
                    medications, and identify how prisoners taking such medications are monitored; an
                    Maintain medication administration protocols that prevent misuse, overdose, theft, or
                    violence related to medication.

            Findings:
            C. 1. a. Substantial compliance
            C. 1. b. Partial compliance
            C. 1. c. Substantial compliance
            C. 1. d. Substantial compliance

            Significant lags to laboratory testing, chronic care visits and medication continue
            through the period ending March 31. Staff report, anecdotally, that there are no
            longer any backlogs, yet the data on missed appointments bely that statement. The
            lags to laboratory testing and to chronic care visits lead to lags to medication.
                     There are significant lags to first dose of medication prescribed for detoxification.
            The monitors identified four very serious medication errors, including documentation of
            duplicate orders resulting in excessive medication administration for syphilis, serious
            mental illness, and cancer.6 These were discussed with the Health Services Administrator
            in March. These medication errors should have been subjected to root cause analysis or
            any other technique intended to identify the means to prevent future errors of a similar


6Patient #2490893 had two orders (unintended duplicates) for benzathine penicillin for syphilis. Patient #2489383
received duplicate does of prazosin on 12/9-14/2019 and 12/18-19/2019. Patient #2420127 received triple doses of
quetiapine on 1/29-31/2020. Patient #2468418 received duplicate does of capecitabine on 11/27-12/2/2019,
12/4/2019, 12/6/2019 and 2/3/2020.
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         nature. No corrective action had been taken by the time of the virtual site visit.


        Recommendations: Continue to improve performance on conformance to chronic disease
        protocols for medical and psychiatric conditions. Reduce lags to and lapses in medication.
        Submit the identified medication errors to root cause analysis to identify means to
        prevent future errors. Discuss the findings, corrective action taken and results at CQI
        meetings. Report the errors and results of analysis to the pharmacy and
        request a solution to identify and delete duplicate orders before dispensing the
        medication. Monitor complicated dosing regimens to ensure patients are not harmed.


2.a. Provide the Monitor a periodic report on health care at the Facility. These periodic reports shall be
provided to the Monitor within four months of the Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include:
         (1)     number of prisoners transferred to the emergency room for medical treatment related to
                 medication errors;
         (2)     number of prisoners taken to the infirmary for non-emergency treatment related to
                 medication errors;
         (3)     number of prisoners prescribed psychotropic medications;
         (4)     number of prisoners prescribed “keep on person” medications; and
         (5)     occurrences of medication variances.
2.b. Review the periodic health care delivery reports to determine whether the medication administration
protocols and requirements of this Agreement are followed. OPSO shall make recommendations regarding
the medication administration process, or other necessary changes in policy, based on this review. The
review and recommendations will be documented and provided to the Monitor.

        Findings:
        C. 2. a. Partial Compliance
        C. 2. b. Partial Compliance

        Submission of the periodic reports have been sporadic. There is no indication that
        Wellpath has used data to improve timely access to care. There are no reports on
        medication contraband, with analysis of data and corrective action plans. There
        are no reports of medication errors, such as the ones mentioned in IV. C. 1. B.

        C. 2. a. Recommendation: Provide reports every six months.
        C. 2. b. Recommendation: Review reports, once written, and make
        recommendations. Recommendations should be reviewed at committee meetings
        to assure multidisciplinary input. Report on medication contraband and efforts to
        reduce diversion of prescribed medication.


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3.a. OPSO shall notify Qualified Medical or Mental Health staff regarding the release of prisoners with serious
medical and/or mental health needs from OPSO custody, as soon as such information is available.
3.b. When Qualified Medical or Mental Health staff are notified of the release of prisoners with serious
medical and/or mental health needs from OPSO custody, OPSO shall provide these prisoners with at least a
seven-day supply of appropriate prescription medication, unless a different amount is necessary and
medically appropriate to serve as a bridge until prisoners can reasonably arrange for continuity of care in the
community.
3.c. For all other prisoners with serious medical and/or mental health needs who are released from OPSO
custody without advance notice, OPSO shall provide the prisoner a prescription for his or her medications,
printed instructions regarding prescription medications, and resources indicating where prescriptions may
be filled in the community.
3.d. For prisoners who are being transferred to another facility, OPSO shall prepare and send with a
transferring prisoner, a transition summary detailing major health problems and listing current medications
and dosages, as well as medication history while at the Facility. OPSO shall also supply sufficient medication
for the period of transit for prisoners who are being transferred to another correctional facility or other
institution, in the amount required by the receiving agency.

         Findings:
         C. 3. a. Partial Compliance
         C. 3. b. Partial Compliance
         C. 3. c. Partial Compliance
         C. 3. d. Substantial compliance
                 The proportion of patients with serious needs reached is increasing, yet the
         total numbers of patients remains very low. Once identified, the patients are
         receiving either a supply or a prescription that can be filled at no-cost; although
         medication pickup rates are low. There is no cogent analysis of why the numbers
         are low and thereby, no way to develop an effective action plan. Transfer of
         information and medication appears to be working well.


         C. 3. a. Recommendation: Improve notifications.
         C. 3. b. Recommendation: Build on recent progress to increase numbers. Continue
         to counsel patients face-to-face.
         C. 3. c. Comment: If there is no notice, it is not possible to provide prescriptions.
         Partial is achieved through pre-release notification to patients.

IV.     D. 1. Sanitation and Environmental Conditions

         Findings:
         D.1. a. Partial Compliance
         D. 1. b. Substantial Compliance
         D. 1. c. Substantial Compliance
         D. 1. d. Substantial Compliance
         D. 1. e. Substantial Compliance
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        D. 1. f. Substantial Compliance
        D. 1. g. Substantial Compliance
        D. 1. h. Partial Compliance


IV. D. 1. a. OPSO shall provide oversight and supervision of routine cleaning of housing units, showers, and
medical areas. Such oversight and supervision will include meaningful inspection processes and
documentation, as well as establish routine cleaning requirements for toilets, showers, and housing units to
be documented at least once a week but to occur more frequently.

         Finding: Partial Compliance

Observations:
         OPSO provided a cleaning schedule and supervisor inspection check list that identify the
frequency of housekeeping, by area, for both OJC and TDC. Additionally, OPSO provided
documentation of area specific cleaning schedules (e.g., housing unit showers) implemented
previously. Prior to the COVID-19 restrictions, OPSO dedicated a staff member to focus on the
cleaning of showers throughout the inmate housing areas. Beginning February 2020, the
Environmental Officer reported that he was completing this task whenever the deputy was
unavailable due to other assignments. During the virtual tour, inmate showers were specifically
viewed by the Monitor. Given the quality of the video, the majority of the showers appeared to
be generally clean and free of trash, soap residue and drain flies. Some condensation was noted
in three showers.
        OPSO continues to provide substantial documentation of monthly housing unit
inspections by the Environmental Officer in addition to daily/weekly inspections by
security staff. While the Monitor observed a generally acceptable level of cleanliness in the
units viewed during the virtual tour, the monthly environmental inspection reports
continue to note clutter and cleanliness issues primarily in individual cells, but also some
common areas. Typical inspection notations included dirty floors/walls, lavatories, and
trash/excess clutter. The documentation showed a reduction in the frequency of
obstructed cell vents. The Monitor noted some clutter issues during the inspection,
primarily in units with individual cells. This was also noted during the previous inspection
and continues to be a challenge primarily for the lockdown inmate populations.

        The documentation and observed conditions throughout the housing units at the
time of the inspection indicate the ability of the Sanitarian and Environmental Officer to
maintain consistent, regular cleaning schedules since the last inspection. The Sanitarian

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reported that the staffing issue for the section has continued to improve both in terms of
assigned staff and staff availability.
       Grievances regarding sanitation issues averaged approximately 6 per month during
the rating period. Inmate reports of inadequate or missing cleaning supplies dropped
substantially since the last inspection. Conversely, the environmental inspection reports
noted regular observations of missing or inadequate cleaning supplies throughout OJC. The
few cleaning carts observed by the Monitor during the virtual tour in OJC did not appear to
be sufficiently supplied. In one instance, the monitor/guide asked the pod deputy where
were the supplies that were missing from the cart. The deputy stated that the supplies
were in use but had no accountability as to which inmates were using the supplies. The
Sanitarian has taken the initiative to conduct “town hall” meetings with all housing pods on
a monthly basis and provided documentation of inmate comments regarding a lack of
cleaning supplies as well throughout the rating period.
       The Sanitarian advised that security staff requested a change in January 2020 as to
how cleaning supplies are made available to inmates in the housing units. Cleaning carts
were consolidated with one provided for every two housing pods on a given floor. Prior to
this date, each housing pod had its own cleaning cart and chemicals. It is the Monitor’s
opinion that this practice has substantially limited the availability of cleaning supplies to
the inmates as they are now shared, particularly in lockdown and COVID-19 units. It is
reasonable to assume that cleaning chemicals may be consumed faster from shared carts,
particularly in open dorm pods that do not have chemical dispensers located in the pods. It
is also the Monitor’s opinion that accountability for the chemicals and cleaning equipment
would suffer with the practice of sharing carts if the carts are not inventoried when passed
from pod to pod. Documentation of any such inventories was not available. The Sanitarian
advised that she had recommended returning to the previous practice of providing a
cleaning cart to each pod, but no change had been made in the new practice as of the date
of the inspection. Given the concerns surrounding sanitation in the jail in general and
COVID-19 in particular, the Monitor supports the Sanitarian’s recommendation to provide
one cleaning cart with supplies to each housing pod.
       Directly related to sanitation in the inmate housing units and the control of
infectious disease within the jail is the Monitor’s observations of the OPSO COVID-19
policy/procedures related to social distancing within the units and the sanitation of
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common areas.
       While the OPSO COVID-19 policy does not specifically address social distancing, the
Monitor observed several housing pods with one/two person cells being managed so as to
promote social distancing. The procedure consisted of allowing only a fraction of the
inmates access to the dayroom at any given time for a two-hour period on a rotational
basis. However, the Monitor observed virtually every food chute open allowing inmates in
the dayroom to freely converse with inmates locked in their cells, pass items, and even play
board games through the opening. Further, inmates were observed to be using furniture,
fixtures and equipment (e.g., phone handsets and video screens) without any efforts at
sanitation between uses. OPSO is encouraged to review the actual management of these
activities by line staff to ensure the greatest possible benefit is realized from their efforts to
control the spread of COVID-19 within the jail.
        The Monitor’s limited observations found no chemicals in inmate housing areas or
storage locations that were not on the authorized chemical list nor without a
corresponding Material Safety Data Sheet. No cleaning supply closets in the housing units
were found unsecured during the inspection indicating an improvement in staff
supervision of these areas.
       As previously noted, regular provision of clean inmate clothing and bedding and
appropriate inventory of these supplies are essential to sanitation, infection control and
disease prevention. The Sanitarian reported that she was able to maintain an adequate
supply of inmate clothing for issue and exchange. She also reported an increase in the
frequency of clothing exchange for inmates in COVID-19 affected pods. The Sanitarian
further noted that the laundry vendor’s performance had improved somewhat in terms
of turn-a-round time since the last inspection.
   •   Inmates continue to launder their personal items (e.g. underwear, shorts) in the
       washing machines and dryers located in each housing unit. The Monitor observed
       the majority of the clothes dryers located in OJC’s inmate housing units were
       generally serviceable although several had effectively non-functional exhaust lines.
       The lines were crushed against the wall, torn, or, as noted in at least two pods,
       missing altogether. These observations were almost exclusively in the open dorm
       style pods. Several dryers were observed to have been tampered with and/or used
       to heat water-filled latex gloves stuffed into the lint traps or placed under a towel
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        draped over the dryer exhaust port. The tampering was readily apparent to the
        Monitor, but apparently not so to the pod officer. It should be noted that since the
        last inspection, the Maintenance Section has hired a dedicated staff member to
        repair the washers and driers as issues arise. This increased attention was more
        apparent in the pods where the laundry area is secured. The accumulation of lint
        behind and above the driers as well as on the surface of return-air grills was noted
        to be less prevalent than during previous inspections.
        During the inspection, the Monitor noted via video that the accumulation of
inmates’ personal items (paperwork, commissary purchases, and other approved items)
was at acceptable levels in most areas. As noted previously, the most problematic areas
continue to be the high-security units. Where observations could be made, the Monitor
noted very few blocked return-air vents in the inmate cells. The Monitor noted no broken
glass panels in shower windows or graffiti on dormitory and cell walls.


IV. D. 1. b. Continue the preventive maintenance plan to respond to routine and emergency maintenance
needs, including ensuring that showers, toilets, and sink units are adequately installed and maintained. Work
orders will be submitted within 48 hours of identified deficiencies, or within 24 hours in the case of
emergency maintenance needs.

       Finding: Substantial Compliance
Observations:
        The Monitor reviewed the Sanitation and Environmental Conditions report, the
OPSO Preventive Maintenance Plan, the Preventive Maintenance Schedule Summary report,
and a Preventive Maintenance work orders status report as well as inmate grievances
related to maintenance issues. In addition to the limited video inspection of the inmate
housing areas, the Monitor conducted a video conference with the Maintenance Director on
May 18, 2020. The documentation reflected an on-going preventive maintenance program
for major building systems and components consistent with OPSO policy and the Consent
Judgment. However, some deficiencies were noted within the documentation provided. For
example, there were several instances where regularly scheduled preventive maintenance
was deferred to the next service period.
        Subsequent conversations were held with the Maintenance Director on June 1, 2020
to determine the extent of the practice, who could authorize such deferrals and on what
type of systems (e.g., Life/Safety systems, critical building MEP or security systems, etc.).

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Ideally, all manufacturer-required preventive maintenance checks and services are
performed on all equipment and systems according to the manufacturer’s recommended
schedule. As noted by the Maintenance Director, staffing constraints, budgetary
considerations, and actual conditions will affect OPSO’s ability to perform such services.
The Maintenance Director was able to provide examples where actual conditions
warranted the deferral of a preventive maintenance service. One such example was that of
a 700-hour service on a fire pump that was automatically generated in the work order
system. The actual run-time hours on the pump had not reached the 700-hour interval and
thus the service was deferred.
        The issue of accountability for such deferrals was also discussed. The Maintenance
Director advised that, while any maintenance worker could place a preventive work order
in deferred or closed status, the Department’s practice is to administratively review all
work orders daily for proper disposition. Preventive work orders on critical systems that
are deferred are referred to supervisor staff for further review and action as warranted.
One possible solution that would further support the Department’s preventive work order
operations would be to formally establish the review and accountability practices
recounted by the Maintenance Director in written policy and procedure.
        For routine mechanical, electrical and plumbing work orders, OPSO Policy 601.02,
Reporting and Addressing/Repairing Maintenance Needs, specifically requires that any
staff member observing a maintenance issue “shall call the CMMS work order facilitator” to
report the issue, “or leave a message.” As individual inmate interviews were impractical
during the virtual tour of the facility, a review of grievance documentation related to
maintenance issues was completed by the Monitor. The was no marked increase/decrease
in the number of grievances received on a monthly basis indicating that routine issues with
basic plumbing, mechanical or electrical services in inmate cells or dayrooms are typically
remedied within 48 to 72 hours indicating that work orders are being submitted in a
timely manner as required by the Consent Judgment (“Work orders will be submitted
within 48 hours of identified deficiencies, or within 24 hours in the case of emergency
maintenance needs”).
IV. D. 1. c. Maintain adequate ventilation throughout OPSO facilities to ensure that prisoners receive adequate
air flow and reasonable levels of heating and cooling. Maintenance staff shall review and assess compliance
with this requirement, as necessary, but no less than twice annually.


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        Finding: Substantial Compliance

 Observations:

        Adequate air flow is maintained in the facilities but continues to be impeded in a few
 inmate cells when inmates block the air vents. The Monitor was unable to ascertain
 whether air circulation was adequate through direct observation due to the limitations of
 the inspection process. Alternatively, additional review of grievance documentation related
 to adequate air flow and heating/cooling was made by the Monitor. Additionally, the
 Life/Safety staff member conducting the virtual tour noted no significant issues and that
 the majority of housing dayrooms and cells to be at a relatively reasonable levels of heating
 and cooling.
        As noted in the two previous reports, test and balance reports for the
 Kitchen/Warehouse (2014), OJC (2017) and TDC (2012) were the latest available to the
 Monitor.
        Prior to the September 2019 report, this section had been interpreted as requiring
 comprehensive “test and balance” assessments on a semi-annual basis. Such assessments
 are very expensive and typically performed only during the commissioning of new or
 replacement HVAC systems. During the previous inspection, the Monitor met with the
 Maintenance Director specifically to discuss the status and capabilities of the OJC Building
 Automation System that controls the heating and cooling throughout all occupied areas in
 OJC. The Maintenance Director was able to demonstrate the system’s real-time monitoring
 of temperature sensors, variable air volume boxes (metered air flow), exhaust fans, chilled
 water systems, etc. through the systems graphical user interface. He also demonstrated the
 system’s warning and alarm capabilities to alert staff if the system malfunctions or falls out
 of specified parameters, and how designated staff are able to address such issues through
 either adjustment or emergency/planned replacement of the component. Further, the
 Maintenance Director was able to produce reports on demand to document any such
 failures over time.
      For the purposes of verifying compliance with this section during this inspection, the
Monitor reviewed actual screen images of the BAS monitoring system noting the status of all
monitored equipment, air flow and temperatures throughout the facility. While the system can
automatically compensate for changes in climate and heat load as well as increased or decreased

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demand for air flow, mechanical breakdowns typically require physical repair by Maintenance
staff. The Maintenance Director was able to provide documentation reflecting work orders
generated for the repair/replacement of mechanical system components restoring the system to
normal operation. It is the Monitor’s opinion that the OJC Building Automation System, as
currently operated, meets the intent of the Consent Judgment with regard to this section.


 IV. D. 1. d. Ensure adequate lighting in all prisoner housing units and prompt replacement and repair of
 malfunctioning lighting fixtures in living areas within five days unless the item must be specially ordered.

          Finding: Substantial Compliance
 Observations:
         The Monitor observed sufficient lighting being provided in housing units of both OJC
 and TDC. Maintenance staff continue to maintain a supply of replacement bulbs,
 transformers, or ballasts to repair malfunctioning lighting. During this inspection, the
 Monitor observed no outstanding electrical work orders beyond routine bulb replacement.

 IV. D. 1. e. Ensure adequate pest control throughout the housing units, including routine pest control spraying
 on at least a quarterly basis and additional spraying as needed.

          Finding: Substantial Compliance
 Observations:
         A review of the documentation submitted found sufficient evidence of a pest control
 program that meets the intent of the Consent Judgment. OPSO continues to maintain a pest
 control contract with a state licensed company for monthly service of all housing areas and
 bi-weekly service for the Kitchen/Warehouse. Inmate grievances related to pest control
 were reviewed and found to have been addressed in a timely manner. The Monitor
 specifically inquired of the Environmental Officer as to the status of previous “drain fly”
 issues. The Environmental Officer confirmed that there were no significant on-going issues
 with drain flies. None were noted by the Monitor in the areas viewed by video.
         Environmental, Sanitation and Life-Safety staff performing inspections and
 responding to pest control grievances continue to initiate work orders for pest control and
 to document how, when. and where infestations are identified and remedied.

 IV. D. 1.f. Ensure that any prisoner or staff assigned to clean a biohazardous area is properly trained in
 universal precautions, outfitted with protective materials, and properly supervised.


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         Finding: Partial Compliance

Observations:

        As noted in the previous inspection, Policy 1101.07, “Bio-hazardous Spill Cleaning
Procedures” [Revised 1/18/2018] Section VIII. A. 1 has been revised to allow properly
trained and equipped inmates and deputies to clean-up bio-hazardous spills. Training
materials were devised by the Sanitarian and training was provided to designated inmates
in December 2019, the only inmate training date documented during the rating period. The
Monitor also reviewed training curricula and documentation indicating that during 2019,
all staff received eight hours of training in bio-hazardous cleanup procedures as part of
their initial training or in-service training prior to this rating period. As of 6/30/19,
documentation indicated that 91% of the required staff had completed the bio- hazardous
clean-up training for 2019. Two pre-service classes were conducted in the Fall of 2019. No
additional roll-call training was offered during the rating period.
        As of November 2018, the Sanitation and/or Environmental Officer is required to be
notified of such incidents each business day to enable them to replace any bio-hazardous
clean up protective materials used and inspect the area to ensure it was properly cleaned
and sanitized. The Sanitarian reported that no such incidents reports were received during
the rating period covered by this inspection, however, the Sanitarian reported replacing at
least five (5) bio-hazard clean-up kits during the rating period that had been used but not
reported as required. The failure to make this notification made it impossible for the
Sanitarian to properly inspect the affected area in a timely manner as required by policy.
The Monitor strongly urges the supervisory chain address this deficiency given the
potential health and safety impact.


IV. D. 1. g. Ensure the use of cleaning chemicals that sufficiently destroy the pathogens and organisms in
biohazard spills.

Findings: Substantial Compliance

Observations:
       The Monitor was unable to make direct observation of the chemicals on-hand and
available to staff were sufficient to destroy the pathogens and organisms in bio-hazardous
spills common in a jail environment. The Sanitarian stated that there had been no changes
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in the types of chemicals used or vendors. Based upon this statement and observations
made during previous inspections, the Monitor is continuing to rate this section as being in
substantial compliance.

     Additionally, the chemical inventory documentation submitted demonstrated
availability of a consistent supply of the required chemicals being maintained by the
designated staff.

IV. D. 1. h. Maintain an infection control plan that addresses contact, blood borne, and
airborne hazards and infections. The plan shall include provisions for the identification,
treatment, and control of Methicillin-Resistant Staphylococcus Aureus (“MRSA”) at the
Facility.

       Findings: Partial compliance

Observations:

     As with the previous inspection, the Monitor reviewed the OPSO infection control
policy 1201.11 as well as the WellPath Infection Control Program document (rev.
8/30/18) submitted by OPSO. The medical contractor’s policy on infection control is
included in 1201.11 by reference. Neither the OPSO policy nor the WellPath document
specifically include “provisions for the identification, treatment and control of” MRSA as
required by the Consent Judgment. The document provided only references HIV, HBV,
and HCV exposures. Additionally, the WellPath document notes in Section 3 that “Site
Specific Policy Required”. Specific information required, but not provided, include:
       1. Insert site-specific infection control plan.
       2. Identify the person responsible for infection control at the site.
       3. Describe how infection control activity is recorded.
       4. List location(s) where infection control policies are kept.
       5. Describe how biomedical wastes are managed.
       6. Identify who prepares and completes reports.
     OPSO has stated that, because the Monitors have reviewed and approved the
infection control policy, that this area should be in substantial compliance. The policy
review noted that including the WellPath policy on infection control by reference was
acceptable. The WellPath policy had not been provided at that point in time. Once
provided and reviewed, the Monitor noted the information noted above was deficient and
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remains so at the time of this inspection. As such, this section remains in Partial
Compliance.

     The Monitor was unable to directly observe the handling and sanitation of inmate
mattresses in OJC. No violations were observed via virtual tour at the TDC facility. OPSO
has previously provided for annual review of the policy and standard operating
procedures for the handling of inmate mattresses to include staff and/or inmate sanitation
training program that includes mattress cleaning, and chemical use and control. This
procedure is specifically required by the Infection Control Plan.

IV. D. 2. Environmental Control

       Findings:
       D. 2. a. Substantial Compliance
       D. 2. b. Substantial Compliance

IV. D. 2. a. OPSO shall ensure that broken or missing electrical panels are repaired within 30
days of identified deficiencies, unless the item needs to be specially ordered.

       Findings: Substantial Compliance

Observations:

     OPSO Policies 601.02 “Reporting and Addressing Maintenance Needs” and Policy
601.03 “Preventive Maintenance” [August 15, 2016] and are implemented. Major
electrical panels at OJC and TDC are located in secure maintenance spaces inaccessible to
inmates.

IV. D. 2. b. Develop and implement a system for maintenance and timely repair of electrical
panels, devices, and exposed electrical wires.

       Findings: Substantial Compliance

Observations:

     The Monitor noted no new issues related to exposed/damaged wiring/cabling
during the limited virtual tour. A review of the Life/Safety inspections noted some minor
exposed low-voltage wiring with an accompanying work order. The Monitor considers
this to be sufficient to support a continued finding of Substantial Compliance.

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IV. D. 3. Food Service
        This report summarizes the findings for the Food Service provisions of the Consent
Judgment based on the Monitor’s document reviews and virtual tour conducted May 18-
22, 2020. The Monitor virtually inspected the Orleans Justice Center (OJC) Kitchen/
Warehouse on May 22, 2020 and interviewed OPSO staff and the Summit Food Service
Director via video calls.
        Since the last tour on September 17-19, 2019, there has been significant progress
toward compliance with the Food Service provisions resulting in sections IV. D. 3. b. and
IV. D. 3. c. of the Consent Judgment moving from partial compliance to substantial
compliance and therefore all three of the food service provisions are now in substantial
compliance.

        Findings:
        D. 3. a. Substantial Compliance
        D. 3. b. Substantial Compliance
        D. 3. c. Substantial Compliance

IV. D. 3. a. OPSO shall ensure that food service staff, including prisoner staff, continues to receive in-service
annual training in the areas of food safety, safe food handling procedures, and proper hygiene, to reduce the
risk of food contamination and food-borne illnesses.

        Findings: Substantial Compliance

Observations:
         OPSO and Summit continue to provide documentation of ongoing annual in-service
food safety training for staff, including inmate workers, and therefore D. 3. a. remains in
Substantial Compliance for the period of July 2019 through March 2020.

         However, for an in-service training program to effectively reduce the risk of food
contamination and food-borne illness, it requires that management detect and
subsequently retrain employees that exhibit deficiencies in food safety and sanitation. The
Monitor observed food temperature violations during the virtual inspection and found
problems during the document review. The most significant findings are summarized in
section IV. D. 3. c. Recordkeeping/Temperatures of this report; accompanied by a specific
recommendation regarding the need for retraining of food service staff on proper food
thermometer procedures, thermometer calibration, and completion of food temperature

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records to ensure food safety.

IV. D. 3. b. Ensure that dishes and utensils, food preparation and storage areas, and vehicles and containers
used to transport food are appropriately cleaned and sanitized on a daily basis.



        Findings: Substantial Compliance

Observations:
         OPSO and Summit food service management staff have continued to exhibited
eagerness to implement and maintain significant improvements in cleaning and
sanitization. Summit implemented new kitchen cleaning logs in October 2019 and the
kitchen appeared clean and compliant with Louisiana food regulations during the virtual
inspection. Furthermore, OPSO has demonstrated compliance with policies and continued
to develop and implement new policies as needed. Therefore, IV. D. 3. b. has moved from
partial compliance to substantial compliance.

IV. D. 3. c. Check and record on a daily basis the temperatures in the refrigerators, coolers, walk-in
refrigerators, the dishwasher water, and all other kitchen equipment with a temperature monitor, to ensure
proper maintenance of food service equipment.

        Findings: Substantial Compliance

Observations:
         The Consent Judgment requires that OPSO “Check and record on a daily basis the
temperatures in the refrigerators, coolers, walk-in refrigerators, the dishwasher water, and
all other kitchen equipment with a temperature monitor, to ensure proper maintenance of
food service equipment.” Temperatures are used as a means of confirming the working
condition of kitchen equipment by measuring with a properly calibrated thermometer or
temperature measuring device and documenting the operating temperature to ensure that
it complies with the temperatures specified in the Louisiana Food Code. The Monitor
reviewed temperature documentation and requested that random food temperatures be
checked during the virtual tour. Food temperature and thermometer related concerns
were found during the virtual tour. The refrigeration/cooler and dishwasher temperature
logs were reviewed and found to be compliant. IV. D. 3. c. moved from partial compliance to
substantial compliance for the rating period of July 2019 through March 2020.

         During the virtual tour, kitchen inspection pans of turkey ala king were observed as
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they were being transferred into a food warmer to be held until they were needed for meal
service on the tray line. The food temperature was measured at 147F, 126F, and 127F.
The Louisiana Food Code specifies that hot foods must be held at a temperature of 135F or
above. The temperatures were also well below the cooking temperatures of 210F and
170F that were reported by the cook. However, it was stated that the cook had used an
infrared (laser) thermometer to obtain the cooking temperatures. Infrared thermometers
only measure the surface temperature and not the internal food temperature and therefore
the cook did not obtain an accurate temperature reading which may account for the
significant difference between the reported 210F cooking temperature and the observed
126/127F measurement. OPSO and Summit staff took appropriate corrective actions to
ensure food safety. The February 14, 2020 food production log indicates the same holding
temperature problem with turkey ala king documenting a 279F cooking temperature at
4:30; 188.1F holding temperature at 6:32; and down to 91.6F holding temperature at
7:40. However, the log does not indicate that documented corrective action was taken in
regards to the 91.6F holding temperature, which is well below the required minimum
135F hot food holding temperature required by the state food code.

       Maintaining thermometer calibration logs is an excellent practice. However, serious
concerns related to thermometer calibration were found. Improperly calibrated
thermometers are a potential hazard because they do not provide accurate readings. The
Summit Food Safety Manual specifies that the ‘ice point method’ is to be used for
thermometer calibration. This commonly used and simple technique involves immersing
the stem of a probe thermometer in an ice water bath, waiting for the temperature to
stabilize, if it reads 32F the thermometer is in calibration, if it does not read 32F the
thermometer should be adjusted in accordance with the manufacturers’ directions.
Thermometers must be accurate within +/- 2F. However, on December 21, 2019, a
Summit employee documented calibrating a thermometer to 20F and on January 24, 2020
and January 30, 2020 a Summit employee documented calibrating a thermometer to 39F,
instead of 32F and a Summit supervisor signed-off on the logs at the end of each month.
An undated Thermometer Calibration Log was provided with the February 2020
documents, indicating a thermometer was calibrated to 38.2F on day 7 and 41F on day
21, the log was signed-off by a supervisor.
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         To maintain substantial compliance, OPSO must ensure that temperatures are not
recorded simply for the sake of documentation. Not subsequently taking and documenting
corrective actions when temperature problems are found is not only a poor practice, it is
unsafe and can lead to foodborne illness outbreaks.
         •   OPSO and Summit should immediately implement the Thermometer Guidelines
             found in section 1.6 of the Summit Food Safety Manual and all kitchen staff,
             including supervisors should be retrained in accordance with the Corrective
             Action specified in the Summit Food Safety Manual on proper food
             thermometer procedures, thermometer calibration, and completion of food
             temperature records.
         •   OPSO should hold their food service contractor (Summit) accountable for
             ensuring that the food service supervisors are thoroughly reviewing the kitchen
             logs and documentation, identifying problems or potential problems and
             investigating discrepancies, documenting corrective actions, and following-up
             to ensure issues are resolved.

IV. D. 4. Sanitation and Environmental Conditions Reporting

        Findings:
        D. 4. a. Substantial Compliance
        D. 4. b. Substantial Compliance

IV. D. 4. a. Provide the Monitor a periodic report on sanitation and environmental conditions in the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date; and every
six months thereafter until termination of this Agreement. The report will include
(1) number and type of violations reported by health and sanitation inspectors;
(2) number and type of violations of state standards;
(3) number of prisoner grievances filed regarding the environmental conditions at the Facility;
(4) number of inoperative plumbing fixtures, light fixtures, HVAC systems, fire protection systems,
and security systems that have not been repaired within 30 days of discovery;
(5) number of prisoner-occupied areas with significant vandalism, broken furnishings, or excessive
clutter;
(6) occurrences of insects and rodents in the housing units and dining halls; and
(7) occurrences of poor air circulation in housing units.

         Findings: Substantial Compliance

Observations:
         The July - December 2019 Sanitation and Environmental report was



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made available to the Monitor prior to the May 2020 inspection tour. The report
contained the requisite information spelled out by the Consent Judgement as well as
supporting documentation.

IV. D. 4. b. Review the periodic sanitation and environmental conditions reports to determine whether the
prisoner grievances and violations reported by health, sanitation, or state inspectors
are addressed, ensuring that the requirements of this Agreement are met. OPSO shall make
recommendations regarding the sanitation and environmental conditions, or other necessary
changes in policy, based on this review. The review and recommendations will be documented and
provided to the Monitor.

         Findings: Substantial Compliance

Observations:

        The Consent Judgment requires a review of the periodic sanitation and
environmental conditions reports to ensure issues are addressed along with making
recommendations regarding sanitation and environmental conditions and policy changes
based upon the review. Such reviews are to be documented and provided to the Monitor.

        The Monitor reviewed the supporting documentation provided by OPSO and
determined that it was sufficient to satisfy the requirements of the Consent Judgment.
OPSO provided documentation of the required review and basic analysis of prisoner
grievances and inspection violations noted regarding sanitation and environmental
conditions during the rating period.


IV. E. 1. Fire and Life Safety

        Findings:
        E. 1. a. Substantial Compliance
        E. 1. b. Substantial Compliance
        E. 1. c. Substantial Compliance
        E. 1. d. Substantial Compliance
        E. 1. e. Substantial Compliance


IV. E. 1. a. Ensure that necessary fire and life safety equipment is properly maintained and inspected at least
quarterly. These inspections must be documented.




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         Finding: Substantial Compliance

Observations:

        The Monitor was able to conduct a virtual tour of the majority of OJC, all of TDC, and
the Kitchen/Warehouse facility on May 19, 2020 with the Facility Life Safety Officer. The
Monitor observed no issues with the fire and life safety equipment. The Fire Alarm Control
Panel in OJC indicated no faults and had been “Green Tagged” during the latest contractor
and Fire Marshall inspections. The FACP in TDC Building 4 indicated a backflow preventer
“trouble” alarm that was related to the construction and was being addressed. The Monitor
also reviewed all monthly and quarterly inspection documentation as well as outside
inspection documentation noting no significant issues and that requisite work orders had
been generated when warranted.
        Life Safety staff continue to use the “Facility Dude” work order system to maintain
the schedule of required inspections. The system notifies the Fire Safety Officer when an
inspection is due. OPSO continues to maintain contracts with licensed vendors to complete
annual inspections of all fire and life safety equipment. OPSO provided copies of quarterly
inspections conducted by the Fire Safety Officer for Kitchen/Warehouse, OJC, and TDC for
the third and fourth quarters of 2020. This documentation, supported by limited
observations during the compliance tour, indicates that OPSO ensures that necessary fire
and life safety equipment is properly maintained and inspected at required intervals. These
inspections are conducted by a qualified fire safety officer or a qualified contractor, as
required by the Consent Judgment.

IV. E. 1. b. Ensure that a qualified fire safety officer conducts a monthly inspection of the facilities for
compliance with fire and life safety standards (e.g., fire escapes, sprinkler heads, smoke detectors, etc.).




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        Finding: Substantial Compliance

Observations:

        The Monitor was provided with the monthly inspection documents for the Kitchen
/Warehouse, OJC, and TDC facilities performed during the current inspection period. The
reports are thorough and complete with all noted discrepancies listed with the associated
work order number.

IV. E. 1. c. Ensure that comprehensive fire drills are conducted every six months. OPSO shall document these
drills, including start and stop times and the number and location of prisoners who were moved as part of the
drills.

        Finding: Substantial Compliance

Observations:

        The Consent Judgment requires comprehensive fire drills every six months. OPSO
provided documentation for fire drills for all facilities and shifts conducted during the
current rating period. Documentation reviewed by the Monitor noted approximately 96%
to 98% of OJC staff (by squad) and 99%-100% of TDC staff (by squad) had participated in
at least one drill during the rating period. In addition to the detailed drill reports, the
documentation lists, by name, any delinquent staff with the listing provided to senior
management for the coordination of make-up training.

IV. E. 1. d. Provide competency-based training to staff on proper fire and emergency practices and procedures
at least annually.

        Finding: Substantial Compliance

Observations:

        OPSO has developed the requisite policy, training course syllabus/outline and
written directives. The Monitor was provided with documentation reflecting the requisite
training was provided during in-service classes held in February 2019. The completion
rate for the training was approximately 95% of OJC staff. However, it appeared that none
of the TDC staff participated in the February 2019 training. Additionally, the
documentation lists, by name, any delinquent staff with the listing provided to senior
management for the coordination of make-up training.


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IV. E. 1. e. Within 120 days of the Effective Date, ensure that emergency keys are appropriately marked and
identifiable by touch and consistently stored in a quickly accessible location, and that staff are adequately
trained in use of the emergency keys.

         Finding: Substantial Compliance

Observations:

         Inspection reports note the routine verification of the keys and the Fire Safety
Officer documents the periodic testing of the keys to verify they are operational. The Fire
Safety Officer trains staff on the use of the location and use of the keys during the fire and
life safety training curriculum provided to all staff at the training academy.


IV. E. 2. Fire and Life Safety Reporting

        Findings:
        E. 2. a. Substantial Compliance
        E. 2. b. Substantial Compliance

IV. E. 2. a. (1) – (3) Provide the Monitor a periodic report on fire and life safety conditions at the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date and every six
months thereafter until termination of this Agreement. Each report shall include:
(1) number and type of violations reported by fire and life safety inspectors;
(2) fire code violations during annual fire compliance tours; and
(3) occurrences of hazardous clutter in housing units that could lead to a fire.

         Finding: Substantial Compliance

Observations:

        The July – December 2020 Fire and Life Safety Conditions report was made available
to the Monitor prior to the May 2020inspection. The report contained the requisite
information spelled out by the Consent Judgment as well as supporting documentation.

IV. E. 2. b. Review the periodic fire and life safety reports to determine whether the violations reported by fire
and life safety inspectors are addressed, ensuring the requirements of this Agreement are being met. OPSO
shall make recommendations regarding the fire and life safety conditions, or other necessary changes in
policy, based on this review. The review and recommendations will be documented and provided to the
Monitor.

         Finding: Substantial Compliance

Observations:

        The Consent Judgment requires a review of the periodic fire and life safety reports

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to ensure issues are addressed along with making recommendations regarding the fire and
life safety conditions and policy changes based upon the review. Such reviews are to be
documented and provided to the Monitor.
        The Monitor reviewed the supporting documentation provided by OPSO and
determined that it was sufficient to satisfy the requirements of the Consent Judgment.
OPSO provided documentation of the required review and basic analysis of fire and life
safety conditions as well as any necessary changes in policy or procedure.
        Meeting minutes from the review indicated the OPSO Life Safety Officer
communicated the information in IV. E. 2. a. (1) – (3), however, the Monitor noted a change
in OPSO counting rules for reporting the number of violations relative to Item#3 above and
addressed during the monthly Fire and Life/Safety inspections. Prior to this submission,
each violation was counted each month if observed and reported cumulatively. The change
in reporting resulted in a single violation being counted only once regardless of the number
of times the violation was observed during subsequent inspections. This resulted in a
precipitous, and somewhat misleading, drop in the number of violations reported in the
Semi-Annual Report. The Monitor discussed the change with OPSO and recommended
alternative methods of reporting that may reflect a clearer picture of the actual conditions
over time. As the information was still available in the monthly inspection reports and
reviewable by the Monitor, the Monitor believes a continued finding of Substantial
Compliance is justified but will critically review any changes in reporting methodology
during the next rating period.

IV. F. Language Assistance

F.1.a. OPP shall ensure effective communication with and provide timely and meaningful access to
services at OPP to all prisoners at OPP, regardless of their national origin or limited ability to speak, read,
write, or understand English. To achieve this outcome, OPP shall:
          (1)      Develop and implement a comprehensive language assistance plan and policy that
                   complies, at a minimum, with Title VI of the Civil Rights Act of 1964, as amended, (42
                   U.S.C. § 2000d et seq.) and other applicable law;
          (2)      Ensure that all OPP personnel take reasonable steps to provide timely, meaningful
                   language assistance services to Limited English Proficient (“LEP”) prisoners;
          (3)      At intake and classification, identify and assess demographic data, specifically including
                   the number of LEP individuals at OPP on a monthly basis, and the language(s) they
                   speak;
          (4)      Use collected demographic information to develop and implement hiring goals for
                   bilingual staff that meet the needs of the current monthly average population of LEP
                   prisoners;
          (5)      Regularly assess the proficiency and qualifications of bilingual staff to become an OPP
                   Authorized Interpreter (“OPPAI”);
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       (6)       Create and maintain an OPPAI list and provide that list to the classification and intake
                 staff; and
        (7)      Ensure that while at OPP, LEP prisoners are not asked to sign or initial documents in
                 English without the benefit of a written translation from an OPPAI.
F.2.a. OPP shall develop and implement written policies, procedures and protocols for documenting,
processing, and tracking of individuals held for up to 48 hours for the U.S. Department of Homeland
Security (“DHS”);
F.2.b Policies, procedures, and protocols for processing 48-hour holds for DHS will:
        (1)      Clearly delineate when a 48-hour hold is deemed to begin and end;
        (2)      Ensure that, if necessary, an OPPAI communicates verbally with the OPP prisoner about
                 when the 48-hour period begins and is expected to end;
        (3)      Provide a mechanism for the prisoner’s family member and attorney to be informed of
                 the 48-hour hold time period, using, as needed, an OPPAI or telephonic interpretation
                 service;
        (4)      Create an automated tracking method, not reliant on human memory or paper
                 documentation, to trigger notification to DHS and to ensure that the 48-hour time period
                 is not exceeded.
        (5)      Ensure that telephone services have recorded instructions in English and Spanish;
        (6)      Ensure that signs providing instructions to OPP prisoners or their families are translated
                 into Spanish and posted;
        (7)      Provide Spanish translations of vital documents that are subject to dissemination to OPP
                 prisoners or their family members. Such vital documents include, but are not limited to:
            i.        grievance forms;
            ii.       sick call forms;
            iii.      OPP inmate handbooks;
            iv.       Prisoner Notifications (e.g., rule violations, transfers, and grievance responses) and
            v.        “Request for Services” forms.
        (8)      Ensure that Spanish-speaking LEP prisoners obtain the Spanish language translations of
                 forms provided by DHS; and
        (9)      Provide its language assistance plan and related policies to all staff within 180 days of
                 the Effective Date of this Agreement.
F.3.a. Within 180 days of the Effective Date, OPP shall provide at least eight hours of LEP training to all
corrections and medical and mental health staff who may regularly interact with LEP prisoners.
        (1)      LEP training to OPP staff shall include:
            i.        OPP’s LEP plan and policies, and the requirements of Title VI and this Agreement;
            ii.       how to access OPP-authorized, telephonic and in-person OPPAIs; and
            iii.      basic commands and statements in Spanish for OPP staff.
        (2)      OPP shall translate the language assistance plan and policy into Spanish, and other
                 languages as appropriate, and post the English and translated versions in a public area
                 of the OPP facilities, as well as online.
        (3)      OPP shall make its language assistance plan available to the public.
F.4.
        (1)      OPP shall ensure that adequate bilingual staff are posted in housing units where DHS
                 detainees and other LEP prisoners may be housed.
        (2)      OPP shall ensure that an appropriate number of bilingual staff are available to translate
                 or interpret for prisoners and other OPP staff. The appropriate number of bilingual staff
                 will be determined based on a staffing assessment by OPP.


      Findings:
      F.1. a. Substantial Compliance
      F. 2. a. Substantial Compliance
      F. 2. b. Substantial Compliance
      F. 3. a. Partial Compliance
      F. 4. Substantial Compliance

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Observations:
         The Language Assistance Plan required by this paragraph has now been prepared and
finalized.
         While OPSO asserts that DHS and ICE inmates are not detained, OPSO has developed a
policy which was submitted to the Monitors which brings provisions F. 2. a. and b. into
substantial compliance.

         OPSO provided documentation regarding the use of the language line. OPSO has provided
documentation regarding the number of bilingual staff and the manner in which the needs of
language assistance are provided bringing provisions of F. 4. into substantial compliance. The
Consent Judgment specifically requires at least eight hours of LEP training to all corrections and
mental health staff who may regularly interact with LEP inmates. Provision IV. F. 3. a. is
determined in partial compliance as the training is not provided. Training of security and
medical staff assigned to the IPC should be sufficient.



IV. G. Youthful Prisoners
        IV. G. Finding: Substantial Compliance
Consistent with the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its implementation of
regulations, a youthful prisoner shall not be placed in a housing unit in which the youthful prisoner will have
sight, sound, or physical contact with any adult prisoner through use of a shared dayroom or other common
space, shower area, or sleeping quarters. In areas outside of housing units, OPSO shall either: maintain sight
and sound separation between youthful prisoners and adult prisoners, or provide direct staff supervision
when youthful prisoners and adult prisoners have sight, sound, or physical contact. OPP shall ensure that
youthful prisoners in protective custody status shall have no contact with, or access to or from, non-
protective custody prisoners. OPP will develop policies for the provision of developmentally appropriate
mental health and programming services.
Observations:
        OPSO has provided documentation that its separation of youthful inmates from
adult inmates was found in compliance during its recent PREA audit. Youthful female
inmates are now housed in TDC. Tulane is providing developmentally appropriate mental
health services to youthful inmates. Travis School continues to provide educational and
programming services. The requirement for developmentally appropriate mental health
and programming services is separate and apart from PREA.




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VI. A – D. The New Jail Facility and Related Issues

A.      New Jail
The Parties anticipate that Defendant will build a new jail facility or facilities that will replace or supplement
the current facility located at 2800 Gravier Street, New Orleans, Louisiana. This Agreement shall apply to any
new jail facility.


        VI. A. Finding: Substantial Compliance.
B.      Design and Design Document
Defendant shall obtain the services of a qualified professional to evaluate, design, plan, oversee, and
implement the construction of any new facility. At each major stage of the facility construction, Defendant
shall provide the Monitor with copies of design documents.


        VI B. Finding: Substantial Compliance
Observations:
         This provision provides that, “The Defendant shall obtain the services of a qualified
professional to evaluate, design, plan, oversee, and implement the construction of any new
facility [emphasis added]. At each major stage of the facility construction, Defendant shall
provide the Monitor with copies of design documents.”
C.      Staffing
Defendant shall consult with a qualified corrections expert as to the required services and staffing levels
needed for any replacement facility. OPSO shall complete a staffing study to ensure that any new facility is
adequately staffed to provide prisoners with reasonable safety.


        VI. C. Finding: Substantial Compliance
Observations:
         The Consent Judgment requires that the Defendant shall consult with a qualified
corrections expert as to the required services and staffing levels needed for any
replacement facility. The Monitors will await planning for Phase III to ascertain future
compliance. For now, the paragraph is in substantial compliance.

D.      Compliance with Codes and Standards
Defendant will ensure that the new jail facility will be built in accordance with: (1) the American Correctional
Association’s standards in effect at the time of construction; (2) the American with Disabilities Act of 1990
(“ADA”), 42 U.S.C. §§ 12101-12213, including changes made by the ADA Amendments of 2008 (P.L. 110-325)
and 47 U.S.C. §§ 225-661, and the regulations there under; and (3) all applicable fire codes and regulations.


        Finding – Monitors not qualified to evaluate.
Observations:

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         The Monitors do not have the knowledge or expertise to evaluate compliance with
this paragraph. OPSO asserts that it is in compliance with this provision, without offering
documentation.



VII. Compliance and Quality Improvement

VII. A. Policies, Procedures, Protocols, Training Curriculum and Practices


        VII. A. Finding: Substantial Compliance
Within 120 days of the Effective Date, OPSO shall revise and/or develop its policies, procedures, protocols,
training curricula, and practices to ensure that they are consistent with, incorporate, address, and implement
all provisions of this Agreement. OPSO shall revise and/or develop, as necessary, other written documents,
such as screening tools, logs, handbooks, manuals, and forms, to effectuate the provisions of this Agreement.
OPSO shall send pertinent newly-drafted and revised policies and procedures to the Monitor as they are
promulgated. The Monitor will provide comments on the policies to OPSO, SPLC, and DOJ within 30 days.
OPSO, SPLC, and DOJ may provide comments on the Monitor’s comments within 15 days. At that point, the
Monitor will consider the Parties’ comments, mediate any disputes, and approve the policies with any
changes within 30 days. If either party disagrees with the Monitor, they may bring the dispute to the Court.
OPSO shall provide initial and in-service training to all Facility staff with respect to newly implemented or
revised policies and procedures. OPSO shall document employee review and training in new or revised
policies and procedures.

Observations:
         OPSO has now completed the development of the required policies. There are still
procedures and lesson plans which must be completed to remain in substantial
compliance.


VII. (H). B. Written Quality Improvement Policies and Procedures

Within 180 days of the Effective Date, Defendant shall develop and implement written quality improvement
policies and procedures adequate to identify serious deficiencies in protection from harm, prisoner suicide
prevention, detoxification, mental health care, environmental health, and fire and life safety in order to assess
and ensure compliance with the terms of this Agreement on an ongoing basis. Within 90 days after
identifying serious deficiencies, OPSO shall develop and implement policies and procedures to address
problems that are uncovered during the course of quality improvement activities. These policies and
procedures shall include the development and implementation of corrective action plans, as necessary, within
30 days of each biannual review.

         VII. B. Finding: Partial compliance

Observations:
         OPSO has provided documentation that it is now developing plans to identify
serious deficiencies, and to address problems that are uncovered during the course of

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quality improvement activities to warrant a finding of partial compliance. These plans
could benefit from being more thorough such as the development of corrective action to
be taken and the auditing of adherence to the action plan.


VII. (I). C. Full-Time Compliance Coordinator

The Parties agree that OPSO will hire and retain, or reassign a current OPSO employee for the duration of this
Agreement, to serve as a full-time OPSO Compliance Coordinator. The Compliance Coordinator will serve as a
liaison between the Parties and the Monitor and will assist with OPSO’s compliance with this Agreement. At a
minimum, the Compliance Coordinator will: coordinate OPSO’s compliance and implementation activities;
facilitate the provision of data, documents, materials, and access to OPSO’s personnel to the Monitor, SPLC,
DOJ, and the public, as needed; ensure that all documents and records are maintained as provided in this
Agreement; and assist in assigning compliance tasks to OPSO personnel, as directed by the Sheriff or his or
her designee. The Compliance Coordinator will take primary responsibility for collecting information the
Monitor requires to carry out the duties assigned to the Monitor.

        VII. C. Finding: Substantial Compliance.

VII. (J.) D. Self-Assessment

On a bi-annual basis, OPSO will provide the public with a self-assessment in which areas of significant
improvement or areas still undergoing improvement are presented either through use of the OPSO website or
through issuance of a public statement or report.

        VII. D. Finding: Substantial Compliance
        Observations:
                 OPSO is now in substantial compliance as, in addition to holding town hall
        meetings quarterly and providing PowerPoint presentations at those meetings,
        OPSO posts those PowerPoint presentations on its website.


VIII. Reporting Requirements and Right of Access
VIII. A. Periodic Compliance Reporting




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OPSO shall submit periodic compliance reports to the Monitor. These periodic reports shall be provided to
the Monitor within four months from the date of a definitive judgment on funding; and every six months
thereafter until termination of this Agreement. Each compliance report shall describe the actions Defendant
has taken during the reporting period to implement this Agreement and shall make specific reference to the
Agreement provisions being implemented. The report shall also summarize audits and continuous
improvement and quality assurance activities, and contain findings and recommendations that would be used
to track and trend data compiled at the Facility. The report shall also capture data that is tracked and
monitored under the reporting provisions of the following provisions: Use of Force; Suicide Prevention;
Health Care Delivered; Sanitation and Environmental Conditions; and Fire and Life Safety.

         VIII. A. Finding: Substantial Compliance

Observations:
         The reports provided by OPSO are now sufficient to address the requirements
of this provision,

VIII. B. (Notification of) Death of Any Prisoner

OPSO shall, within 24 hours, notify the Monitor upon the death of any prisoner. The Monitor shall forward
any such notifications to SPLC and DOJ upon receipt. OPSO shall forward to the Monitor incident reports and
medical and/or mental health reports related to deaths, autopsies, and/or death summaries of prisoners, as
well as all final SOD and IAD reports that involve prisoners. The Monitor shall forward any such reports to
SPLC and DOJ upon receipt.

        Finding: Substantial Compliance

VIII. C. Records

Defendant shall maintain sufficient records to document that the requirements of this Agreement are being
properly implemented and shall make such records available to the Monitor within seven days of request for
inspection and copying. In addition, Defendant shall maintain and provide, upon request, all records or other
documents to verify that they have taken the actions described in their compliance reports (e.g., census
summaries, policies, procedures, protocols, training materials, investigations, incident reports, tier logs, or
use of force reports).


         VIII. C. Finding: Substantial Compliance

Observations:
         OPSO now generally provides responses with seven days of a request by the
Monitors. Some of the requests made regarding Classification are now timely. The
monthly reports provided to the Monitors greatly decreases the need for document
requests.




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 III.    Stipulated Agreements
OPSO and the Plaintiffs/DOJ negotiated two agreements after Compliance Report #3. The language
of the Agreed Orders linked directly to the Consent Judgment and represented priority areas for
inmate safety.
         The three provisions of the April 22, 2015 are in compliance. The provisions in the
 Agreed Order of February 11, 2015 require additional attention. See the section of the
 Consent Judgment as noted.
 6.b. OPSO shall ensure by May 15, 2015 that all staff assigned to the housing for inmates with acute and
 chronic mental health (in Templeman V, TDC, or other housing in which this population is held) attend
 training regarding working this population. The lesson plans/curricula for this training shall be reviewed
 and approved by the Monitors. The draft of the training curriculum and training plan is due to the Monitors
 by April 15, 2015, and should include participation by subject matter experts employed by the medical
 contractor. See also Consent Judgment IV. B. 4. a. and 7. a.

 13. Medical Care – The health care provider has not provided their action plan for achieving compliance with
 the provisions of the Consent Judgment, as required by this paragraph.
 14.b. By April 1, 2015, OPSO, in collaboration with CCS, will produce a management plan for inmates on the
 mental health caseload (Levels 1 – 4), whether these inmates are housed in the step-down unit, or in general
 population. See Consent Judgment IV. B. 2.




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Appendix A: Summary of Compliance Findings by Compliance Section Reports 1 - 12




                                                                                                                                       Report # 10


                                                                                                                                                     Report #11


                                                                                                                                                                  Report #12
                  Report # 1


                               Report # 2


                                            Report # 3


                                                         Report # 4


                                                                      Report # 5


                                                                                   Report # 6


                                                                                                Report # 7


                                                                                                             Report # 8


                                                                                                                          Report # 9
                                                                                   10/25/16
                   2/13/14


                                8/26/14


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                                                          9/9/15




                                                                                                 5/1/17
 IV.A. 1. Use of Force Policies and Procedures/Margo Frasier
 IV. A. 1.a.         ND        NC       NC     PC      NC                            PC           PC           PC           PC            SC           SC           SC
 IV. A. 1.b.        ND        NC     NC        PC      NC                            PC           PC           PC           SC            SC           SC           SC
 IV. A. 1.c.        ND        NC     NC        PC      NC                            NC           PC           PC           PC            SC           SC           PC
 IV.A.2. Use of Force Training/Margo Frasier and Shane Poole
 IV. A. 2. a.       ND        NC     NC        NC      NC                            PC           PC           PC           PC           PC            SC           SC
 IV. A. 2. b.       ND       NC      NC                    NC           NC           PC           PC           PC           PC           PC            SC           SC
 IV. A. 2. c.       ND       NC      NC                    NC           NC           NC           NC           NC           PC           PC            SC           SC
 IV.A.3. Use of Force Reporting/Margo Frasier
 IV. A.3 a.         ND       NC      NC                    PC           NC           PC           PC           PC           PC           PC            SC           PC
 IV. A.3 b.         ND       NC      NC                    NC           NC           NC           PC           PC           PC           PC            PC           PC
 IV. A.3 c.         ND           NC           NC           NC           NC           NC           PC           PC           PC           PC            PC           PC
 IV. A.3 d.         ND           NC           NC           PC           NC           NC           PC           PC           PC           PC            PC           PC
 IV. A.3 e.         ND           NC           NC           PC           PC           PC           PC           PC           SC           SC            SC           SC
 IV. A.3 f.         ND           NC           NC           PC           NC           PC           PC           PC           PC           PC            PC           PC
 IV. A.3 g.          ND       NC      NC       PC       PC       PC       PC                                   PC           SC            SC           SC           SC
 IV. A.3 h.          ND       NC      NC       NC       NC       NC       NC                                   NC           PC            SC           SC           PC
 IV.A.4. Early Intervention System (“EIS”) /Margo Frasier and Shane Poole
 IV.A.4.a.           ND       NC      NC       PC       PC       PC       NC                                   NC           PC           PC            SC           SC
 IV.A.4.b.           ND       NC      NC       PC       PC       PC       PC                                   PC           PC           SC            SC           SC
 IV.A.4.c.          ND           NC           NC           PC           PC           PC           PC           PC           SC           SC            SC           SC
 IV.A.4.d.          ND           NC           NC           NC           NC           PC           PC           NC           NC           PC            SC           SC
 IV.A.4.e.           ND      ND      ND       ND                        NC           NC           NC           NC           NC            SC           SC           SC
 IV.A.5. Safety and Supervision/Margo Frasier
 IV.A.5.a.           ND      NC      NC       NC                        NC           NC           NC           NC           NC           PC            PC           PC
 IV.A.5.b.           ND      NC      NC       NC                        NC           NC           NC           NC           NC           PC            SC           SC
 IV.A.5.c.          ND           NC           NC           NC           NC           NC           NC           PC           PC           PC            SC           SC
 IV.A.5.d.          NC           NC           PC           PC           NC           NC           NC           NC           PC           PC            PC           PC
 IV.A.5.e.          ND           NC           NC           PC           PC           NC           NC           NC           NC           PC            PC           PC
 IV.A.5.f.          ND           NC           NC           PC           PC           SC           SC           PC           PC           PC            PC           SC
 IV.A.5.g.          ND           NC           ND           PC           NC           NC           NC           NC           NC           PC            SC           SC
 IV.A.5.h.          ND           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           SC
 IV.A.5.i.          ND           NC           NC           PC           PC           PC           PC           PC           SC           PC            PC           PC
 IV.A.5.j.          ND           NC           PC           PC           NC           NC           NC           NC           PC           PC            PC           PC
 IV.A.5.k.           ND      NC        PC                  PC           PC           PC           PC           PC           PC           PC            SC           SC
 IV.A.5.l.           ND      NC       NC                   NC           PC           PC           PC           PC           PC           PC            SC           SC
 IV.A.6. Security Staffing/Margo Frasier
 IV.A.6.a.           ND      PC        PC                  PC           SC           SC           PC           PC           PC            SC           SC           SC
 IV.A.6.b.           ND      NC        PC                  PC           NC           PC           PC           PC           PC            SC           SC           SC
 IV.A.7 Incidents and Referrals/Margo Frasier
 IV.A.7.a.           ND      NC       NC                   NC           NC           PC           PC           PC           PC           PC            SC           SC
 IV.A.7.b.           ND      NC       NC                   PC           NC           PC           PC           PC           PC           PC            PC           SC
 IV.A.7.c.          ND           NC           PC           PC           PC           PC           SC           SC           SC           SC            SC           SC
 IV.A.7.d.          ND           NC           NC           NC           NC           NC           NC           PC           PC           PC            SC           SC
 IV.A.7.e.          ND           NC           PC           PC           PC           PC           PC           PC           PC           PC            SC           SC

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 IV.A.7.f.             ND         NC           NC           PC           PC           PC           PC           PC           PC           PC            PC           SC
 IV.A.7.g.             ND         NC           NC           PC           PC           PC           PC           PC           PC           SC            SC           SC
 IV.A.7.h.             ND         NC           NC           PC           PC           PC           PC           PC           PC           PC            SC           SC
 IV.A.7.i.           ND     NC        NC                    PC           NC           NC           NC           NC           NC           PC            SC           SC
 IV.A.7.j.           ND     NC        NC                    NC           NC           NC           NC           NC           NC           SC            SC           SC
 IV.A.8. Investigations/Margo Frasier
 IV.A.8.a.           ND     NC        PC                    PC           PC           SC           SC           SC           SC            SC           SC           SC
 IV.A.8.b.           ND     NC        PC                    PC           PC           SC           SC           SC           SC            SC           SC           SC
 IV.A.8.c.             ND         NC           PC           PC           PC           SC           SC           SC           SC            SC           SC           SC
 IV.A.8.d.             ND         NC           NC           PC           PC           SC           SC           SC           SC            SC           SC           SC
 IV.A.8.e.           ND       NC       NC        PC     PC        PC                               PC           SC           SC            SC           SC           SC
 IV.A.8.f.           ND       NC       NC        PC     PC        PC                               PC           PC           SC            SC           SC           SC
 IV.A.9. Pretrial Placement in Alternative Settings/Margo Frasier
 IV.A.9.a.            PC      PC       PC        SC      SC       SC                               SC           SC           SC            SC           SC           SC
 IV.A.9.b.          PC      PC        PC      SC       SC                             SC           SC           SC           SC            SC           SC           SC
 IV.A.10. Custodial Placement within OPP/Patricia Hardyman
 IV.A.10.a.         NC      PC        SC      SC       SC                             SC           PC           PC           PC           PC            SC           SC
 IV.A.10.b.            NC         NC           NC           SC           SC           SC           SC           SC           SC            SC           SC           SC
 IV.A.10.c.            NC         NC           PC           PC           PC           PC           PC           SC           SC            SC           SC           SC
 IV.A.10.d.            NC         NC           PC           PC           PC           PC           PC           NC           PC           SC            PC           SC
 IV.A.10.e.            NC         NC           PC           SC           PC           PC           SC           PC           PC           PC            PC           SC
 IV.A.10.f.            NC         NC           NC           NC           NC           PC           PC           PC           NC            SC           PC           PC
 IV.A.10.g.            NC         NC           NC           NC           NC           PC           PC           PC           PC            SC           SC           SC
 IV.A.10.h.         ND       NC      NC      PC       PC       PC                                  PC           PC           PC           PC            SC           SC
 IV.A.11. Prisoner Grievance Process/Margo Frasier and Shane Poole
 IV.A.11.a          PC       PC      PC      PC       PC       PC                                  PC           PC           PC           PC
       IV.A.11.a.(1)                                                                                                                                    SC           SC
       IV.A.11.a.(2)                                                                                                                                    PC           PC
       IV.A.11.a.(3)                                                                                                                                    SC           SC
       IV.A.11.a.(4)                                                                                                                                    SC           SC
        IV.A.11.a.(5)                                                                                                                                   SC           SC
        IV.A.11.a.(6)                                                                                                                                   PC           PC
 IV.A.12. Sexual Abuse/Margo Frasier
 IV.A.12.             PC     PC      PC       PC                         PC           PC           PC           PC           PC           PC            SC           SC
 IV.A.13. Access to Information/Margo Frasier
 IV.A.13.             PC     PC      PC       PC                         PC           PC           PC           PC           PC            SC           SC           SC
 IV. B. Mental Health Care
 IV.B.1. Screening and Assessment/Raymond Patterson
 IV.B.1.a.            NC     NC      PC       PC                         PC           PC           PC           PC           PC            SC           SC           SC
 IV.B.1.b.            NC     NC      PC       PC                         PC           PC           PC           PC           PC            SC           SC           SC
 IV.B.1.c.             NC         NC           PC           PC           PC           PC           PC           PC           SC            SC           SC           SC
 IV.B.1.d.             NC         NC           PC           PC           PC           PC           PC           PC           PC            SC           SC           SC
 IV.B.1.e.             NC         NC           PC           PC           PC           PC           PC           PC           PC           PC            SC           SC
 IV.B.1.f.             NC         NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.1.g.             NC         NC           NC           NC           NC           NC           NC           NC           PC           PC            PC           PC

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 IV.B.1.h.         NC           NC           NC           NC           NC           NC           NC           NC           PC            SC           SC           SC
 IV.B.1.i.         NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.1.j.         NC           NC           NC           PC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.1.k.         NC     NC       NC                     PC           NC           NC           NC           NC           NC           NC            PC           PC
 IV.B.1.l.         NC     NC       NC                     NC           NC           NC           NC           NC           NC           SC            SC           SC
 B. 2. Treatment/Raymond Patterson
 IV.B.2.a.         NC     NC       NC                     PC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.B.2.b.         NC     NC       NC                     NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.2.c.         NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.2.d.         NC           NC           NC           NC           NC           NC           NC           NC           NC           NC            NC           PC
 IV.B.2.e.         NC           NC           NC           PC           PC           PC           PC           NC           NC           PC            SC           SC
 IV.B.2.f.         NC           NC           NC           PC           PC           PC           NC           PC           PC           PC            SC           PC
 IV.B.2.g.          NC    NC       NC                     PC           PC           PC           NC           PC           PC           SC            SC           SC
 IV.B.2.h.          NC    NC       NC                     PC           PC           PC           PC           PC           NC           PC            SC           SC
 IV.B.3. Counseling/Raymond Patterson
 IV.B.3.a.          NC    NC       NC                     NC           PC           NC           NC           PC           PC           PC            PC           PC
 IV.B.3.b.          NC       NC       NC      NC     PC      NC                                  NC           PC           PC           PC            PC           PC
 IV.B.4. Suicide Prevention Training Program/Raymond Patterson
 IV.B.4.a.          NC       NC       NC      PC     PC      PC                                  PC           PC           NC           PC            PC           PC
 IV.B.4.b.         NC           NC           NC           PC           PC           PC           PC           PC           PC           PC            SC           SC
 IV.B.4.c.         NC           NC           NC           PC           PC           PC           PC           PC           PC           PC            PC           SC
 IV.B.4.d.         NC           NC           NC           PC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.4.e.         NC           NC           NC           PC           NA           PC           PC           PC           PC           PC            PC           SC
 IV.B.4.f.           NC      NC     NC       NC                        PC           PC           NC           NC           SC           SC            SC           SC
 IV.B.4.g.           NC      NC     NC       SC                        PC           NC           NC           NC           NC           PC            NC           PC
 IV.B.5. Suicide Precautions/Raymond Patterson
 IV.B.5.a.           NC      NC     NC       NC                        NC           NC           NC           PC           PC           PC            PC           PC
 IV.B.5.b.           NC      NC     NC       NC                        NC           NC           NC           PC           PC           SC            PC           PC
 IV.B.5.c.         NC           NC           NC           NC           NC           NC           NC           PC           PC           PC            PC           PC
 IV.B.5.d.         NC           NC           NC           NC           NC           NC           NC           NC           PC           PC            SC           SC
 IV.B.5.e.         NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.5.f.         NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            SC           SC
 IV.B.5.g.         NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.5.h.         NC           NC           NC           NC           NC           NC           NC           PC           NC           PC            PC           SC
 IV.B.5.i.         NC           NC           NC           NC           NC           NC           NC           PC           PC           SC            SC           SC
 IV.B.5.j.         NC           NC           NC           NC           NC           NC           NC           PC           PC           PC            PC           SC
 IV.B.5.k.           NC      NC     NC       NC                        NC           NC           NC           PC           NC           PC            PC           PC
 IV.B.6. Use of Restraints/Raymond Patterson
 IV.B.6.a.           PC      NC      PC      PC                        PC           PC           PC           PC           NC           PC            PC           PC
 IV.B.6.b.           NC      NC      PC      PC                        PC           PC           PC           PC           PC           PC            SC           SC
 IV.B.6.c.         ND           NC           PC           PC           PC           PC           PC           PC           NC           PC            NC           SC
 IV.B.6.d.         ND           NC           PC           PC           PC           PC           PC           PC           NC           PC            SC           SC
 IV.B.6.e.         NC           NC           PC           PC           PC           PC           PC           PC           NC           PC            NC           SC
 IV.B.6.f.         NC           NC           PC           PC           PC           PC           PC           PC           NC           PC            SC           SC
 IV.B.6.g.         NC           NC           PC           PC           PC           PC           PC           PC           NC           PC            NC           SC

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 IV.B.7. Detoxification and Training/Robert Greifinger
 IV.B.7.a.           NC       NC      PC       PC      PC                            PC           PC           PC           PC           PC            PC           SC
 IV.B.7.b.          NC           NC           PC           PC           PC           PC           PC           PC           PC           SC            SC           SC
 IV.B.7.c.          NC           NC           PC           PC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.B.7.d.          NC      NC        PC      PC        PC                           PC           PC           PC           PC           NC            PC           PC
 IV.B.8. Medical and Mental Health Staffing/Robert Greifinger
 IV.B.8.a.          NC      NC        PC      PC        PC                           PC           PC           PC           PC           PC            PC           PC
 IV.B.8.b.          NC      NC        PC      PC        PC                           PC           PC           PC           PC           SC            SC           SC
 IV.B.9. Risk Management/Robert Greifinger
 IV.B.9.a.          NC      NC        NC      PC        PC                           PC           PC           PC           PC           PC            PC           PC
 IV.B.9.b.          NC      NC        NC      PC        PC                           PC           PC           PC           PC           PC            PC           PC
 IV.B.9.c.          NC           NC           NC           NC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.B.9.d.          NC           NC           NC           NC           NC           NC           NC           NC           NC           PC            PC           PC
 IV.B.9.e.          NC       NC      NC      NC       PC                             PC           PC           PC           NC           PC            PC           PC
 IV.B.9.f.          NC       NC      NC      NC       PC                             PC           PC           PC           NC           NC            PC           PC
 IV.C. Medical Care -- See SA 2/11/15 13.
 IV. C. Quality Management of Medication Administration
 IV.C.1.a.          NC       NC      PC      PC       PC                             PC           PC           PC           PC            SC           SC           SC
 IV.C.1.b.          NC           NC           PC           PC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.C.1.c.          NC           NC           PC           PC           PC           PC           PC           PC           PC           SC            SC           SC
 IV.C.1.d.          NC       NC      PC        PC                       PC           PC           PC           PC           PC            SC           SC           SC
 IV.C.2. Health Care Delivered/Robert Greifinger
 IV.C.2.a.          NC       NC      NC        PC                       PC           PC           PC           PC           PC           NC            PC           PC
 IV.C.2.b.          NC       NC      NC        PC                       PC           PC           PC           PC           PC           NC            PC           PC
 IV.C.3. Release and Transfer/Robert Greifinger
 IV.C.3.a.          NC       NC      NC        PC                       PC           PC           PC           PC           PC           PC            PC           PC
 IV.C.3.b.          NC           NC           NC           PC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.C.3.c.          NC           NC           NC           PC           PC           PC           PC           PC           PC           PC            PC           PC
 IV.C.3.d.          NC       NC      NC       PC      PC                             PC           PC           PC           PC            SC           SC           SC
 IV.D. Sanitation and Environmental Conditions/Shane Poole
 IV.D. 1.a.         NC       NC      NC      NC       NC                             NC           NC           NC           NC           PC            PC           PC
 IV. D. 1.b.        NC       NC      PC       PC      PC                             PC           PC           PC           PC           SC            SC           SC
 IV. D. 1.c.        NC           NC           PC           PC           NC           NC           PC           SC           PC           PC            SC           SC
 IV. D. 1.d.        NC           NC           NC           NC           SC           SC           SC           SC           SC           SC            SC           SC
 IV. D. 1.e.        NC           PC           PC           PC           PC           PC           PC           SC           PC           SC            SC           SC
 IV. D. 1.f.        NC           NC           NC           NC           PC           PC           PC           PC           PC           PC            SC           SC
 IV. D. 1.g.         NC      NC      NC                    NC           PC           PC           PC           PC           PC           SC            SC           SC
 IV. D. 1.h.         NC      NC      NC                    PC           NC           PC           NC           NC           NC           PC            PC           PC
 IV. D. 2. Environmental Control/Shane Poole
 IV. D. 2.a.         NC      NC      PC                    PC           PC           SC           SC           SC           PC            SC           SC           SC
 IV. D. 2.b.         NC      NC      NC                    NC           NC           SC           PC           SC           SC            SC           SC           SC
 IV. D. 3. Food Service/Diane Skipworth
 IV. D. 3.a.         NC      NC      NC                    PC           PC           PC           NC           PC           PC           PC            SC           SC
 IV. D. 3.b.         NC      NC      NC                    PC           PC           PC           NC           NC           NC           NC            PC           SC
 IV. D. 3.c.        NC           NC           NC           PC           NC           NC           PC           PC           PC           PC            PC           SC


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                                IV. D. 4. Sanitation and Environmental Conditions Reporting/Shane Poole
 IV. D. 4.a. 1-7     NC            NC        PC        PC      PC       PC      PC       PC     NC                                           SC           SC           SC
 IV. D. 4.b.          NC        NC    NC                      NC           PC           NC           NC           PC           PC            SC           SC           SC
 IV.E. Fire and Life Safety/Shane Poole
 IV. E. 1. Fire and Life Safety
 IV. E. 1.a.          NC        PC     PC                     PC           PC           PC           PC           SC           PC           PC            PC           SC
 IV. E. 1.b.          NC        NC    NC                      PC           PC           PC           PC           PC           PC           SC            SC           SC
 IV. E. 1.c.         PC            PC           PC            PC           NC           PC           PC           SC           PC            SC           SC           SC
 IV. E. 1.d.         NC            NC           NC            NC           NC           NC           PC           SC           PC            SC           SC           SC
 IV. E. 1.e.         ND            NC           PC             PC         PC       PC       PC      PC                         SC            SC           SC           SC
                                                           IV. E. 2. Fire and Life Safety Reporting
 IV. E. 2.a.1-3      ND            NC           PC             PC         PC       PC       PC      PC                         PC            SC           SC           SC
 IV. E. 2.b.        ND       NC        NC      PC     NC        NC                                   NC           PC           PC            SC           SC           SC
 IV.F. Language Assistance
 IV.F.1. Timely and Meaningful Access to Services/Margo Frasier
 IV.F.1.a.          ND       PC        PC      PC     PC        PC                                   PC           PC           PC           PC            PC           SC
 IV.F.2. Language Assistance Policies and Procedures/Margo Frasier
                                                                          Not          Not          Not          Not          Not          Not
 IV.F.2.a.           ND            PC           PC            PC                                                                                          SC           SC
                                                                          App          App          App          App          App          App
                                                                          Not          Not          Not          Not          Not          Not
 IV.F.2.b.           ND            PC           PC            PC                                                                                          SC           SC
                                                                          App          App          App          App          App          App
 IV.F.3. Language Assistance Training/Margo Frasier
 IV.F.3.a.           NC       PC       PC    PC                            PC           PC           PC           PC           PC           PC            PC           PC
 IV.F.4. Bilingual Staff/Margo Frasier
 IV.F.4.             NC       PC       PC    PC                            PC           NC           NC           NC           NC           PC            SC           SC
 IV.G. Youthful Prisoners/Margo Frasier
 IV.G.               NC       NC       NC    PC                            PC           PC           NC           NC           PC           PC            PC           SC
 VI. The New Jail Facility/Margo Frasier
 VI. A.              ND       PC       PC    SC                            SC           SC           SC           SC           SC            SC           SC           SC
 VI. B.              NC            PC           SC            SC           SC           SC           SC           SC           SC            SC           SC           SC
 VI. C.              ND            PC           SC            SC           PC           PC           PC           PC           SC            SC           SC           SC
 VI. D.           Monitors Not Qualified to Evaluate
 VII. Compliance and Quality Improvement/Margo Frasier
 VII. A.           ND       NC       NC        PC    PC                                 PC           PC           PC           PC           PC            SC           SC
 VI. B. (H.)         NC            NC           NC            NC           NC           NC           PC           PC           PC           PC            PC           PC
 VI. C. (I.)         NC            NC           SC            SC           NC           SC           SC           NC           PC           SC            SC           SC
 VI. D. (J.)       ND      NC        NC       PC      PC       PC                                    PC           NC           NC           NC            SC           SC
 VIII. Reporting Requirements and Right of Access/Margo Frasier
 VIII.A.           ND      PC        NC       PC      PC       PC                                    PC           NC           NC           PC            SC           SC
 VIII.B.            PC     PC        PC       PC      SC        SC                                   SC           SC           SC           SC            SC           SC
 VIII.C.             PC            PC           PC            SC           SC           SC           NC           NC           PC           PC            SC           SC
 Not Rated #         62             1            2             1            0            0            0            0            0             0            0            0
 Non-
 Compliance #
                     98           147          106            51           62           52           53           43           44             8            5            0
 Partial
 Compliance #
                      9            21           57           106           94           97           98          103           98           96            66           56



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 Substantial
 Compliance #
                    0            0            4           11           10           18           16           21           25           63           103          118
 Legend:
 ND - Not scheduled for review
 NC - Non-compliance
 PC - Partial Compliance
 SC - Substantial Compliance NA - Not Applicable




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